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              EXHIBIT 9
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                   In The Matter Of:
         In Re: W.R. Grace & Co., et al., Debtors




                    Craig Molgaard, Ph.D.
                         June 25, 2009
                    Case No. 01-1139 (JKF)



             Martin-Lake & Associates, Inc.
                     P.O. Box 7765
               Missoula, MT 59807-7765
            406-543-6447 / fax: 406-543.5014
                  mla@martin-lake.net




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                                                                                                        June 25, 2009
                                                     Page 1                                                    Page 3
 1             IN THE UNITED STATES BANKRUPTCY COURT           1
 2                     FOR THE DISTRICT OF DELAWARE                      Joshua M. Cutler, Esq.,
                                                               2           ORRICK, HARRINGTON & SUTCLIFFE, LLP
 3                                                                       Columbia Center, 1152 Fifteenth Street N.W.
 4                                                             3            Washington, D.C.       20005
                                                                            202-339-8400
 5   In re:                                 ) Chapter 11       4         appeared by telephone on behalf of Asbestos
                                               )
 6 W.R. GRACE & CO., et al.,        ) Case No. 01-1139(JKF)                Personal Injury Future Claimants.
                                   ) (Jointly Administered)    5
 7                           Debtors.          )               6         Gabriella V. Cellarosi, Esq.,
     __________________________                )
 8                                                                          ECKERT SEAMANS
                                                               7          1747 Pennsylvania Avenue N.W., Suite 1200
 9                                                                          Washington, D.C.       20006
10                                                             8            202-659-6612
                                                                         appeared by telephone on behalf of Maryland
11                                                             9            Casualty.
12                                                            10
13                        VIDEOTAPED DEPOSITION OF            11
                                                              12            Also Present:      Daniel Bell,
14                           CRAIG MOLGAARD, Ph.D.                                             CAPLIN & DRYSDALE
15                                                            13
                                                                                               Eric Henkel,
16                                                            14                        CHRISTENSEN, MOORE, COCKRELL,
17          On June 25, 2009, beginning at 9:02 a.m., the                                      CUMMINGS & AXELBERG
                                                              15
18 videotaped deposition of CRAIG MOLGAARD, Ph.D.,                                         Bob Lake, Videographer,
19 appearing at the insistence of Debtors, was taken at the   16                          MARTIN-LAKE & ASSOCIATES
                                                              17
20 Doubletree Hotel, 100 Madison Street, Missoula, MT,        18
21 pursuant to Rule 30 of the Federal Rules of Civil          19
                                                              20
22 Procedure and Rules 7030 and 9014 of the Federal Rules     21
23 of Bankruptcy Procedure, before Bambi A. Goodman,          22
                                                              23
24 Registered Professional Reporter, Certified Realtime       24
25 Reporter, Notary Public.                                   25

                                                     Page 2                                                    Page 4
 1                           A P P E A R A N C E S         1                                 I N D E X
 2                                                         2 WITNESS:                                  PAGE:
            Jon L. Heberling, Esq.,
 3           MCGARVEY, HEBERLING, SULLIVAN & MCGARVEY, PC  3    CRAIG MOLGAARD, Ph.D., M.P.H.,
                745 South Main Street
 4              Kalispell, MT 59901                        4   Examination by Ms. Harding                  6
                406-752-5566                                   Examination by Mr. Finch                  151
 5             personally appeared on behalf of Libby      5
                Claimants.
 6                                                         6
                                                              EXHIBITS:
 7          Barbara Harding, Esq., and                     7
            Heather A. Bloom, Esq.,                             Deposition Exhibit No. 1
 8              KIRKLAND & ELLIS, LLP                      8          (NIOSH Publication)
                655 Fifteenth Street N.W.                               marked for identification          6
 9              Washington, D.C. 20005                     9
                202-879-5108                                    Deposition Exhibit No. 2
10            personally appeared on behalf of Debtor: 10             (Molgaard Surrebuttal Report)
                W.R. Grace & Co.                                        marked for identification          8
11                                                        11
                                                                Deposition Exhibit No. 3
12          Nathan D. Finch, Esq.,                        12          (Epidemiologic Concepts)
                CAPLIN & DRYSDALE                                       marked for identification         17
13              One Thomas Circle N.W.                    13
                Washington, D.C 20005                           Deposition Exhibit Nos. 4 & 5
14              202-862-7801                              14          (4: Whitehouse Expert Report)
              personally appeared on behalf of Official               (5: Whitehouse Surrebuttal Report)
15             Committee of Asbestos Personal Injury 15                 marked for identification         18
                Claimants.
16                                                        16    Deposition Exhibit No. 6
                                                                      (Whitehouse 2008 Published Article)
17          Dale R. Cockrell, Esq.,                       17            marked for identification         21
               CHRISTENSEN, MOORE, COCKRELL, CUMMINGS
18                 & AXELBERG, PC                         18    Deposition Exhibit No. 7
                145 Commons Loop, Suite 2A                            (Whitehouse 2004 Published Article)
19              Kalispell, MT 59901                       19            marked for identification         21
                406-751-6000
20            personally appeared on behalf of State of 20      Deposition Exhibit No. 8
                Montana.                                              (Molgaard 2003 Published Article)
21                                                        21            marked for identification         22
22          Alan B. Rich, Esq.,                           22    Deposition Exhibit No. 9
                LAW OFFICE OF ALAN B. RICH                            (Descriptive Chart)
23              1401 Elm Street Suite 4620                23            marked for identification         23
                Dallas, TX 75202
24              214-744-5100                              24    Deposition Exhibit No. 10
             appeared by telephone on behalf of Property              (Modification of Exhibit No. 9)
25            Damage Future Claimants Representative. 25                marked for identification         28



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                                                     Page 5                                                          Page 7
 1                                 I N D E X
                                                               1 identification.)
 2 EXHIBITS:                                 PAGE:
                                                               2           MS. HARDING: And I'm just going to object
 3    Deposition Exhibit No. 11
           (Markowitz Article)                                 3 to the extent that it's supplementing Dr. Molgaard's
 4            marked for identification          33
                                                               4 report. It's not in his expert report. But that said,
 5    Deposition Exhibit No. 12                                5 if Dr. Molgaard wishes to speak about it today, then I'm
           (Selikoff and Seidman Paper)
 6            marked for identification          36
                                                               6 happy to ask you questions about it and we can talk
 7    Deposition Exhibit No. 13                                7 about it.
           (Handwritten Chart)
 8            marked for identification          68            8           MR. HEBERLING: Yeah. We're giving you
 9    Deposition Exhibit No. 14                                9 notice of that and, also, notice that he may discuss the
           (Mesothelioma Cases with Exposure
10           List)                                            10 public health emergency declared for Libby which, again,
              marked for identification         129
11                                                            11 happened since the date of his report.
      Deposition Exhibit No. 15
12         (King County Summons)                              12           MS. HARDING: I object to that; it's not in
              marked for identification         131
13                                                            13 his expert report. If you want to supplement his expert
      Deposition Exhibit No. 16
14         (ATSDR Executive Summary)                          14 report and seek leave from the court to supplement his
              marked for identification         143
15                                                            15 expert report to deal with a completely new set of
      Deposition Exhibit Nos. 17 and 18
16         (17: Molgaard Expert Report)                       16 issues, then I think you should take that up with the
           (18: 11/14/08 Science Advisory Board
17           Conclusion and Enclosures)                       17 court. But, again, if it comes up today in response to
                 marked for identification
18                                              158           18 any of my questions, we'll talk about it then.
19    Deposition Exhibit No. 19                               19           MR. FINCH: I also object to the CDC NIOSH
           (12/12/03 ATS Statement)
20            marked for identification         173           20 information as not being included in his expert report
21                                                            21 because this was information that was available well
22                                                            22 prior to the date he issued his report.
23 Reporter's Certificate                       200           23                 EXAMINATION
24                                                            24 BY MS. HARDING:
25        * Denotes phonetic spelling                         25     Q Good morning, Dr. Molgaard.

                                                     Page 6                                                          Page 8

 1              CRAIG MOLGAARD, Ph.D.,                         1      A Good morning.
 2 having been first duly sworn to testify to the truth,       2      Q Can you just tell me, what did you do to
 3 the whole truth and nothing but the truth, testified        3   prepare for the deposition in terms of documents and
 4 upon his oath as follows:                                   4   materials that you reviewed?
 5           MR. HEBERLING: Before we begin, I'd like          5      A A large quantity of papers and depositions I
 6 to put on the record that I have, this morning, just a      6   read, had a number of discussions with Jon, spoke by
 7 few minutes ago, delivered to Counsel some recent           7   phone with several other individuals who are expert
 8 compilations by NIOSH regarding asbestosis and              8   witnesses in this case. Basically, I reviewed as much
 9 mesothelioma, showing --                                    9   material as was -- as was given to me to review. And I
10           MS. HARDING: Jon, I'm going to object to         10   went over some materials of my own pertaining to what
11 your characterization. If you want to just tell us that    11   epidemiology is and how you practice it.
12 you're giving it to us and mark it if you'd like, that's   12      Q In terms of the materials you were given to
13 fine. But I don't think you need to characterize it.       13   review, are all of the -- are you relying on those
14           MR. HEBERLING: Okay. And so I'd like             14   materials in connection with your expert opinions in
15 to -- do you have exhibit numbers set already?             15   this case?
16           MS. HARDING: No; we're happy to do it.           16      A Yes.
17           MR. HEBERLING: Let's mark this Exhibit 1.        17         (Deposition Exhibit No. 2 marked for
18 This is a compilation regarding asbestosis and             18   identification.)
19 mesothelioma.                                              19      Q (By Ms. Harding) Are all of those materials
20           MS. HARDING: If you want to mark it for          20   set out in your report in this case which we'll go ahead
21 purposes of demonstrating you've given it to us, I think   21   and mark as Molgaard Number 2, please.
22 that's fine.                                               22      A Yeah. And I also read some depositions from
23           MR. HEBERLING: Yes, for purposes of              23   some of your experts which I don't believe are cited in
24 notice.                                                    24   here because I got them after this report was done.
25        (Deposition Exhibit No. 1 marked for                25      Q Okay. In terms of the depositions -- well,

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 1 actually, let me back up just to be clear.                  1 it?
 2       The documents that -- all the documents that          2    A I assume someone from Jon's office; I don't
 3 you're -- with the exception of depositions that aren't     3 know.
 4 identified in your report, with respect to published        4           MS. HARDING: Jon, do we have a copy of
 5 studies and papers and other documents that you're          5 that?
 6 relying upon in connection with your opinions in your       6           MR. HEBERLING: I think he's referring to
 7 report, are all of those reliance materials listed in       7 documents attached to the Whitehouse report.
 8 your report?                                                8           MS. HARDING: Do you know what exhibit it
 9    A I believe they are.                                    9 is?
10    Q And Exhibit 2, if you could just take a brief         10           MR. HEBERLING: Well, spreadsheets were
11 look at it, that is your expert report in this case; is    11 generally in Exhibit 7.
12 that correct?                                              12           MS. HARDING: So I'm just -- since the
13    A Yes.                                                  13 doctor doesn't know what it is, I'm just trying to
14    Q You mentioned that you reviewed some                  14 understand if it's something that we have and, if it is,
15 depositions. Do you recall what depositions you            15 what it is so I know -- I mean, you gave it to him. So
16 reviewed?                                                  16 do you know, is it Exhibit 7 from Dr. Whitehouse's
17    A Yeah; Moolgavkar, if I'm pronouncing that             17 report?
18 correctly.                                                 18           MR. HEBERLING: I don't know because I
19    Q Yes, you are.                                         19 don't know what's in his mind. I do know that we
20    A And Ory and Welch, I believe, are the ones.           20 haven't given him any spreadsheets other than what's
21    Q Okay. Did you review the deposition of -- or          21 attached to Dr. Whitehouse's report.
22 depositions, there's two, of Dr. Whitehouse in this        22           MS. HARDING: Okay. All right.
23 matter?                                                    23    Q (By Ms. Harding) Do you recall how many
24    A Yeah, I did.                                          24 patients were listed on the spreadsheet?
25    Q Okay. And did you review the deposition of            25    A I didn't count them; no. There were quite a

                                                    Page 10                                                        Page 12

 1 Dr. Frank?                                                  1   few, but I didn't count them.
 2    A I believe I did, yes.                                  2     Q Okay; was it under a thousand or over a
 3    Q Other than the Exhibit 1 and the documents that        3   thousand, if you recall?
 4 are listed on Exhibit 2, your report, did you review any    4     A I would hate to hazard a guess. I'd be
 5 other documents or studies in preparing for your            5   guessing how many. I mean, there were numerous pages,
 6 deposition today?                                           6   yeah.
 7    A There were listings of cases from the Libby            7     Q Okay. Why did you review it? What was the
 8 area, a large listings of cases and age and names and       8   purpose of reviewing it?
 9 that sort of thing, date of diagnosis, that I also          9     A I guess it was probably to validate the
10 looked at those.                                           10   position of Dr. Whitehouse about the number of patients
11    Q Let's see; do you know if that is a list of           11   he had seen and what -- what diagnosis he thought was
12 cases that's been provided by any other expert in the      12   happening for those patients or he was making for those
13 case, maybe? I'm just trying to figure out where we        13   patients. It was really sort of a validation of his
14 might have seen it before, if we have.                     14   reports.
15    A They came to me from Jon, and I don't know who        15     Q Okay. So it was a list that included
16 else has seen them or --                                   16   information from Dr. Whitehouse based on his diagnosis
17    Q Okay; what information was on the list?               17   of those individuals.
18    A It had -- if I remember correctly, it was like        18      A That was my understanding, basically his
19 a diagnosis, date of diagnosis, age, sex, the names of     19   clinical series that he had done the work on.
20 the individuals. It was a very basic sort of               20      Q All right.
21 information about each patient; not many variables, six    21         When were you first retained by the Libby
22 or seven.                                                  22   Claimants in this case, if you recall?
23    Q So it was a spreadsheet?                              23      A I first -- I believe I first began talking to
24    A Yeah, yeah.                                           24   Jon in November or December of last year. And I think
25    Q And do you know who prepared it, who created          25   actual retention was in January or February.

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 1       Q And have you been deposed before?                   1      A Uh-huh; yes.
 2       A Yeah.                                               2      Q -- and analytic epidemiology is in another
 3       Q How many times, to your best recollection?          3   class; is that correct?
 4       A Fifteen or twenty.                                  4      A Partially. It's -- you have an immediate
 5       Q Have you appeared as an expert before in            5   distinction. If you think of it as a taxonomy, okay,
 6   litigation?                                               6   you have experimental epidemiology and observational
 7       A Yes.                                                7   epidemiology. Those are the two top modes of research
 8       Q And have all of your depositions been in            8   design.
 9   connection with your being retained as an expert?         9     Q Right.
10       A Yes.                                               10     A And then in observational epidemiology, you
11       Q All right. Can you characterize the type of        11   have descriptive epidemiology and analytic epidemiology.
12   expert work that you provided in the past?               12   And within descriptive epidemiology, you have incident
13       A It's gone on for a while. I initially did some     13   studies, prevalent studies, correlation studies,
14   work around the swine flu litigation when I was working 14    survivorship studies. And within analytic epidemiology,
15   at Mayo Clinic. My chair was deeply involved in that, 15      you have case control studies, cohort studies,
16   and so I worked with him. And we did consulting work 16       historical cohort studies, like that.
17   around the Justice Department's issues with that series 17          Experimental epidemiology is clinical trials,
18   of lawsuits. A few other minor cases along the way. I 18      community trials, behavioral trials, that sort of thing.
19   did some work with welders in Missouri, that was a 19         So there's a major distinction between experimental
20   consultation. And it was, I believe -- I believe it was 20    epidemiology and observational epidemiology.
21   ALS, Lou Gehrig's disease in welders.                    21      Q Okay. In -- with respect to the distinction
22         Most of what I did after that was working          22   between experimental epidemiology and observational
23   around dietary supplements like Metabolife and Herbalife 23   epidemiology, when we're talking about the study of
24   and this sort of stuff where I worked for the companies, 24   chronic diseases --
25   basically, in the litigation they had against them. It 25        A Uh-huh.

                                                    Page 14                                                           Page 16

 1 was a large litigation which went on for years. I was       1     Q -- the type of epidemiology that's relevant is
 2 involved in something like fifty or sixty cases. And I      2   observational epidemiology; is that right?
 3 think I was deposed like fifteen or twenty times. As I      3     A I guess I would say no, because you can do
 4 said, I don't remember exactly. That litigation has         4   both. You will see large-scale trials in cardiovascular
 5 finally come to an end. And basically, I think I            5   epidemiology like MRFIT that is a Multiple Risk Factor
 6 testified at a Frye hearing two or three times. I think     6   Intervention Trial which was a failure, but it did
 7 I was actually in court two times or three times,           7   happen. But there are multiple different kinds of
 8 something like that.                                        8   behavioral and community kinds of trials that look at
 9     Q In your report, there are several instances           9   chronic diseases.
10 when you talk about descriptive epidemiology.              10      Q Okay; that's fair enough. And I think I was
11     A Uh-huh.                                              11   thinking more of when you're studying or attempting to
12     Q And I'd like to just kind of explore that a          12   understand the impact of potential causative agents or
13 little bit to make your sure I understand what you're      13   carcinogens, most often you're talking about
14 talking about when you use those terms.                    14   observational epidemiology because you can't typically
15        I believe I wrote it down here that you             15   expose -- intentionally expose humans to a potential
16 described or defined descriptive epidemiology as "a        16   carcinogen; right?
17 study concerned with and designed only to describe the     17     A Not on purpose; right.
18 existing distribution of variables without regard to       18     Q Now, in the -- in an article I think that you
19 causal or other hypotheses"; is that correct?              19   wrote, Epidemiologic Concepts -- actually, I think I
20     A Uh-huh.                                              20   only have one -- which I'll mark in a second, marked
21            MR. FINCH: You have to say "yes."               21   Epidemiologic Concepts, and you were the first author
22            THE WITNESS: Yes; sorry.                        22   and Stephanie K. Brodine?
23     Q (By Ms. Harding) And as I understand it, you         23     A Brodine.
24 can correct me if I'm wrong, descriptive epidemiology is   24     Q Brodine was the second author. In that paper,
25 in -- it's one class of epidemiology --                    25   you have a glossary of terms where you define terms.


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 1 And I just want to read this first -- actually, the         1            MS. HARDING: I think this report does not
 2 second term which is analytic study, and make sure that     2 include all exhibits. It just goes to the end of the
 3 you still agree that this is a proper definition.           3 page where his signature is; okay?
 4       It says here that -- "Analytic study, Study           4     Q (By Ms. Harding) If at any point -- I think we
 5 designed to examine associations commonly putative or       5 have the exhibits, Dr. Molgaard. So if at any point you
 6 hypothesized causal relationships; usually concerned        6 need them, feel free to ask me for them.
 7 with identifying or measuring the effects of risk           7     A Okay.
 8 factors or with the health effects of specific              8     Q So on page 15 of the report, under section E,
 9 exposures; contrast descriptive study which does not        9 the title is CARD Mortality Study. Do you see that?
10 test hypotheses." Is that still your understanding of      10     A Yes.
11 the difference between analytic and descriptive            11     Q Okay. And then in the report, Dr. Whitehouse
12 epidemiology?                                              12 goes on to describe the CARD Mortality Study.
13    A I believe so, because I think that definition         13     A Right.
14 was taken from the second edition of Last, so yeah.        14     Q Okay. And that is, with the exception of
15           MS. HARDING: Okay; let's just mark that as       15 information that's provided in his May report, his
16 Exhibit 3.                                                 16 expert report is where -- is the only place where there
17       (Deposition Exhibit No. 3 marked for                 17 is information on the CARD Mortality Study; correct?
18 identification.)                                           18 It's not a published study, at least not right now; is
19    Q (By Ms. Harding) And do you recognize that as         19 that correct?
20 the article titled Epidemiologic Concepts that you         20     A That's my understanding.
21 authored in 1992?                                          21     Q And if you'll take a look at Exhibit 5, page 17
22    A Yes; right.                                           22 at section E, that's also a description of
23    Q And that's the article I was just reading from;       23 Dr. Whitehouse's CARD Mortality Study; correct?
24 correct?                                                   24     A Yes.
25    A Right.                                                25     Q And that's with some, I guess you'd say,

                                                    Page 18                                                      Page 20

 1    Q Okay.                                                  1 up-dated information from the first report? Is that
 2        In -- you've reviewed Dr. Whitehouse's reports       2 fair enough?
 3 in this case; correct?                                      3    A That would be -- it appears to be that way,
 4    A Yes.                                                   4 yeah.
 5    Q And you are aware that he has filed a report           5    Q Okay.
 6 that was issued on December 29th, 2008?                     6       So the first thing I'd like to do, because
 7    A Yes.                                                   7 we're going to, today, I think, talk about several
 8    Q And then he filed another report that was filed        8 studies or analyses that Dr. Whitehouse has performed.
 9 in this case on May 15th -- I'm sorry -- May 16th, 2009.    9 And I just want to make sure that I understand what I
10    A Yes.                                                  10 think your view of them is.
11            MS. HARDING: Okay; let's mark the one           11       So in connection with the CARD Mortality Study
12 that -- this as number 4 and this as 5, please.            12 that we just described, that is a descriptive study;
13            MR. FINCH: December is 4 and May is 5?          13 correct?
14            MS. HARDING: Yes.                               14    A Correct.
15        (Deposition Exhibit Nos. 4 and 5 marked for         15    Q It's a study concerned with and designed only
16 identification.)                                           16 to describe the existing distribution of variables
17    Q (By Ms. Harding) If you could look at Exhibit         17 without regard to causation or other hypotheses;
18 Number 4 which is Dr. Whitehouse's report that was filed   18 correct?
19 in December, then, do you recognize that report?           19    A Yes.
20    A Yes.                                                  20    Q Now, are you familiar with Dr. Whitehouse's
21    Q Okay. If you could turn to page 15 of the             21 Environmental Exposure to Libby Asbestos and
22 report, please.                                            22 Mesothelioma Study that was published in the American
23            MR. HEBERLING: For the record, Exhibit 4        23 Journal of Industrial Medicine in 2008?
24 does not appear to be a complete copy because not all      24    A Yes.
25 exhibits are attached.                                     25           MS. HARDING: We're going to mark that as

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 1   Exhibit Number 6.                                         1 your report, is a descriptive study; correct?
 2         (Deposition Exhibit No. 6 marked for                2    A Yes.
 3   identification.)                                          3    Q And it is a study concerned with and designed
 4      Q (By Ms. Harding) And I don't want to talk            4 only to describe the existing distribution of variables
 5   about it yet, but I've handed you Exhibit Number 6 which 5 without regard to causal or other hypotheses; correct?
 6   is that study. Do you recognize that?                     6    A Yes.
 7      A Yes, I do.                                           7           MS. HARDING: Now, I have a little chart
 8      Q Okay. And this study is also a descriptive           8 that I started a long time ago that I kind of did from
 9   study; correct?                                           9 seventh grade biology. And I want to see if I
10      A Correct.                                            10 think -- I think I have it right.
11      Q And it is -- as such, it is a study concerned       11        Well, let me start with this. Let's mark it as
12   with and designed only to describe the existing          12 Exhibit 9.
13   distribution of variables without regard to causal or 13           (Deposition Exhibit No. 9 marked for
14   other hypotheses; correct?                               14 identification.)
15      A Yes.                                                15    Q (By Ms. Harding) First of all, do you kind
16          (Deposition Exhibit No. 7 marked for              16 of -- do you recognize that scientific -- the steps in
17   identification.)                                         17 the scientific method? And have I captured them
18      Q (By Ms. Harding) I've marked as Exhibit Number 18 correctly?
19   7, Dr. Whitehouse's study that appeared in the American 19            MR. HEBERLING: Could I have a copy,
20   Journal of Industrial Medicine in 2004. And the title 20 please?
21   is Asbestos Related Pleural Disease Due to Tremolite 21               MS. HARDING: I do not have a copy, I don't
22   Associated with Progressive Loss of Lung Function Serial 22 think. We could print one at a break.
23   Observations in 123 Miners, Family Members and Residents 23           MR. HEBERLING: I think I'd like one now.
24   of Libby, Montana. Do you have a copy in front of you? 24             MS. HARDING: Then we'll take a break and
25      A Yes, I do.                                          25 we'll get a copy.


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 1     Q And is that study, Exhibit Number 7, also a           1            VIDEO TECHNICIAN: Off the record, the time
 2   descriptive study?                                        2   is 9:31.
 3     A Yes, it is.                                           3         (Deposition in recess from 9:31 a.m. to
 4     Q Okay. And it is a study -- I'm sorry -- it's a        4   9:32 a.m.)
 5   study concerned with and designed only to describe the    5            VIDEO TECHNICIAN: We're back on the
 6   existing distribution of variables without regard to      6   record. The time is 9:32.
 7   causal or other hypotheses; is that right?                7            MR. FINCH: Exhibit 9?
 8      A That's right.                                        8            MS. HARDING: Yes, Exhibit 9.
 9         (Deposition Exhibit No. 8 marked for                9      Q (By Ms. Harding) Dr. Molgaard, I've given you
10   identification.)                                         10   what's been marked Exhibit Number 9 which is titled
11      Q (By Ms. Harding) And the last one I'd like to       11   Scientific Method, Steps in the Scientific Method. And
12   ask you about -- I think we're on number 8; is that      12   as I mentioned, it, literally, is me trying to kind of
13   right?                                                   13   put in context, you know, epidemiology in the way that I
14         Exhibit 8 is an article titled Radiographic        14   can learn to -- kind of the scientific method in seventh
15   Abnormalities and Exposure to Asbestos Contaminated      15   grade where they talked about putting a, you know, bean
16   Vermiculite in the Community of Libby, Montana, USA.     16   in a room and making it dark and putting a bean in the
17   And I think this appeared in an Environmental Health     17   light and seeing which grows. So -- is it fair -- well,
18   Perspectives in 2003. Do you see that?                   18   do you agree with it, generally?
19     A Yes.                                                 19      A It's not quite the epidemiologic method. It's
20     Q Okay; and do you recognize Exhibit 8?                20   a little bit different than what we do; okay?
21     A Yes, I do.                                           21      Q Uh-huh.
22           MR. FINCH: The Peipins article?                  22      A A lot of what we do is surveillance of
23     Q (By Ms. Harding) The Peipins article; yes?           23   populations. And so we start with What is the question?
24     A Yes.                                                 24     Q Uh-huh.
25     Q Okay. And this also, as you've described in          25     A But -- for example, you have a large

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 1   surveillance system like the SEER system which is for       1   the -- looking at the rates in one county and looking at
 2   cancer. And it has a number of states and a number of       2   the rates in the other and seeing that Boy, this
 3   cities in the United States where every case of             3   particular state that has a lot of pesticide use seems
 4   diagnosed cancer gets entered into a centralized            4   to have higher rates --
 5   registrar's system, and you identify and follow those       5      A Uh-huh.
 6   cases. So basically what you're doing there is you're       6      Q -- we should investigate that. And they would
 7   generating rates.                                           7   then use analytic epidemiology to investigate the
 8      Q Rates of disease in populations?                       8   hypothesis that pesticide use is causing increased risk
 9      A Yeah, yeah.                                            9   of disease. Is that right?
10      Q Right.                                                10      A That's normally the process, yeah.
11      A And so the generation of those rates and the          11      Q All right.
12   comparison of those rates across states, for example,      12          On Exhibit 9, if I marked below the two boxes,
13   you know, Does Iowa have more cancer than other places     13   I'm going to put "Above Descriptive" and I'm just going
14   because there's a lot of pesticide and herbicide use       14   to write it down and then you can disagree if I'm wrong.
15   there because it's a very agricultural state? So to        15   And then below I'm going to put "CARD Mortality" which
16   answer that question you compare the rates there to the    16   was Exhibit 3 and 4.
17   rates you get from Washington State, for example. So       17            MS. BLOOM: 4 and 5.
18   that -- so that to get to the hypothesis or question in    18            MS. HARDING: Oh, it was? The reports are
19   epidemiology, it's not so much that you pluck one out of   19   4 and 5? I'm sorry. "The Whitehouse Mesothelioma
20   your mind, okay, though you can do that too, but,          20   Study," which is Exhibit 6. And the "Whitehouse
21   really, you look at what's happening in terms of           21   Progression Study," which is Exhibit 7. And then the
22   descriptive population surveillance and the rates that     22   "Peipins ATSDR" is that okay for an abbreviation;
23   are current. And then if you get an excess of rates        23   Exhibit 8? I'll put a box around them so I'm not
24   someplace, then you say Well, what could be driving        24   messing up everything there.
25   that? And then that gets you kind of to the developing     25            MR. FINCH: And you'll mark that copy as

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 1 a hypothesis about what environmental exposures might be      1   the official copy?
 2 happening.                                                    2             MS. HARDING: Yes. And I'm going to mark
 3       So, for us, there are kind of -- before you get         3   this as Exhibit 10; okay?
 4 to design a controlled study, it's the steps around the       4         (Deposition Exhibit No. 10 marked for
 5 surveillance which is the descriptive part of our field.      5   identification.)
 6    Q Okay; I think that's very fair. So I think               6      Q (By Ms. Harding) Would you agree with that
 7 what you're saying is that, really, the -- if I put a         7   description on the chart?
 8 box around "observe and develop hypotheses," I think          8             MR. HEBERLING: Objection; vague as to what
 9 what you're telling me and I think it's very fair, is         9   "on the chart" may mean.
10 that there's a huge field of work in public health           10             MS. HARDING: Okay.
11 and -- and -- I'm sorry -- descriptive epidemiological       11      Q (By Ms. Harding) As I've just described the
12 work that goes into collecting the observations --           12   four studies that are listed on the chart, Exhibits 4
13    A Right.                                                  13   and 5, Exhibit 7, Exhibit -- I'm sorry -- 6, and Exhibit
14    Q -- analyzing the observations and developing            14   8 as descriptive epidemiology studies that fall under
15 hypotheses.                                                  15   the heading "Descriptive" as I've written it on the
16    A Right, right.                                           16   chart under Observe and Develop Hypotheses. Would you
17    Q And then -- and what I wanted to make -- and I          17   agree with that, with the qualifications that you just
18 think -- I think I do -- I think I do get it. And so in      18   gave before.
19 your -- in the analogy you just gave, the descriptive        19      A If I can add another one or two, that -- the
20 part of the work that's done in your field is the            20   thing is, is that, also, when you do -- it's always a
21 gathering of the SEER data and the comparing of the          21   question of Compared to what? in epidemiology. So when
22 rates in different places to make observations and           22   you do these descriptive studies, you do end up, often,
23 develop hypotheses.                                          23   doing an observe-to-expected rate comparison; okay? So
24    A Uh-huh.                                                 24   you're looking at, you know, asbestosis in Libby or
25    Q Okay. And so in the example you just gave,              25   whatever, and then you compare the rates you get there


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 1   to some other study someplace. And you're trying to      1 New York State, you know, that sort of argumentation
 2   come up with, you know, I've observed this many cases,   2 will be included in those papers.
 3   and I would -- based on these other studies which are    3    Q Yes.
 4   also descriptive, I would expect this many. And so when  4    A So they are alluding to etiological theories,
 5   you get more than that, that is often used in            5 although, in and of themselves, they're considered to be
 6   descriptive studies as an argument point that more       6 descriptive; okay?
 7   studies need to be done or -- or something's going on 7       Q Right. And that's very fair. And the fact
 8   here in this community; okay?                            8 that those studies -- like Peipins makes those kinds of
 9       Q Okay.                                              9 comparisons and arguments --
10       A Now, an observe-to-expected ratio is still part 10      A Yeah.
11   of, in my mind, is developing a hypothesis and moving 11      Q -- doesn't turn the study into an analytic
12   towards more analytic work, normally; okay?             12 epidemiology study; correct?
13       Q Uh-huh.                                           13    A No. And really what you're trying to do when
14       A Because you're -- ultimately, your gold           14 you do that sort of thing is you're trying to generate
15   standard in -- in observational epidemiology is the     15 an interest in the field that there should be additional
16   cohort design where you do a relative risk. But all     16 studies in this area.
17   these other studies feed into getting to there; okay? 17      Q Right. And, indeed, in Peipins, for instance,
18       Q Yes.                                              18 Peipins does that very thing in the study.
19       A And they're part of the, as you say here,         19    A Yeah.
20   repeat studies. You know, when you come to a point 20         Q We should study this.
21   where you think there really is something going on in a 21    A Yeah.
22   community, it's based on a series of studies that kind 22     Q And study it doing a controlled epidemiologic
23   of show the same thing going in the same direction. And 23 study.
24   that's standard. There's never one definitive study. 24       A Right.
25   It's a bunch of studies that are kind of moving in the 25     Q Okay.

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 1   same direction. And then eventually policy makers come    1        I would like to, then, talk a little bit about
 2   to the decision that something is happening in the        2 the CARD Mortality Study and this issue of comparing it
 3   community.                                                3 to other studies --
 4      Q Okay. But with respect to the four studies           4    A Uh-huh.
 5   that we've talked about earlier, with respect to those    5    Q -- okay? And in your report, you state that
 6   studies and what each of those were designed and can      6 Dr. Frank found that it was a proper comparison. I
 7   do --                                                     7 might be paraphrasing, but I think that's what you said.
 8      A Uh-huh.                                              8    A In a rough way.
 9      Q -- they are descriptive studies that are not         9    Q Okay. Did you, yourself, do any work or
10   designed to test hypotheses; correct?                    10 analysis to try to compare the CARD Mortality Study to
11      A In and of themselves, correct.                      11 any other study?
12      Q And the kind of explanation you just gave about 12        A No.
13   looking at descriptive studies and then comparing them 13      Q Okay. So when Dr. Whitehouse, in the
14   to other descriptive studies, that's a separate issue;   14 CARD -- in his report, compares his CARD Mortality Study
15   correct? I didn't ask you in there about any comparison 15 to the study by Selikoff and Seidman and then makes
16   of the studies to anything else. I just asked about the 16 conclusions based on that comparison, you have not done
17   studies. So in other words, if you're going to take a 17 any analysis to test whether the comparison is proper or
18   descriptive study and compare it to another descriptive 18 the conclusions are proper; is that right?
19   study and, as you said, maybe make arguments about -- or 19    A Other than reading the papers, the literature
20   develop a hypothesis about something, that is a separate 20 that I was given and thinking about the comparison
21   process; correct?                                        21 whether it was a reasonable one or not, I've not done an
22      A Well, often you'll find in papers of this kind      22 analysis of my own of things.
23   that they do make that comparison. They'll say Well, if 23     Q Okay.
24   we take this -- the numbers we have here and the rates 24      A Okay.
25   we have here, and compare them to what's happening in 25       Q So you did read the Selikoff and Seidman paper

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 1   that Dr. Whitehouse refers to when he compares the CARD  1    Q Okay. The first question I want to ask is, is
 2   Mortality Study to that paper.                           2 the CARD Mortality Study a subset of a defined study
 3      A Yeah.                                               3 population that has ongoing mortality follow-up work
 4      Q Okay. And you did read the Markowitz study          4 being done on it?
 5   that Dr. Whitehouse compares his study to.               5    A I missed the first part of your question.
 6      A Uh-huh.                                             6 You're asking about --
 7             MS. HARDING: Okay.                             7    Q It was asked very poorly, so I'll start over.
 8         Then I'd like to just explore a little bit the     8       You're familiar with the -- Dr. Selikoff's
 9   similarities and differences between Dr. Whitehouse's    9 insulator study; correct?
10   CARD Mortality Study and the Selikoff and Seidman paper 10    A Yes, I am.
11   and Markowitz paper.                                    11    Q It's a famous group of studies; correct?
12         The first thing I'd like to ask is -- let's       12    A Yes; right.
13   start with the Markowitz paper. Do you have that? 13          Q And he started following an insulator cohort.
14   Thanks.                                                 14    A Right.
15         (Deposition Exhibit No. 11 marked for             15    Q Okay. And insulator cohort was defined in a
16   identification.)                                        16 very rigorous -- very rigorous epidemiological
17      Q (By Ms. Harding) Do you recognize Exhibit          17 procedures; is that fair to say?
18   Number 11 entitled Clinical Predictors of Mortality for 18    A Yes.
19   Asbestosis in the North American Insulator Cohort, 1981 19    Q To your knowledge, has Dr. Whitehouse performed
20   to 1991?                                                20 that kind of study on his patients at the CARD Clinic?
21      A Yes.                                               21    A Given his -- I think it is the same category of
22      Q One second, I'm just trying to locate -- okay.     22 studies. It's a similar kind of study. But the
23         On page 20 -- sorry -- page 25 of Exhibit         23 difference is that Selikoff had a large team and much
24   Number 5 which is Dr. Whitehouse's report --            24 greater resources, so he could do things that were
25      A Uh-huh.                                            25 probably beyond Whitehouse's ability. But the


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 1     Q -- do you have that?                                    1 general -- the general idea is roughly the same.
 2     A Yeah. Yes, I do.                                        2        (Deposition Exhibit No. 12 marked for
 3     Q Okay.                                                   3 identification.)
 4           MR. FINCH: That's the May report?                   4    Q (By Ms. Harding) Do you see the document
 5           MS. HARDING: Yes, it is the May report.             5 that's been marked as Exhibit 12?
 6     Q (By Ms. Harding) On page 25, the last full              6    A Yes.
 7   paragraph, through page 28, the first full paragraph,       7    Q And this is a paper by Irving Selikoff and
 8   Dr. Whitehouse describes his comparison of the CARD         8 Herbert Seidman; correct?
 9   Mortality Study to the Markowitz 1997 study; correct?       9    A Yes.
10      A Right.                                                10    Q And the title is Use of Death Certificates in
11      Q Okay. The first thing that I wanted to ask you        11 Epidemiological Studies, Including Occupational Hazards:
12   is, I -- well, I think I'll just go through the study      12 Variations in Discordance of Different
13   and ask you the questions.                                 13 Asbestos-Associated Diseases on Best Evidence
14           If you look at Exhibit 11, page 102 of the         14 Ascertainment. Do you see that?
15   publication which is the second page, under Methods        15    A Uh-huh.
16   Study Population and Clinical Examination, do you see      16    Q If you go to page 484 of the article --
17   that?                                                      17    A Uh-huh.
18      A Yes.                                                  18    Q -- Dr. Selikoff and Dr. Seidman, under
19      Q Okay. The first thing it says is "The study           19 Materials and Methods --
20   population was a subset of the ongoing mortality           20    A Uh-huh.
21   follow-up of 17,800 asbestos insulation workers (members   21    Q -- list a general description of the way that
22   of the International Association of Heat and Frost         22 their insulator cohort study was performed.
23   Insulators and Asbestos Workers) that has been conducted   23    A Uh-huh.
24   since January 1, 1967." Do you see that?                   24    Q The first paragraph says "On January 1, 1967,
25      A Uh-huh.                                               25 there were 17,800 men on the rolls of the International


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 1   Association of Heat and Frost Insulators and Asbestos       1   close enough? Well, yeah, because there's no real
 2   Workers in the United States and Canada. They were          2   guidelines about when the comparison population is good
 3   members of its 120 local unions in different regions."      3   or not; okay?
 4   Do you see that?                                            4      Q Right. Well, actually, I was going to get to
 5      A Yes.                                                   5   that later. But the bottom line about the comparison is
 6      Q Okay. Do you understand the description of the         6   there's -- there are no guidelines for how to do the
 7   17,800 men to be an attempt by Dr. Selikoff and             7   comparison, and there is no way to test whether it's
 8   Dr. Seidman to identify all the possible insulators in      8   correct or not; correct?
 9   the US and in Canada who could have potentially been        9      A There's no formal test that I know of, yeah.
10   exposed to asbestos in their job as insulators?            10      Q All right. So it also says that the
11      A Yes.                                                  11   international -- on page number 484 -- well, let me go
12      Q Okay. It's true, is it not, that                      12   back.
13   Dr. Whitehouse has not attempted to identify a cohort of   13          Dr. Whitehouse's patients come to him based
14   individuals in the United States and Canada who could      14   on -- because he's a doctor and he treats people for
15   potentially have been exposed to asbestos in Libby; is     15   pulmonary disease; correct?
16   that correct?                                              16      A Uh-huh; right.
17      A He has not done a cohort mortality follow-up on       17      Q And some of the patients have come to him
18   the national level; that's true.                           18   because they've been referred by lawyers or other
19      Q Okay. And he hasn't even attempted to identify        19   doctors; correct?
20   all the people that could be exposed to asbestos from      20      A Yes.
21   Libby; correct?                                            21      Q And even within -- well, strike that; we'll get
22      A I don't believe he has.                               22   back to that.
23      Q Okay. So in that regard, the Selikoff cohort          23          But in terms of identifying the population of
24   is different from the population of patients that          24   people that have been exposed to asbestos from Libby
25   Dr. Whitehouse is studying; is that correct?               25   that was generated in Libby, you would agree with me

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 1      A It's different in terms of -- of where they're       1     that the CARD Mortality Study does not attempt to do
 2   finding their material. But basically, they're similar    2     that; correct?
 3   in that what you're looking at is mortality follow-up     3               MR. HEBERLING: Objection; asked and
 4   and clinical correlates of the mortality. And so in       4     answered.
 5   that sense -- and you're looking at roughly the same      5               THE WITNESS: The question is -- could you
 6   kinds of materials.                                       6     repeat that?
 7         The difference is, is that what Selikoff was        7        Q (By Ms. Harding) With respect
 8   trying to do was to try to simulate -- or emulate a       8     to -- Dr. Whitehouse did in no way, shape or form,
 9   population-based study. And he didn't have a geographic 9       attempt to identify the people in the United States that
10   population. What he had instead was everybody in this 10        have been exposed to asbestos that was generated in
11   union; okay? That was his case material. And then he 11         Libby by Grace; correct?
12   followed them.                                           12               MR. HEBERLING: Same objection.
13          What Whitehouse has is a bunch of clinical        13               THE WITNESS: Correct.
14   material that has come to his attention that essentially 14        Q (By Ms. Harding) Okay. And, indeed,
15   it's a case series, and then he's followed them to see 15       Dr. Whitehouse has not attempted, even within Lincoln
16   what happens with the mortality experience. So in that 16       County, to identify the people that have been exposed to
17   sense, where the material has come from is different. 17        asbestos that was generated at the Libby mine; correct?
18   And that's why you'll get things like this -- in the     18        A Correct. What he was looking at was the case
19   Exhibit 5, page 26, where the comparison between the two 19     material that had come to his practice.
20   groups is done by Whitehouse, comparing Markowitz to the 20        Q Okay. And in that regard, it's different from
21   CARD study. And they're not -- you know, they're not 21         the insulator studies; correct?
22   exactly on exactly the same numbers. But when you do 22            A It's smaller. I don't know if I would say it's
23   these comparisons, you don't always get, you know, a 23         different, per se. I mean, the goal, really, when
24   perfect match when you're doing a comparison; okay? So 24       they're doing the comparison was to see, Okay, what
25   then you have a value judgment, Are these reasonably 25         happens with mortality here in terms of this one disease


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 1   or these couple of diseases, and then What are the          1   population in Libby or Lincoln County that was exposed
 2   clinical correlates of it? So the fact that Whitehouse      2   to asbestos from the Grace mine in Libby, Dr. Whitehouse
 3   was operating with a case series, there's nothing in the    3   has not attempted to ascertain the death certificates of
 4   books that says that you can't compare material from a      4   that group; correct?
 5   case series that you followed with a case grouping that     5      A That's my understanding.
 6   comes from a large union that's been followed also. I       6      Q Okay. The only death certificates
 7   mean, you can compare them.                                 7   Dr. Whitehouse has obtained are the death certificates
 8         And, in fact, in a way, what I think Whitehouse       8   in his group of patients; right?
 9   was trying to do was to say saying What's the gold          9      A That's my understanding.
10   standard for mortality follow-up studies? Well, in         10      Q In the Selikoff study, it says, on page 485,
11   Seidman, for this disease, you know, What does my          11   "The local union officials are then requested by their
12   clinical case series -- which is a valid epidemiologic     12   national office to complete a specific mortality form
13   thing to look at, physicians do it all the time -- how     13   that includes such information as the facility in which
14   does my case series compare to this gold standard, you     14   death occurred, treating physicians, next of kin, and
15   know.                                                      15   other pertinent data. This is supplemented by current
16      Q Okay; let's just move on.                             16   records of the Washington office including the most
17         It says that a questionnaire was sent to each        17   recent mailing address....Inquiry is then directed to
18   insulator for information including a lifetime smoking     18   all treating facilities (hospitals, extended care units,
19   history, format consisting with American Cancer Society    19   outpatient clinics) and to all treating physicians
20   study, pertinent clinical symptoms, and a limited number   20   requesting clinical data and loan of available chest
21   of occupational considerations, personal experience with   21   x-rays." Do you see that?
22   dust counts and industrial hygiene measures. Do you see    22      A Yep.
23   that?                                                      23      Q Okay. And it's true, is it not, that
24      A Are we on 484?                                        24   Dr. Whitehouse has not requested that -- has not
25      Q I'm on 484 still, at the bottom of the second         25   attempted to -- well, it's true that Dr. Whitehouse has

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 1   paragraph under Materials and Methods; actually, the      1     not followed that procedure; correct?
 2   third paragraph.                                          2        A I don't believe he has.
 3      A Yes, I see that.                                     3        Q Now, going down further, it says "All pathology
 4      Q Okay. And to your knowledge, did                     4     facilities known or likely to have surgical or autopsy
 5   Dr. Whitehouse or anybody -- did Dr. Whitehouse send out  5     material are also contacted both for information and for
 6   and administer a questionnaire of the sort that was used  6     permission to borrow histopathological material with,
 7   by the -- by Dr. Selikoff?                                7     again, generally excellent response. The material
 8      A No, I don't believe he did.                          8     received is forwarded to our pathology unit for
 9      Q And on the next page, if you turn the page, it       9     independent study and then returned with our thanks and
10   says "Since 1967, we have maintained observation of the 10      acknowledgment of the assistance provided." Now,
11   entire cohort with the assistance of officials of the    11     obviously, Dr. Whitehouse hasn't attempted to do that
12   local unions in the International Office of Union.       12     with respect to the population in the US or Libby that
13   Whenever a member dies, we are notified often both by 13        have been exposed to asbestos from the Grace mine in
14   the local union and by the health and welfare unit of 14        Libby. But you would agree with that; right?
15   the Washington office." And that "Sometimes, even such 15          A Yes.
16   double surveillance may be unaware of the death of a 16            Q Okay. It's true, also, that Dr. Whitehouse has
17   member....Therefore, periodically, we send lists of      17     not attempted to do that, collect all the pathology that
18   local union members assumed to be alive...to each local 18      might be available on his patients systematically;
19   union and request confirmation of current vital status." 19     correct?
20          With respect to the population of people in the 20          A On his patients in his case series? I don't
21   United States that were exposed to asbestos from Libby, 21      really know whether he has or not.
22   to your knowledge, Dr. Whitehouse hasn't attempted to 22           Q Okay. Is it set out in his -- either his
23   ascertain the deaths of those people; correct?           23     expert report in December of '08 or May of '09 that he
24      A Right.                                              24     attempted to do that?
25      Q Okay. And with respect, even, to the                25        A I just don't remember.

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 1      Q Okay. I mean, my question is -- I understand      1      approach we used. But the actual algorithm, I've not
 2   that there are cases in which Dr. Whitehouse may have 2       seen.
 3   pathology information in some of his patient records. 3         Q And, indeed, I think you read Dr. Whitehouse's
 4      A Right.                                            4      deposition; correct?
 5      Q To your knowledge, has he done -- has he made a 5          A Yes, I did.
 6   systematic attempt to obtain pathology or histological 6        Q And he was asked if there was a written
 7   information on his patients that have died?            7      protocol for how he conducted those assessments, and he
 8      A Other than if the material was already in the     8    said no. Do you recall that?
 9   record, I would say no.                                9       A I don't remember that exactly, but I think he's
10      Q On the bottom of page 486, under Categorization 10     right.
11   of Causes of Death, Dr. Selikoff and Seidman explain how 11    Q Okay.
12   they conducted their best available information test for 12        Now, coming back to the Markowitz paper, the
13   determining cause of death. Do you see that?             13 Markowitz paper which was Exhibit Number 11; correct?
14      A Uh-huh.                                             14    A Yes.
15      Q Okay. And I'm just going to read what it says. 15         Q Which was one of the studies that
16   "As a rule, the best available information for           16 Dr. Whitehouse attempted to compare it to; correct?
17   establishing the cause of death was considered to be 17        A Right.
18   autopsy findings with pathological information derived 18      Q Okay. That -- the cohort that we just
19   from surgical intervention next and, in their absence, 19 described from the Selikoff paper, Exhibit Number 12, is
20   clinical and roentgenological" -- did I say that right; 20 the same cohort; correct?
21   kind of?                                                 21    A Yeah; it's a subset of it.
22      A Yeah.                                               22    Q Okay. So all of the -- the discussion we just
23      Q -- "observations made during life including the 23 had about the similarities and differences between the
24   period before death. Where no such details were          24 Selikoff cohort and the Whitehouse CARD mortality group
25   available, the cause of death as recorded from death 25 applies to the Markowitz paper as well; correct?

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 1   certificate information was utilized; it was then the     1     A I would say that.
 2   'best evidence.'" Do you see that?                        2     Q Now, I would like to talk more about the
 3      A Yes, I do.                                           3   Markowitz paper under the Methods section, starting on
 4      Q In either his report in December or his report       4   page 102. Okay; so the group studied in Markowitz is a
 5   in May, has Dr. Whitehouse set out the protocol or study 5    subset of the Selikoff insulator population; correct?
 6   design or method by which he made his best available      6     A Right.
 7   information judgment?                                     7     Q Okay. And the -- in July of '81, all surviving
 8      A He has, in a sense. Because what the -- what         8   insulators from the original cohort who had begun work
 9   Selikoff is saying is that in the absence of              9   as insulators thirty or more years previously, were
10   pathological information, clinical material, diagnoses 10     invited to participate in a clinical examination;
11   made during life, including the period before death, is 11    correct?
12   an acceptable form of evidence. And then -- so what 12           A Right.
13   Whitehouse has done, by and large, I believe, is that he 13      Q Okay. So this Markowitz study started with an
14   has considered that the clinical diagnoses he made from 14    attempt by Markowitz and his co-authors to identify all
15   his practice are reasonable evidence for inclusion in 15      the surviving members of the original cohort of
16   this best available format.                              16   insulators; correct?
17         It's like number three on the list. If you         17      A Right.
18   don't have -- if you don't have, you know, autopsy       18      Q And then for various reasons, either they
19   material, then maybe you have clinical and x-ray         19   didn't respond or -- I guess it's just that they didn't
20   material made during life as diagnostic material.        20   respond. But at the end of the day they have a final
21      Q But he hasn't -- well, first of all, he hasn't      21   group used in the current study which included 2,609;
22   set out the, you know, hierarchy of how he determined 22      correct?
23   what judgments would be made; correct?                   23      A Yes, that's what they say.
24      A No, I didn't see it. I mean, I think, really,       24      Q And that actually was 90 percent -- well, let
25   he just kind of invoked this as This is sort of the      25   me back up.

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 1         They contacted the 5,355 surviving members of       1     A Reference 30.
 2 the insulator group. And they were targeted for             2     Q Reference 30; okay. Okay; so you did not
 3 examination, clinical examination; correct?                 3   have -- or you did not compare the methods of clinical
 4     A Uh-huh, yes.                                          4   exam that were performed in the insulator studies to the
 5     Q Okay. And 3,278 did not participate, and that         5   methods of clinical exam used by Dr. Whitehouse;
 6 left them with 2,609 who were examined between 1981 and     6   correct?
 7 1983; correct?                                              7     A No, I did not.
 8     A Right.                                                8     Q Okay. And so you don't have any basis for
 9     Q Okay. In the clinical examination of this             9   making a judgment about whether or not they were the
10 group of 2,907 insulators, there are three published       10   same; correct?
11 papers that describe the methods that were used to         11     A Yes. Since I'm not a pulmonologist, I don't
12 examine them; correct?                                     12   have an opinion.
13     A There were three published papers that came out      13     Q Okay.
14 of this. Is that what you're saying?                       14        Do you know, starting on paragraph -- the next
15     Q Well, if you look at the one, two, three, four,      15   paragraph, Pulmonary Function, do you know whether the
16 five -- look at the fifth paragraph on page 102. It        16   pulmonary function testing was assessed and conducted in
17 begins "The clinical examination"?                         17   the same way as described in that paragraph and the
18     A Yeah.                                                18   paragraph below that in the Whitehouse patient
19     Q It says "The clinical examination that was           19   population?
20 conducted between 1981 and 1983 included occupational      20      A No, I don't know exactly what was done, in
21 medical history" --                                        21   terms of this listing.
22     A Yeah, I see what you're doing; yeah, okay.           22      Q Okay. So you don't know whether or not the
23     Q It says "The study methods used have been            23   methods used to identify the pulmonary function of the
24 previously described."                                     24   patients in the CARD Mortality Study were similar to the
25     A Right.                                               25   methods used by the Selikoff study?

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 1    Q And it cites to, actually, four publications;          1    A Some of them, clearly, are of the same. But I
 2 correct?                                                    2 think the Selikoff series of studies probably
 3    A Right, right.                                          3 were -- since they were well-funded, they did a much
 4    Q And those publications are listed in the back          4 more thorough job, probably.
 5 of the paper.                                               5    Q Okay.
 6    A Right.                                                 6    A I would guess.
 7    Q Okay.                                                  7    Q In the Whitehouse CARD Mortality Study, there
 8    A Yes.                                                   8 is no information provided with respect to smoking
 9    Q References 19, 20, 21, and 22, studies by              9 status; correct?
10 Lilis -- two studies by Lilis and two studies by Miller.   10    A In the mortality -- the CARD studies, that's
11        To your knowledge, did the clinical                 11 what you're referring to?
12 examinations performed by Dr. Whitehouse follow the        12    Q Yes.
13 methods of the clinical examinations done in the           13    A I don't believe there's anything in that.
14 insulator studies as described in the studies in notes     14    Q Okay.
15 19, 20, 21, and 22?                                        15    A Though there was -- smoking status was in the
16    A Could you repeat that, please?                        16 2004 report. I believe there was a brief mention of
17    Q Sure. Well, let me ask you this.                      17 smoking history.
18        In connection with your preparation for the         18    Q In the 2004 progression study which involved a
19 deposition or in connection with your preparation for      19 separate group of 123 patients; correct?
20 completing your expert report, did you have a chance to    20    A Yeah.
21 review, on page 108, the citations listed at notes 19,     21    Q Okay. In this CARD Mortality Study, there was
22 20, 21, and 22?                                            22 no smoking information that was analyzed or provided in
23    A No, I did not. The only other reference that I        23 connection with his report on the study; correct?
24 really looked at was reference 30.                         24           MR. HEBERLING: Objection; misstatement of
25    Q I'm sorry; which one?                                 25 the record.


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 1             THE WITNESS: I don't remember if -- I           1 say that right?
 2   don't think there was anything in there on smoking        2    A Yeah.
 3   history in the CARD, but I could be wrong on that.        3    Q "Or smoked only cigars and pipes, without
 4      Q (By Ms. Harding) Okay. Well, it's fair to            4 inhaling. Current smokers exceeded these limits.
 5   say, though, that as described in the                     5 Ex-smokers also exceeded these limits and had
 6   Selikoff paper -- well, in the Selikoff cohort and in     6 discontinued smoking greater than or less than two years
 7   the Markowitz -- well, let me back up.                    7 previously." Do you see that?
 8         In the Markowitz paper, "Never-smokers were         8    A Yes, I see it.
 9   defined as insulators who smoked less than one cigarette 9     Q Okay. Has Dr. Whitehouse, in connection with
10   per day, had smoked greater than or equal to ten         10 your review of the CARD Mortality Study, provided
11   cigarettes per day for greater than six months, or       11 detailed smoking information of the kind described in
12   smoked only cigars and pipes, without inhaling. Current 12 that paragraph?
13   smokers exceeded these limits. Ex-smokers also exceeded 13     A Not that I am aware of, though I must say that
14   these limits and had discontinued smoking greater than 14 this is an exceedingly funky description of smoking
15   or less than two years previously." Do you see that 15 history. I mean, this is clearly something that came
16   paragraph?                                               16 back from earlier on in the original study. Because
17      A Yes, I do.                                          17 that -- you know, "smoking only cigars and pipes,
18      Q Okay. That kind of smoking information was not 18 without inhaling"? I mean --
19   assessed or reported in the CARD Mortality Study; 19           Q Fair enough. Let me ask this. It's fair to
20   correct?                                                 20 say that -- would you agree that the -- Dr. Selikoff
21             MR. HEBERLING: Objection; misstatement of 21 attempted to ascertain the smoking status of his
22   the record.                                              22 participants; correct?
23             MS. HARDING: Well, Jon, if -- if you can 23          A Given the state of the art at the time, yes, he
24   tell me where that kind of smoking information was 24 did.
25   reported by Dr. Whitehouse, I'd like to see it, please. 25     Q Okay; given the state of the art at the time.

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 1            MR. HEBERLING: It's on the spreadsheets.        1      A Yes.
 2            MS. HARDING: Defined as smoked less than        2      Q That's fair. And the smoking status of the
 3   one cigarette per day, had smoke greater than ten        3   insulators was known to the Selikoff researchers and was
 4   cigarettes per day for greater than six months, or       4   reported in other papers; correct?
 5   smoked only cigars and pipes without inhaling? That's    5      A I believe so.
 6   on the CARD Mortality Study somewhere in some data. 6           Q And the analysis performed by Markowitz in this
 7              MR. HEBERLING: Your question went to 7            paper, Exhibit 11, includes an analysis of smoking
 8   smoking status and other matters.                        8   status; correct?
 9              MS. HARDING: My question was very             9      A I imagine he put it in there. Yeah, he does
10   specific, and I asked specifically -- I read the        10   have it in there in table 3.
11   paragraph from the Selikoff study and asked if that 11          Q Okay. And there's no such analysis -- similar
12   information was provided in the CARD Mortality Study. I 12   analysis of smoking in the Whitehouse CARD Mortality
13   was trying to distinguish it --                         13   Study as reported by Dr. Whitehouse on -- in Exhibit
14              MR. HEBERLING: The record will reflect the 14     Number 4 and 5; correct?
15   question that you posed and the objection I made.       15      A Not that I'm aware of.
16              MS. HARDING: Okay; that's fair enough. So 16         Q Okay. Under the next section, Mortality
17   I'll ask it again, just to be clear.                    17   Follow-up, it says that "The cause of death as listed on
18       Q (By Ms. Harding) On page 102, at the top of 18         the death certificate is categorized by an experienced
19   the page on the second column, there's a paragraph that 19   nosologist." In the CARD Mortality Study, that did not
20   begins "Never-smokers." Do you see that?                20   take place; correct?
21       A Yes.                                              21      A Correct.
22       Q Okay. And I'm just going to read it. It says      22      Q And, again, I think we've already covered this,
23   "Never-smokers were defined as insulators who smoked 23      but here in the Markowitz study, "All available medical
24   less than one cigarette per day, had smoked less than 24     records, chest radiographs, and histology slides
25   ten cigarettes per day for less than six months." Did I 25   pertaining to the circumstances of death of the

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 1 individual are obtained if they exist." And in the CARD     1     Q (By Ms. Harding) Dr. Molgaard, just continuing
 2 Mortality Study, it's correct that Dr. Whitehouse did       2   our discussion about the Markowitz paper which is
 3 not attempt to make systematic inquiry for all of his       3   Exhibit Number 11 and one of the papers that
 4 patients with respect to those kinds of documents;          4   Dr. Whitehouse compares his CARD Mortality Study to, it
 5 correct?                                                    5   says under Statistical Analysis on page 102, the last
 6    A That's my understanding.                               6   paragraph on the right-hand side, that "Mortality
 7    Q Now, on page 102, in the very last line of the         7   follow-up was conducted between the date of examination
 8 Mortality Follow-up, it says, "An asbestosis death in       8   for each insulator" -- meaning the date of their initial
 9 this study refers to death from parenchymal asbestosis."    9   clinical examination; correct?
10 Do you see that?                                           10      A Yes.
11    A Yes.                                                  11      Q -- "and December 31, 1991"; correct?
12    Q Okay. And what do you understand that to mean?        12      A Yes.
13    A I'm wondering if it means -- if their intent          13      Q Okay. And does -- did Dr. Whitehouse have a
14 was to say, "interstitial," I believe is the term,         14   specified time period that he used to define the
15 asbestosis.                                                15   follow-up exercise that he conducted in the
16    Q Right.                                                16   mortality -- the CARD Mortality analysis?
17    A Yeah, I think that's what they're trying to           17      A I don't -- I don't remember what it was. It
18 say.                                                       18   seems to me that there was a shut-off date, but I don't
19    Q There's a difference between fibrosis in the          19   remember what it was, so --
20 parenchyma and fibrosis in the pleura; correct?            20      Q So he had a shut-off date.
21    A Yes.                                                  21      A Yeah.
22    Q Okay. And fibrosis in the parenchyma is               22      Q Was that -- when was that imposed?
23 typically also referred to as interstitial fibrosis;       23      A You know, I don't -- I just don't remember what
24 correct?                                                   24   the follow-up period was. I have some idea it was
25    A Right.                                                25   thirty-five months of the follow-up, but I could be very

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 1     Q Okay. And so Markowitz reports that "An               1   wrong about that.
 2   asbestosis death in this study refers to death from       2      Q So for each patient, there was thirty-five
 3   parenchymal asbestosis."                                  3   months of follow-up?
 4     A Uh-huh.                                               4      A No, it was uneven amounts of follow-up. They
 5     Q That is very different than the definition of         5   came into his practice at different points in time.
 6   asbestos-related disease death as used by Dr. Whitehouse  6      Q Right. So there was no initial setting of the
 7   in the CARD Mortality Study; correct?                     7   clinical diagnosis and then subsequent setting of the
 8      A It is different, yeah.                               8   time that the follow-up would be conducted; correct?
 9      Q Dr. Whitehouse's definition of a disease             9      A It was not a formal statement like this.
10   that -- I'm sorry -- a death that could be classified as 10      Q Okay. And, indeed, there were people that came
11   caused by asbestos, included deaths where the individual 11   in many years ago and some that had come in more recent
12   had only pleural disease as opposed to parenchymal or 12      in the CARD Mortality Study; correct?
13   interstitial fibrosis; correct?                          13      A That was my understanding.
14      A Correct.                                            14      Q Okay. In descriptive epidemiology, what's the
15             MS. HARDING: Oh, three minutes on the 15            purpose of setting a time period from which you make the
16   tape? Okay. Do you want to take a quick break? He has 16      initial observation and then setting a time period from
17   to change tapes.                                         17   which you make the last observation? What's the purpose
18             THE WITNESS: Okay.                             18   for doing that?
19             VIDEO TECHNICIAN: We're going off the 19               A Well, you're always concerned with person,
20   record. The time is 10:28.                               20   place, and time, in descriptive epidemiology. So what
21          (Deposition in recess from 10:28 a.m. to          21   you're trying to say is that during this exact period of
22   10:35 a.m.)                                              22   time, this is how cases were ascertained. This is how
23             VIDEO TECHNICIAN: We're back on the 23              cases were determined, and it's just this period of
24   record. The time is 10:35. This is the beginning of 24        time; okay? And you can -- you can have a period
25   tape two.                                                25   prevalence or a point prevalence during that period of


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 1 time --                                                       1 he says "The most striking observation is that the CARD
 2    Q Uh-huh.                                                  2 patients' death rate from asbestosis is about three
 3    A -- or you can do the person years thing, which           3 times that of the insulators (34 percent to 11
 4 they did here in this study, which is the amount of           4 percent)." Do you see that?
 5 observation on any one person; how many years did that        5    A Yeah, I remember that.
 6 person contribute to the denominator.                         6    Q That's on page 27 of the May report.
 7    Q Uh-huh.                                                  7       In looking over at the table that
 8    A But you're really trying to be very specific             8 Dr. Whitehouse reports on page 26, do you see that
 9 about when you have ascertained cases.                        9 table? I'm sorry; Exhibit Number 5.
10    Q Okay. And is the -- is that period of time as           10    A Page 26?
11 you've just described, an important feature of a study       11    Q Uh-huh.
12 to consider when comparing it to other studies?              12    A Okay.
13    A You mean -- I guess you're asking Does the time         13    Q Okay; it's got Markowitz in the first column --
14 period -- does it need to be the same amount of time, or     14    A Yeah.
15 does it need to be the same place in time?                   15    Q -- and CARD Mortality in the second column.
16    Q I'm asking is there a -- if you were -- if              16    A Uh-huh.
17 you're trying to understand the relationship between         17    Q And in the first row it says "Mean age at
18 diagnosis of disease --                                      18 examination." Do you see that?
19    A Uh-huh.                                                 19    A Uh-huh.
20    Q -- and death --                                         20    Q So if I go to the fifth row, it says
21    A Uh-huh.                                                 21 "Asbestosis deaths as a percent of total deaths."
22    Q -- and the -- which is what I -- is that what I         22    A Uh-huh.
23 understand the mortality study -- CARD Mortality Study       23    Q And for Markowitz it has 11 percent, and for
24 to be doing?                                                 24 CARD Mortality it has 34 percent.
25    A Yeah.                                                   25    A Uh-huh.

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 1      Q Is it important to understand -- to have -- if       1    Q That's the comparison -- that's the ultimate
 2   you want to compare what you found in the CARD Mortality  2 comparison that Dr. Whitehouse is making, correct, when
 3   Study to other studies, is it important to have a         3 he says that "The CARD patients' death rate from
 4   similar number -- I guess start with a similar number of 4 asbestosis is about three times that of the insulators";
 5   person years?                                             5 correct?
 6       A It would be a tired comparison if you had a         6          MR. HEBERLING: Objection; confusing,
 7   similar number of person years. But, really, what         7 vague.
 8   you're doing -- what you're going to get to in any case 8      Q (By Ms. Harding) Okay; well --
 9   is you're going to get to rates per hundred thousand per 9     A Um --
10   million, and then that's your rule, the nexus of your 10       Q Do you -- do you understand my question?
11   comparison is what the rates are doing; okay? So         11    A I think I do. That is the basis of the -- of
12   it's -- you know, a perfect comparison would have        12 the statement that there is a difference of so much
13   this -- you know, both studies would be from 1986 to 13 between the two populations.
14   1991. They would both be doing person years; okay? And 14      Q He says three times the insulators; correct?
15   the populations would be exactly the same size; okay? 15 The death rate is three times that of the insulators.
16   But you never get anything like that to work with.       16    A Right.
17       Q Okay. If I want to -- it seems as -- I've          17    Q Right.
18   tried hard to understand this, so I'm going to see if    18       Before asking you more questions about that,
19   I've got -- if I put "Whitehouse mortality" -- I should 19 Dr. Selikoff published numerous analytical epidemiology
20   start a new page.                                        20 studies on the insulators; correct?
21           I truly am trying to understand this.            21    A Yes.
22       A Uh-huh.                                            22    Q And we have in those studies, reported standard
23       Q So if I put "Whitehouse CARD Mortality" and I 23 mortality ratios and relative risks of disease in the
24   put "Markowitz." The bottom line conclusion of -- in 24 insulators from exposure to asbestos; correct?
25   Dr. Whitehouse's report, seems to me, is on page 27 when 25    A Right.

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 1    Q And, similarly, with respect to the Libby              1 insulators died, including 74" which is 11 percent --
 2 worker cohort in Montana, we have cohort mortality          2 that's in the thing here --
 3 studies that report SMRs; correct?                          3    A Yeah.
 4    A Right.                                                 4    Q -- "whose cause of death was asbestosis"; okay?
 5    Q If you wanted to understand the rates of death         5 So the 11 percent comes from -- so if I put "Deaths" up
 6 among the insulator cohort and the miners exposed to        6 here and I put "Deaths for Markowitz is 674"; right?
 7 Libby asbestos, would you agree that the best place to      7    A Right.
 8 look would be to look at those two studies?                 8    Q And 74 are by asbestosis; right?
 9    A The two studies being --                               9    A Right.
10    Q Well, the two sets of studies.                        10    Q And for Dr. Whitehouse, it's -- I want to say
11    A The Selikoff set of studies --                        11 126 but I want to make sure. It might be 186. It is
12    Q Yes.                                                  12 186. I'm just trying to find the place in the paper
13    A -- and then the ATSDR ones?                           13 where he says that.
14    Q No, not the ATSDR ones. The studies done by           14    A Page 24 --
15 Dr. Amandus and Dr. McDonald on the cohort of workers in   15    Q Thank you.
16 Libby, Montana.                                            16    A There's a table All Causes of Death.
17    A Well, I would look at all of it, but -- so I          17    Q "All Causes of Death"; right. Okay. So the
18 would look at Amandus and McDonald and the ATSDR, if it    18 table on page 24 reports 186 deaths in the CARD study;
19 was me.                                                    19 correct?
20    Q Okay. And including the ATSDR Mortality Study         20    A Right.
21 then.                                                      21    Q So I'm going to put "186" under "Deaths for
22    A Right.                                                22 CARD," and then the number from asbestosis, 74; is that
23    Q Okay. For the death rate -- if we're just             23 right?
24 talking about the workers --                               24    A Seventy-six, level 186.
25    A Uh-huh.                                               25    Q Seventy-six. Okay; and the percent -- I guess

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 1    Q -- you get the death rates in the Amandus and          1 I should put a little line here that says "Percentage."
 2 McDonald studies --                                         2 And the percent is 34 for Libby and 11 for Markowitz;
 3    A Uh-huh.                                                3 correct?
 4    Q -- as well as there's some information in the          4    A Yeah.
 5 ATSDR Mortality Study; correct?                             5           MS. HARDING: Okay. Just so we can talk
 6    A Yes.                                                   6 off the same chart, I'm going to mark this as -- where
 7    Q And then in the insulator cohort studies, or           7 are we?
 8 the series of studies by Selikoff reporting relative        8           MR. FINCH: 13.
 9 risk and SMRs; correct?                                     9           MS. BLOOM: 13.
10    A Right.                                                10           MS. HARDING: And actually, I have
11    Q Okay. And you would agree that those groups of        11 "Deaths" -- which are the columns for the numbers
12 studies are analytical epidemiological studies reporting   12 percent -- or number asbestosis?
13 death rates; correct?                                      13    Q (By Ms. Harding) Is that number asbestosis in
14    A Yeah, by and large.                                   14 that column, is that right, if you look at page 26?
15    Q Okay. As opposed to the CARD Mortality Study          15    A It's -- yeah, it's percentage of the total
16 which is a descriptive study attempting to ascertain       16 deaths is 34 percent; yeah.
17 death rates in the CARD patient population.                17    Q Right; okay. But the number of asbestosis
18    A Right.                                                18 deaths, I guess, is the number for CARD at 76 and for
19    Q Now, going back to this chart on page 26, and         19 Markowitz it's 74; correct?
20 looking at the asbestosis deaths as a percent of total     20    A Yeah.
21 deaths, for Markowitz it says 11 percent. And when I       21           MS. HARDING: All right.
22 look at the Markowitz paper, I think I understand that     22       So can you mark that, please?
23 that number comes from -- if you look at page 103 under    23       (Deposition Exhibit No. 13 marked for
24 Results, the first -- well, I guess it's the second full   24 identification.)
25 paragraph, it says "From 1981 to 1991, a total of 674      25    Q (By Ms. Harding) So this is Exhibit 13. Just

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 1   take a look at it. And what I want to ask you about it 1           A Right. Because Whitehouse is working with his
 2   is the numbers that appear in it.                      2        clinical series, and they are all diagnosed people. So
 3      A Uh-huh.                                           3        you have folks -- a different sort of procedure going on
 4      Q And I particularly want to focus on starting      4        in terms of how you're identifying people who have died
 5   with the 674 number in the Markowitz study.            5      of asbestos. Whitehouse has started with a group of
 6            MR. HEBERLING: Could I take a look at 6              people who are diagnosed with it, and Markowitz has
 7   Exhibit 13?                                            7      started with a bunch of workers; okay? And they have
 8            MS. HARDING: Yes.                             8      died of various things. So there's a different approach
 9            MR. HEBERLING: Thank you.                     9      to finding your deaths.
10      Q (By Ms. Harding) Okay. With respect to the 10               Q Right. And you'd agree with me that the rate
11   674 total deaths in the Markowitz cohort, could you give   11 of death that you get depends entirely on the -- well,
12   me your understanding of how that -- what that             12 depends on two things; one, on the number of deaths that
13   number -- or how that number was derived?                  13 you attribute to, for Markowitz, asbestosis,
14      A Um --                                                 14 interstitial fibrosis; correct --
15      Q To the extent that you know.                          15    A Uh-huh.
16      A Uh-huh. Well, basically, you start off with           16    Q -- and the number of deaths in the total
17   the entire 17,800 workers in the International             17 population; correct?
18   Association of Heat and Frost Insulators and Asbestos      18    A Uh-huh.
19   Workers. And that began in '67. And the mortality          19           MR. FINCH: You have to say "Yes."
20   experience, the group, was followed for a couple of        20           THE WITNESS: I'm sorry; yes.
21   decades. They then went back and, in '81, they asked       21    Q (By Ms. Harding) Okay. If Markowitz had
22   the group to come in for a clinical examination. And       22 limited the number of deaths to only insulators in his
23   they had 5,355 at that point who were asked to come in.    23 group, in his study, that had a diagnosis of
24   Basically they got -- they had a very -- not a very good   24 asbestos-related disease, the number 674 would be lower;
25   response rate on the second pass through this cohort.      25 correct?


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 1 But they managed to get 2,609, and then they added a few      1      A Yes.
 2 more. So they got up to like that amount of folks. And        2      Q Okay. But you don't -- as far as I can tell,
 3 they had 674 deaths out of that group that they were          3   you can't tell how much lower; correct?
 4 then following which was a subset of the initial group.       4      A Correct.
 5    Q Okay. But the -- the deaths -- 674 deaths --             5      Q Okay.
 6    A Uh-huh.                                                  6          Now, Dr. Whitehouse says in his paper, on page
 7    Q -- that was the total number of people that              7   23, it says, "Markowitz does not state the number who
 8 died from the original group of 2,609 insulators that         8   were diagnosed with asbestos-related disease on
 9 were followed in this Markowitz study; correct?               9   examination in 1981 to 1983." But that is not correct;
10    A I'm actually not sure if the 674 is from just           10   correct, if you look at page 103?
11 Markowitz or if that is from the initial sample of           11             MR. HEBERLING: Where was the reference in
12 17,800.                                                      12   the Whitehouse report?
13    Q It says -- if you look on page 102, it says             13             MS. HARDING: Page 23. Actually, that
14 "The final group used in the current study included          14   might --
15 2,609 of the 2,907 insulators."                              15             MR. HEBERLING: Which exhibit are you
16    A Yeah; right.                                            16   using?
17    Q And then if you look at --                              17             MS. HARDING: That's Exhibit 4. Actually,
18    A So I guess that's -- that's who they followed.          18   on Exhibit 5 it would be on page 27, the same reference.
19    Q Right. It says, on page 103, "From 1981 to              19   I'll start over.
20 1991, a total of 674 insulators died."                       20       Q (By Ms. Harding) On page 27 of Exhibit 5,
21    A There you go, yeah.                                     21   Dr. Whitehouse states "Markowitz 1997 does not state the
22    Q So the total number of deaths, the 674 in the           22   number who were diagnosed with asbestos-related disease
23 Markowitz study, did not include just deaths of              23   on examination in 1981 to 1983." And the reason I
24 insulators who had been diagnosed with an                    24   facts -- I find that to be incorrect is because on page
25 asbestos-related disease prior to their death; correct?      25   103, Dr. Markowitz reports that "The prevalence of

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 1 asbestosis in this group of insulators was high. Sixty        1     A I think what you'd want to say is What is the
 2 percent had radiographic opacities characteristic of          2   correct denominator?
 3 asbestosis." Do you see that? That's at the very top          3     Q Yes; thank you. That's a much better way of
 4 of the left-hand column.                                      4   saying it than I said it.
 5    A Yeah.                                                    5     A And if you work with what is presented in the
 6    Q Okay. And he also reports the number of people           6   Markowitz paper, it says "...although only 13 percent
 7 with pleural abnormalities. Do you see that in the            7   (347) of the overall group had radio" -- as I read
 8 column under table 1, Pleural Abnormalities                   8   earlier -- "radiographic opacities that were rated as
 9 Absent/Present?                                               9   profusion categories 2 or 3...." Now, you could use the
10    A I do see that, yes.                                     10   347 as a denominator, if you wanted to, instead of --
11    Q Okay. So it's not correct that he didn't                11      Q That would be too restrictive in comparing it
12 report the number of people with asbestos-related            12   to Whitehouse, though; correct?
13 disease from their clinical examination; right?              13      A I don't know. I mean, if it's -- if you
14           MR. HEBERLING: Objection; misstates the            14   have -- I mean, if you have the -- I guess my point
15 record.                                                      15   would be that if you use the 347 as a denominator for
16           THE WITNESS: Well, he says "Sixty percent          16   people who actually had asbestos, what would it do to
17 (1,557) had radiographic opacities characteristic of         17   your percentage? So it might raise it to 20 percent or
18 asbestosis, although only 13 percent of the overall          18   something like that, if I'm -- if I'm following your
19 group had radiographic opacities that were rated as          19   logic here.
20 profusion categories 2 or 3 on the ILO scale."               20      Q Okay.
21    Q (By Ms. Harding) Okay. So you would agree               21         Now, similarly, with respect to
22 with me that Dr. Markowitz does report the numbers of        22   Dr. Whitehouse's 186; okay?
23 people in his study that had asbestos-related disease on     23      A Uh-huh.
24 examination in '81 to '83.                                   24      Q That is a number that comes -- that's just a
25           MR. HEBERLING: Objection; misstates the            25   function of his patient population; correct?

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 1   record.                                                     1      A Yes, it's -- right.
 2       Q (By Ms. Harding) You can answer.                      2      Q And if there were more deaths in people that
 3       A Appears that he reported it.                          3   had a diagnosis of asbestos-related disease prior to
 4       Q And from that report, it is clear that not all        4   their death that were not in his population, that would
 5   of the insulators had a diagnosis of asbestos-related       5   affect that number; correct?
 6   disease in their clinical examination; correct?             6      A I'm sorry; could you -- if he had --
 7       A Right.                                                7      Q I think it goes either way. If he -- if more
 8       Q And what that tells you is that the number 674        8   people happen to come to his practice that had an
 9   should be lower. We don't know by how much, but             9   asbestos-related disease and then died, that number
10   it -- well, it should be lower; correct?                   10   would be higher; correct?
11       A Yes.                                                 11      A Yeah.
12       Q And that would change the rate of death from         12      Q Okay. And if less people came to his practice
13   asbestosis as reported by -- well, back up. Strike         13   that had asbestos-related disease and died, that would
14   that, please.                                              14   affect the number too; right?
15          If you wanted to compare the CARD Mortality         15      A Yes.
16   Study to Dr. Markowitz's study, you need to be comparing   16      Q And, indeed, if I were to go -- if I were to go
17   apples to apples; correct?                                 17   to Troy, Montana and go to a clinical practice that sees
18     A It would be useful.                                    18   patients, and let's say that they had a hundred patients
19     Q Okay. And if you wanted to make that                   19   that had asbestos-related disease and that it turns out,
20   comparison, then you need to know what the number of       20   upon examination over the same time period, that all one
21   deaths from -- I'm sorry -- that the number of deaths      21   hundred of them actually died from best evidence of
22   that you use in the calculation in Markowitz would have    22   asbestos-related disease, then that would be a hundred
23   to be limited to the number of deaths of insulators who    23   percent death rate from asbestosis; correct?
24   had been diagnosed with an asbestos-related disease        24     A That's true.
25   prior to their death; correct?                             25     Q Okay. And if I went to -- down the road to

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 1 Helena, and I went to a practice that had people with       1    Q The same discussion that we just had relating
 2 asbestos-related disease who had also died, and upon        2 to Markowitz and the total number of deaths used to
 3 examination it turned out that none of the people that      3 calculate percentages in the table reported by
 4 had asbestos-related disease had died, then I'd have a      4 Dr. Whitehouse on page 24 applies; correct?
 5 zero rate of disease caused by asbestosis; correct?         5           MR. HEBERLING: Objection; overbroad.
 6     A Right.                                                6           MS. HARDING: I agree. I just wanted to
 7     Q Okay. So the CARD Mortality Study is                  7 kind of -- maybe I was trying to short-circuit it.
 8 completely a function of the number of people in            8    Q (By Ms. Harding) Do you agree that in the
 9 Dr. Whitehouse's study; correct?                            9 Selikoff and Seidman study, the ascertainment of the
10     A I don't know if I'd say "completely a                10 deaths in the insulators was not limited to insulators
11 function," but -- but it is a proportion of the people     11 that had a prior diagnosis of an asbestos-related
12 he has in his case series who have died of asbestosis.     12 disease?
13     Q Okay.                                                13    A Yes.
14         And -- one more -- a couple more questions         14    Q Okay. So that the number used to
15 about Markowitz. Markowitz, after determining -- well,     15 calculate -- the denominator used to calculate the rate
16 it's fair to say that the Markowitz study was attempting   16 of death from asbestosis in the Selikoff and Seidman
17 to -- let me start over.                                   17 article is different than the denominator used to
18         Do you consider the Markowitz study to be          18 calculate the rate of death in the CARD Mortality Study.
19 descriptive epidemiology or analytic epidemiology?         19    A Yes.
20     A I consider it to be analytic.                        20    Q Okay. And actually, I should probably ask that
21     Q And why is it analytic?                              21 of Markowitz because I think it made more sense.
22     A Because they have a cohort that they have            22       The denominator used to calculate the rate of
23 followed through time. And they have established what      23 death from asbestosis in Markowitz was determined
24 the relative risks are for mortality and done              24 differently than the denominator used in the CARD
25 age-adjusted relative risks and 95 percent confidence      25 Mortality Study; correct?


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 1 intervals. And that's what happens in an analytic           1    A The denominators are different, yeah.
 2 study.                                                      2    Q Okay. And if you use the same methods that
 3    Q And, indeed, in the Markowitz paper itself,            3 Dr. Whitehouse used to determine his denominator in the
 4 because of the information that's available to              4 CARD Mortality Study in both the Selikoff and the
 5 Dr. Markowitz, they actually were able to calculate         5 Markowitz papers, then their denominators for
 6 risks --                                                    6 calculating rate of death would be lower, because you'd
 7    A Uh-huh.                                                7 be limiting them to only deaths for people that had a
 8    Q -- correct?                                            8 prior diagnosis of asbestos-related disease; is that
 9    A Yes.                                                   9 right?
10    Q Okay. Which -- relative risks.                        10    A Well, I think if you -- if you limit it to
11    A Right.                                                11 people who have just been diagnosed --
12    Q And Dr. Whitehouse's CARD Mortality Study is          12    Q If you limit your total number of deaths --
13 not capable of doing that; correct?                        13    A Right.
14    A Right, because everybody is diagnosed with            14    Q -- to just people who also had been diagnosed
15 asbestosis; right.                                         15 prior with asbestos-related disease, then the total
16    Q Okay.                                                 16 number of deaths would be lower.
17       Looking at the Selikoff and Seidman article          17    A I don't think so. I think it would go the
18 which I think we marked it Exhibit Number 12. I'm          18 other way. There would be -- it would be higher.
19 sorry. There we go, I'm trying to find Dr. Whitehouse's    19    Q You have a total number of deaths in the
20 paper in May.                                              20 cohort.
21       Looking at page 24 of Dr. Whitehouse's May '09       21    A Yeah.
22 report.                                                    22    Q The 674.
23    A That's 5, isn't it?                                   23    A Right.
24    Q Yes, Exhibit Number 5.                                24    Q And if that total number could only include
25    A Okay.                                                 25 also people -- I mean, this is the total number of


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 1   deaths. It can't get any higher; right?                     1   pleural. I mean, they're considered asbestos-related
 2     A Yeah.                                                   2   diseases, and there's two kinds. So I'm not sure --
 3     Q Okay. Then if you limited the ascertainment of          3      Q Well, I'm not asking you about what's happened
 4   that number to include, also, people who had previously     4   subsequently. I'm asking you about what specifically
 5   had a diagnosis of asbestos-related disease, as we          5   Dr. Markowitz counted in his deaths. And in the
 6   established earlier from Markowitz, we know that they       6   paper --
 7   didn't all have an asbestos-related disease. Then it        7      A He counted interstitial.
 8   would have to be lower; correct?                            8      Q -- he counted -- well, he says on page 102, "An
 9      A Well, if my understanding of the Markowitz             9   asbestos-death in this study refers to death from
10   paper's correct, and I could be wrong, it looked like      10   parenchymal asbestosis"; correct?
11   there was something like 350 people who had evidence for   11      A Uh-huh.
12   asbestosis; okay? That would then be your denominator.     12      Q So if we limited the numerator in the
13     Q Okay. So it would be a smaller denominator.            13   Whitehouse CARD Mortality Study to just individuals who,
14     A It would be a smaller denominator, the same            14   upon best evidence, had death from interstitial changes,
15   number of absolute deaths.                                 15   that would lower Dr. Whitehouse's numerator; correct?
16     Q Yes.                                                   16     A It would, but I think Whitehouse specifically
17     A So what that would do is raise the percentage          17   is talking about asbestos-related disease, ARD, when he
18   up.                                                        18   makes the comparison. I mean, I think he is operating
19     Q Raise the rate of death.                               19   with a broader category that includes both of those.
20     A Of mortality.                                          20     Q Right. He's operating under the -- he's
21     Q Yes.                                                   21   operating under a protocol that allows him to call a
22     A So, for example, I think if you just counted           22   death an asbestos-related death, if the person had
23   the 370 or whatever it was and that's your denominator,    23   asbestosis interstitial fibrosis or --
24   and then you have 74 deaths, as I said earlier, the        24     A Right.
25   percentage of deaths would be, you know, 20-some           25     Q -- pleural fibrosis; correct?

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 1 percent --                                                    1       A Right.
 2    Q Right.                                                   2       Q Whereas Markowitz is operating under a protocol
 3    A -- okay? If you're doing -- which would                  3   that only allows him to call an asbestos-related death
 4 make -- would be a tighter comparison. But it would           4   if the individual had parenchymal asbestosis or
 5 leave you with the end result that you're still getting       5   interstitial fibrosis; correct?
 6 higher mortality with Whitehouse. It would                    6       A I'm not sure if Markowitz saw any pleural
 7 be -- instead of 34 percent to 11 percent, if you try to      7   deaths. Or did he? No, we didn't -- we went over that.
 8 tighten up your denominator, you're going get 34 to 22        8   There were a few in there.
 9 percent.                                                      9       Q Well, as I read Markowitz, he -- because, as I
10    Q Okay.                                                   10   understand it they were only counting parenchymal
11    A So you would still end up with --                       11   deaths, I can't tell -- I don't know that you can tell
12    Q According to Dr. Whitehouse's analysis, a               12   if there were or there were not.
13 somewhat higher in Libby.                                    13       A If there were others, yeah.
14    A An elevated, yeah, ten or 12 percent, probably,         14       Q But you can tell that there were -- if you look
15 something like that.                                         15   at table 1 of Markowitz, it's clear that -- halfway down
16    Q Okay. If you then turn to your numerator --             16   the table, it's clear that he knew who had pleural
17    A Uh-huh.                                                 17   abnormalities. If you see there's a column for absent
18    Q -- and in Libby the numerator included not only         18   and present.
19 people who Dr. Whitehouse determined died from               19       A Uh-huh, yes.
20 asbestosis by best evidence but also died with pleural       20       Q So he had the ability to count those kinds of
21 disease from best evidence, the numerators between           21   deaths, if he had so chosen. But he did not; correct?
22 Markowitz and Whitehouse are also different; correct?        22       A That would appear to be the case.
23    A I think that a few years ago that they -- NIOSH         23       Q Okay. So going back to, just to be clear, the
24 or somebody decided that they were -- you know,              24   numerator from the CARD Mortality Study, if it were
25 asbestos-related diseases included both interstitial and     25   limited to deaths by best evidence to only individuals


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 1   who had parenchymal asbestosis or interstitial fibrosis, 1 deaths that he ultimately found were caused by
 2   then Dr. Whitehouse's numerator would be lower; correct? 2 asbestos-related disease for which he relied upon
 3      A If that was the case.                               3 pathology as the best evidence?
 4      Q Okay. And I believe somewhere in                    4   A Not off the top of my head, no.
 5   Dr. Whitehouse's report he actually reports the number 5     Q Okay. And you would agree in Dr. Frank's
 6   of people that just had interstitial fibrosis; correct?  6 deposition that the individual in the CARD Mortality
 7      A I believe he did, yeah.                             7 Study that made that judgment was Dr. Whitehouse;
 8      Q Okay. So he says on the bottom of page 19,          8 correct?
 9   paragraph three, "Twenty-six percent of those who died   9   A I believe that's correct.
10   of nonmalignant disease died with pure pleural disease 10    Q Have you had occasion to read any testimony by
11   with no interstitial fibrosis"; correct?                11 Dr. Whitehouse regarding his views of pathology
12      A Uh-huh.                                            12 evidence?
13      Q So if you just use Dr. Whitehouse's own            13   A I may have. I've read a lot of material, so I
14   numbers, then you would reduce the numerator in his 14 may have read something, but I don't remember what it
15   calculation by 26 percent; correct?                     15 was.
16      A Okay; yeah.                                        16   Q Okay. Do you recall ever reading anything
17      Q The -- and you said you reviewed Dr. Frank's 17 where Dr. Whitehouse characterized his view of pathology
18   deposition. And in that deposition he said -- I just    18 evidence?
19   wanted to ask about one thing, if I could find it here. 19   A Not that I remember.
20   He said with -- it says on page 206 of his deposition 20     Q Okay.
21   which I don't think you have. I'm just going to read 21         You've written in publications regarding the
22   this to you and -- we don't have to mark it unless you 22 importance of having pathology evidence; correct?
23   want to see it. I'm happy to show it to you. He's       23   A I have, yeah.
24   describing Dr. Selikoff's best methods analysis.        24   Q And you've written that it's the -- where you
25      A Uh-huh.                                            25 have it, it should be considered the best evidence of


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 1     Q And he says "What Dr. Selikoff would do is            1 what the disease condition is; correct?
 2   write the physicians and/or to the hospital, it was       2    A Yes.
 3   usually the hospital where the death occurred, and        3    Q Would it concern you, in your evaluation of the
 4   obtained medical records and ideally obtain pathology.    4 CARD Mortality Study, if you learned that Dr. Whitehouse
 5   And then Dr. Suzuki, one of the pathologists who was on   5 had rejected pathological evidence of whether or not
 6   the staff in the environmental sciences laboratory,       6 pleural or parenchymal disease was present in an
 7   would review the tissue, because there were many errors,  7 individual and relied, instead, on his clinical
 8   especially back in the '70s and such were things as       8 observations?
 9   mesothelioma weren't as well recognized, and there would  9    A As an epidemiologist, I would think that he
10   be misdiagnoses." And then he goes on. And then at the 10 should have relied on the autopsy pathology.
11   end of that paragraph he says -- and I can let you read 11     Q Do you agree that, as an epidemiologist, that a
12   it if you want. I don't think I'm missing anything that 12 death rate reflects the number of deaths in a given
13   matters. But "So, at the end of the day we relied upon 13 population per a unit of time?
14   the most accurate and experienced pathologic diagnosis, 14     A Yes.
15   along with the clinical judgment that Dr. Selikoff would 15          MS. HARDING: Want to take a break, another
16   bring as he would classify those."                       16 break?
17          Do you know, in the Markowitz studies and in 17               THE WITNESS: Sure.
18   the Selikoff and Seidman study, Exhibits 11 and 12, do 18            VIDEO TECHNICIAN: Off the record, the time
19   you know the -- for the individuals in those studies 19 is 11:26.
20   the -- and for people who died, the number -- the        20       (Deposition in recess from 11:26 a.m. to
21   percentage of individuals for which they had pathology 21 11:34 a.m.)
22   evidence?                                                22          VIDEO TECHNICIAN: We're back on the
23       A Not off the top of my head, no.                    23 record. The time is 11:34.
24       Q Okay. And do you know -- in Dr. Whitehouse's 24          Q (By Ms. Harding) Just to finish up on the CARD
25   CARD Mortality Study, do you know the percentage of 25 Mortality Study, Dr. Molgaard, as you indicated at the


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 1 beginning of the deposition, the CARD mortality study's       1     A I think what he's doing is coming out from the
 2 a descriptive study, and it can't be used to test             2   point of view of pulmonology where -- you know, in
 3 hypotheses; correct?                                          3   general, I always think that it's best to have autopsy
 4    A Right.                                                   4   confirmation. Though, for lung diseases, you may not be
 5    Q There's a statement in Dr. Whitehouse's report.          5   in a situation where you need to have that because the
 6 I was trying to locate it. Did I put it away here?            6   diagnosis can be firmed up by the x-rays and by the
 7 Thank you. There's a statement in Dr. Whitehouse's            7   functioning of the lung itself which you can test with,
 8 report that on page 25 of his May '09 report, he says         8   you know, the spirometry and stuff like this. So I
 9 the death rate was "higher than even the insulators           9   think what he's doing is he's saying, you know, From my
10 cohort. It is apparent that exposure to Libby asbestos       10   point of view, I don't need an autopsy for lung
11 is considerably more toxic to humans than was the            11   diseases.
12 predominately chrysotile asbestos exposure of the            12         In general, as I said earlier, I believe that
13 insulation workers." Do you see that?                        13   autopsy confirmation is very useful. Though, for lung
14    A Yeah, it's in the second paragraph in the               14   diseases, I could see where it would be harder to do a
15 middle there? Right; yeah.                                   15   good autopsy confirmation on that and maybe unnecessary.
16    Q Okay. It's fair to say that that is not a               16   You know, it's kind of outside of my expertise because
17 conclusion that has been demonstrated by the CARD            17   it's getting a little bit into pulmonology land here.
18 Mortality Study from an analytic epidemiological             18   But he may be right for lung disease.
19 perspective; correct?                                        19          I think if you're doing other kinds of things,
20    A Correct; he's arguing from a point of view of           20   if you're doing, I don't know, some other disease, it
21 descriptive epidemiologic.                                   21   might be much more appropriate to do the autopsy.
22    Q Okay. And that would be one of those                    22          The real bottom line is that it's very hard,
23 arguments, I think you described earlier, that               23   often, to get autopsy confirmation. It's hard to get
24 essentially are the formulation of a hypothesis that in      24   autopsy material for lots of different things. And
25 order to be proved, needs controlled epidemiological         25   often you can only get a minor percentage of your cases.

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 1   analysis, analytic epidemiology, to determine whether       1 In any given study you could actually find -- in any
 2   it's true or not; correct?                                  2 given mortality study actually find an autopsy to use.
 3       A It's hypothesis generating, basically, yes.           3 It's difficult. So anyway.
 4       Q The -- I'm going to read a statement from             4     Q Do you agree, as I think you've stated
 5   Dr. Whitehouse in his deposition in In re Grace, October    5 previously, that rates will vary with the -- rates of
 6   18, 2007, at 231, line 15, to 232, line 3. I'm not sure     6 disease --
 7   if I have it here or not. If you'd like to see it, I        7     A Uh-huh.
 8   can try to look for it. But he's asked the question "I      8     Q -- will vary with the intensity with which any
 9   have a couple questions that I would like to ask you        9 population is studied, and histologic confirmation is
10   relating to autopsies. Typically, why are autopsies        10 essential if one is to have confidence when comparing
11   performed in medical cases or when people die?             11 results from one population with another. Do you agree
12          "A That's a really good question because most       12 with that?
13   physicians, in the general practice of internal medicine   13     A I think, by and large, that is true.
14   or chest disease, we don't even ask for autopsies          14     Q And the reason I ask these questions is because
15   because we know what they died of. We know more than       15 in your report, you're relying -- well, back up.
16   the pathologist can tell us for the most part. And I       16        You assume, without necessarily even relying,
17   really sincerely mean that. We've looked at them and       17 but you assume that Dr. Whitehouse's diagnoses of
18   have all the physiologic things. And also autopsies        18 asbestos-related disease in his patient population and
19   aren't needed. So autopsies generally don't help us        19 his best evidence judgments in the CARD Mortality Study
20   very much with the cause of death. We have -- I don't      20 are accurate; correct?
21   know; you may have some specific questions concerning      21     A Yes.
22   asbestos and go ahead and shoot on those."                 22     Q Okay. Indeed, you assume that for all of his
23           Do you agree with Dr. Whitehouse's                 23 diagnoses, he follows the criteria for diagnosing
24   characterization of the relative importance of autopsies   24 asbestos-related disease as set out in the American
25   in understanding what somebody died from?                  25 Thoracic Society; correct?


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 1      A I am assuming that, yeah.                            1     A No.
 2      Q Okay. You're assuming that he does the               2     Q Okay. In any of the documents that you've
 3   exposure assessment as set out by the applicable ATS      3   seen, did you happen to see anything that delineated
 4   guideline at the time of the diagnosis; correct?          4   where the patients were from?
 5      A I'm assuming that.                                   5     A I don't remember seeing anything like that.
 6      Q And you're assuming that he -- in making a           6     Q And do you have any knowledge of whether there
 7   diagnosis of an asbestos-related disease, you're          7   are patients in the 1,800 of Dr. Whitehouse's population
 8   assuming that -- in all -- in your statements in your     8   that come from places other than Spokane and Lincoln
 9   report, you're assuming that he has excluded other        9   County?
10   causes of disease as required by the ATS; correct?       10     A I imagine there probably are.
11      A I'm assuming he has done that correctly; yeah.      11     Q Okay.
12      Q Okay. And have you been presented by counsel        12     A I don't know the exact numbers or whatever,
13   for the Libby Claimants with any documents or testimony 13    but -- I haven't seen a distribution list, but I would
14   from Dr. Whitehouse that he's given in this case -- or 14     imagine that some of them are.
15   that he's provided in this case, where he has admitted 15       Q Okay. So it's fair to say that not all of the
16   and discussed why, in some circumstances, he has not and 16   individuals in Dr. Whitehouse's patient population come
17   does not always follow the American Thoracic Society 17       from Lincoln County; correct?
18   guidelines for diagnosis of disease? Have you seen any 18        A I would think that's probably safe to say.
19   of that in his testimony?                                19      Q Or currently reside in Lincoln County.
20             MR. HEBERLING: Objection; misstatement of 20           A I would think that's probably safe to say.
21   the record.                                              21      Q We talked briefly earlier about -- I don't know
22      Q (By Ms. Harding) You can answer if you              22   how much you know about the Grace operation of the mine
23   understand.                                              23   in Libby, Montana. But are you aware that Grace mined
24      A I'm not sure if I've seen a discussion of his       24   vermiculite in Libby, Montana?
25   not following the guidelines. I may have, I just don't 25       A Yes.

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 1 remember it.                                                1      Q And are you aware that it was milled in
 2    Q Okay. I was just trying not to cover something         2   Libby -- milled in Libby and then into what's often
 3 that he was going to cover so you have to discuss it        3   called concentrate?
 4 twice.                                                      4      A Yes.
 5    A Uh-huh.                                                5      Q And that concentrate was, then, shipped by rail
 6    Q Dr. Molgaard, what's your understanding of the         6   car, either in bags or in big, you know, rail cars --
 7 geographic distribution of the patients in                  7      A Uh-huh.
 8 Dr. Whitehouse's -- well, let's start with his patient      8      Q -- to many different locations all over the
 9 population. Do you have an understanding of how many        9   country. Are you aware of that?
10 patients are in his -- how many patients he has?           10      A Yes. I believe over 200 sites it was shipped
11    A I have a -- yeah.                                     11   to, yeah.
12    Q And what is that?                                     12      Q Okay. So I just want to ask you a few
13    A I believe I was told that there were 1,800.           13   questions about -- about that. Hypothetically, if there
14    Q Okay. And of those 1,800, do you have an              14   is an individual in Libby who is loading on the
15 understanding of, geographically, where they come from?    15   vermiculite concentrate to a rail car, either by dumping
16    A My belief is that they are mainly from Lincoln        16   it or handling bags onto a car and they're exposed;
17 County.                                                    17   correct?
18    Q Okay. Is it your -- because I took from your          18      A Right.
19 report that you believed that all of his patients were     19      Q Okay. That rail car goes across the country
20 from Lincoln County. Is that what you believe to be        20   and, let's say, it goes to Boston --
21 true?                                                      21      A Right.
22    A No. I think there are some that are from              22      Q -- and it ends in Boston. And there's a person
23 Spokane, I believe.                                        23   in Boston who then takes the vermiculite out of the rail
24    Q Okay. And other than -- and do you know how           24   car, either in bags or somehow or another helps to dump
25 many are from Spokane?                                     25   it into something else and transports it to somewhere;


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 1   correct?                                                  1   disease that you ultimately get is going to be the same
 2      A Right.                                               2   disease; correct?
 3      Q Okay. If, hypothetically, the person in Libby        3      A Right. The only thing, it might be -- the
 4   developed an asbestos-related disease from that           4   progression has spread. Might be -- could possibly be
 5   exposure; okay --                                         5   faster in Libby if there's a more concentrated exposure.
 6      A Uh-huh.                                              6   That's a hypothetical.
 7      Q -- any of them; meso, lung cancer, asbestosis,       7      Q Right; that's a hypothesis that you would agree
 8   pleural disease.                                          8   hasn't been tested.
 9      A Right.                                               9      A Right.
10      Q As an epidemiologist -- strike that.                10      Q To the extent that it's been tested with
11         If the person in Libby that was loading the        11   analytical epidemiology, you would look to the Amandus
12   concentrate onto the rail car developed an               12   and McDonald study and the mortality study for -- well,
13   asbestos-related disease from the handling of the        13   actually, I -- well, I would say the Amandus and
14   vermiculite concentrate onto the rail car, and the       14   McDonald study because you have some understanding of
15   individual in Boston developed an asbestos-related       15   levels of exposure in that study.
16   disease from his handling of the taking off of the       16      A Some. But I would look at the ATSDR stuff too.
17   vermiculite concentrate from the rail car in Boston,     17      Q Okay; the ATSDR Mortality Study?
18   from an epidemiological standpoint, would there be any 18        A Yeah.
19   reason to believe that the asbestos-related disease that 19      Q Okay.
20   was contracted by the two gentlemen would be a different 20         To get back to the hypothetical, the point
21   disease? I maybe asked -- let's say it was               21   you're making is that if you're exposed -- let's say
22   mesothelioma. If the gentleman in Libby contracted 22         you're exposed to, you know, a hundred fibers. This
23   mesothelioma from that exposure to concentrate and the 23     would be true whether you were in Libby or somewhere
24   gentleman in Boston contracted mesothelioma from his 24       else; correct?
25   exposure to that concentrate that ended up in Boston, 25         A Uh-huh.

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 1   would you expect the mesothelioma to be different         1    Q If you were in Boston and you happened to be
 2   mesothelioma?                                             2 the person that takes the stuff off the cart every day,
 3      A Normally, no, but the environmental exposures 3 and you're exposed every day for forty years, you might
 4   would be different. Because the guy loading the stuff     4 have a different rate of how fast you might develop the
 5   onto the train in Libby would, undoubtedly, have more 5 disease than the guy that just worked there for two days
 6   exposures than just the loading of. Because he's living 6 or the guy that worked there for just a year; correct?
 7   in this town where this stuff's all over and there's      7    A Right.
 8   clouds of dust and all this.                              8    Q And did the same thing; right?
 9      Q Right.                                               9    A Right.
10      A The guy in Boston, in theory, is just picking       10    Q Okay. So the fact that you might get it faster
11   up a bag and dropping it. So maybe that could cause a 11 is dependent upon the level of the exposure; correct?
12   different type of disease pattern, I don't know, because 12    A Partially it's that, and partially, you know,
13   the exposure is stronger. Maybe you get more or faster 13 one of the arguments has been made is that the fiber
14   problems in Libby.                                       14 from Libby is different and it causes a different kind
15      Q So that the -- you're hypothesizing that it's       15 of asbestosis. I'm not an expert in that area at all,
16   possible that if -- and your premise is that it is the   16 but that's something that, I think, that has been talked
17   level of exposure; correct?                              17 about in some of the literature.
18      A Yeah.                                               18    Q No, no, and I totally understand you're talking
19      Q Because we can agree that the stuff is the same 19 there about the differences between chrysotile and
20   stuff.                                                   20 amphibole asbestos or tremolite asbestos or whatever you
21      A Yeah; right, right.                                 21 might want to call the asbestos at Libby.
22      Q And from a toxicologically, epidemiologically, 22         A Uh-huh.
23   everything we know in science, there's no reason to 23         Q But I'm asking you, I think, a different
24   think that the stuff -- if you're exposed to the same    24 question which is that I want you to assume that they're
25   stuff in Boston as you're exposed to in Libby, the       25 exposed to the exact -- to the Libby fibers, whatever


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 1   they are.                                                   1     A Yeah.
 2      A Okay.                                                  2     Q Okay. Do you understand that there have been
 3      Q And the fact that they're exposed in Libby and         3   exposure measurements of individuals working
 4   the fact that they're exposed in Boston doesn't change      4   in -- exposed to concentrate in expansion plants around
 5   the biological consequences of the exposure, whatever       5   the country?
 6   the level of it is; correct?                                6      A I didn't know. I'm glad to hear.
 7      A Right; but I would -- I'm assuming that the guy        7      Q Actually, I think that is it's fair to say from
 8   in Libby is exposed more because there's just more of it    8   the Lockey study that there definitely are some.
 9   in the environment than the guy in Boston.                  9      A Are some, yeah.
10      Q Okay.                                                 10      Q At least. And do you know, have you followed
11      A You know, that's all.                                 11   and have you reviewed, any of the publications from the
12      Q But -- but you understand that there                  12   EPA or the ATSDR about the exposure levels
13   are -- there were expansion plants all over the country;   13   of -- environmental exposures in Libby or exposures in
14   correct?                                                   14   other places around the country to concentrate?
15      A Yes.                                                  15      A I've read documents about the Libby exposure
16      Q And you understand that people worked with that       16   levels, but I've not read about other sites.
17   concentrate --                                             17      Q Okay. But it's fair to say, as I understand
18      A Yeah.                                                 18   your testimony, that you have not analyzed the available
19      Q -- on a daily basis in other places; correct?         19   exposure data relating to Libby vermiculite; is that
20      A Yeah.                                                 20   fair?
21      Q Okay. And so -- and you understand that it's          21      A That's correct.
22   certainly possible that there would be individuals in      22      Q So you do not know, one way or the other,
23   other locations in the country that would have exposures   23   whether exposures in Libby, environmentally, may or may
24   that are even higher than individuals environmentally      24   not be comparable to exposures that another person in
25   exposed in Libby; correct?                                 25   another part of the country might get to the same

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 1      A I'm not sure if I agree with the last. You             1   concentrate; correct?
 2   know, it depends on, you know, are you extracting the       2      A I think -- for me, at least, the thing about
 3   stuff? Are you processing it? Are you involved in both      3   Libby is that it's kind of -- it's sort of a double or
 4   of those things in Libby? I just tend to think that --      4   triple jeopardy thing; okay? Because since the mine is
 5   although the stuff that gets shipped out, I'm unclear       5   right there, it's not only an exposure for workers who
 6   what goes out to these -- or what did go out to these       6   are dealing with the stuff, it's a general possibility
 7   200 other plants; okay? How far down the processing         7   of exposure because of the -- what's in the air, in the
 8   chain was that? Was it all bags of pellets? You know,       8   town, what's in the soil, what's in the water. You
 9   I just don't know; okay?                                    9   know, I mean, and then in these other processing plants
10      Q Okay.                                                 10   I'm not sure if there is a double or triple jeopardy
11      A So you might have a situation with people that        11   situation going on. But once again, I don't know.
12   were at these 200-plus sites, wherever they are, are       12      Q You don't know; okay. And I think I'm really
13   dealing where a lot of the dust has been rubbed off, for   13   not -- I'm not really, I think -- I'm not -- I'm not
14   lack of a better expression. It might be a cleaner         14   intending to, really, at this point in time, kind of
15   product and exposure when they are receiving it and        15   challenge your notion that it -- there might be higher
16   taking the bag off the train in Boston. I just don't       16   exposures in Libby, environmentally, than there might be
17   know.                                                      17   in other places. I'm not really asking that question.
18      Q Okay; you don't -- you don't know; right?             18   I'm more asking the question that if you are exposed to
19      A I do not know.                                        19   Libby vermiculite concentrate that is the same
20      Q And what I'm trying to get to, because -- I           20   material --
21   mean, you understand that there are -- let me back up.     21      A Uh-huh.
22          Do you know that there are over 4,000               22      Q -- in both -- in either Libby or, again, in
23   industrial hygiene samples of exposure -- individual       23   Boston, and you're exposed to enough that's sufficient
24   exposure measurements of the workers at Libby? Do you      24   to cause an asbestos-related disease --
25   understand that from the documents you've read?            25      A Uh-huh.

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 1    Q -- okay, so that you get it, you get the               1    Q Do you understand what I mean by that?
 2 disease -- so whether you got it faster or slower than      2    A Uh-huh, yes.
 3 somebody else, you get the disease -- what I'm asking       3    Q Okay. And there have been -- it's been
 4 you, I think it's just basic biology, that the disease      4 hypothesized in the literature for many years that there
 5 itself, if it's mesothelioma, for instance, is the same     5 is a difference in toxicity between amphibole asbestos
 6 disease; correct?                                           6 and chrysotile asbestos; correct?
 7    A All other things being constant, yes; okay?            7    A Correct.
 8    Q Okay.                                                  8    Q Okay. And are you aware of that literature?
 9    A Like if the environmental exposures and                9    A I've read some of that, yes.
10 domestic exposures in Boston are the same as they are in   10    Q Which literature have you read on that topic,
11 Libby and it's meso? Meso's meso.                          11 if you recall?
12    Q I'm just asking you to assume that whatever the       12    A I don't remember the cites right now, but I
13 exposures were to the stuff, they were sufficient to       13 have read some of them.
14 cause the mesothelioma; right?                             14    Q Okay. Have you read the study by -- performed
15    A Yeah.                                                 15 by Hodgson and Darnton?
16    Q Okay. So that way you don't have to kind of           16    A It does not ring a bell right now.
17 make any --                                                17    Q Okay. Have you read -- well, what's your
18    A Caveat.                                               18 recollection of the literature that addresses the topic
19    Q -- assumptions about what it is. That the             19 of toxicity of asbestos?
20 disease, mesothelioma, is ICD-9 code, whatever it is --    20    A In terms of the types of fibers?
21    A Right.                                                21    Q Yes.
22    Q Is the same disease that you get in Boston, the       22    A They're -- they're rather different. And the
23 same ICD-9 code for mesothelioma; correct?                 23 amphiboles, as I understand it, is smaller, sort of
24    A I would assume for meso that that would be            24 sharper, if you will, and that -- and it seems to be
25 true.                                                      25 indicated with pleural problems rather than


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 1    Q For lung cancer, if you get a lung cancer              1 interstitial. And it seems to be that it's much more
 2 that's caused by exposure to asbestos from Libby in         2 difficult to clear it than the other types of fibers.
 3 Libby, it's the same, you know, ICD-9 code for lung         3 Once you -- once you have some in your lungs, it
 4 cancer as it would be if you got lung cancer in Boston      4 basically is going to stay there for a very long period
 5 after sufficient exposure to Libby vermiculite; correct?    5 of time.
 6    A Yes.                                                   6    Q Okay. And what studies are you relying -- do
 7    Q Okay. And the same is true for asbestosis?             7 you recall reading that were making those hypotheses?
 8    A There I don't know.                                    8    A You know, I just don't remember the cites on
 9    Q You don't know if there's --                           9 that, because that was sort of general background
10    A I'm not sure whether it's the same -- if it's         10 reading for me. I don't remember the references.
11 Libby vermiculite, it should be doing the same disease     11    Q Okay.
12 process for all three.                                     12        In your expert report, you seem to take issue
13    Q Right. That's all -- that's the only thing I'm        13 with some fairly sophisticated toxicity analysis
14 asking you. I'm not asking you about whether               14 performed by Dr. Moolgavkar?
15 the -- whether Libby vermiculite might somehow be          15    A Uh-huh.
16 different than -- in terms of inducing disease -- than     16    Q Do you recall what I'm talking about?
17 chrysotile asbestos or any other kind of asbestos. I'm     17    A Yeah, I do.
18 just asking that once the person gets the disease, if      18    Q And the first, I believe, perhaps the only
19 they get it in Boston or Libby, if it's caused by Libby    19 thing -- let me look real quickly. Dr. Molgaard's
20 vermiculite, it's the same disease.                        20 report. Sorry.
21    A It should be, yeah.                                   21        Well, actually, the first question I have is
22    Q Now, in -- you mentioned this issue of what I         22 the -- Mr. Heberling was provided with a copy of the
23 typically refer to as toxicity of asbestos. Does           23 Sullivan data. Have you received that and have you
24 that -- does that make sense to you?                       24 analyzed that data?
25    A Yeah.                                                 25    A I've not analyzed it.

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 1    Q Okay; but you do have it?                              1     A Um --
 2    A I don't think I -- if I do, I don't know that I        2     Q Well, let me ask you the other way. It would
 3 do.                                                         3   be improper to add cases to the Sullivan data set
 4    Q Okay. So you have not -- well, do you recall           4   without conducting the formal follow-up analysis that
 5 being told by Mr. Heberling that he had received it and     5   would include new person years and the correct general
 6 that he was going to provide it to you?                     6   population and Montana population data and whatever else
 7    A I remember there was some discussion about             7   goes into doing that kind of analysis that I'm not sure
 8 getting it, I believe, between the attorneys. I think       8   I know.
 9 Jon was trying to get it or hadn't received it or           9      A It would be best if it was a new study, because
10 something like that. That's about all I know about it.     10   a lot of parameters will change, yeah.
11    Q Okay. So -- so you either haven't received it         11      Q Not just the number of new cases. Other
12 from Mr. Heberling or, if you have, you haven't reviewed   12   parameters change as well.
13 it and analyzed it; correct?                               13      A Right.
14    A No. There was a Sullivan paper I looked at.           14             VIDEO TECHNICIAN: We're going off the
15    Q The published Sullivan paper.                         15   record. The time is 12:10.
16    A Yeah, but that's it.                                  16          (Deposition in recess from 12:10 p.m. to
17    Q You mention that -- with respect to Sullivan,         17   12:11 p.m.)
18 that the close of data was end of 2001. And then you       18             VIDEO TECHNICIAN: We're back on the
19 indicate that there were -- since that time, there have    19   record. The time is 12:11.
20 been other diagnoses of asbestos-related disease;          20      Q (By Ms. Harding) So Dr. Molgaard, with respect
21 correct?                                                   21   to the toxicity analysis performed by Dr. Moolgavkar, I
22    A Right.                                                22   think that the only criticism that I believed that you
23    Q Okay. You understand that Sullivan was a              23   had in your paper, related to the fact that you believe
24 follow-up mortality study to the original NIOSH and        24   that the exposure data that was originally collected by
25 Amandus studies done in the early '80s; correct?           25   NIOSH and Dr. Amandus was not reliable for this type of

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 1    A I do understand that.                                  1   calculation; is that correct?
 2    Q And as such, I think like studies you have             2      A Yeah. I mean, in some of those writings, the
 3 conducted and other people conduct, when you do a           3   authors just flat out say that the exposure estimates
 4 follow-up study, you have to have a date by which you       4   are guesstimates, that they are really estimating,
 5 cut off the data that you're going to analyze; correct?     5   really estimating, because they just don't have much to
 6    A Right; data collection stops here.                     6   base it on. You're going back so far in time that the
 7    Q Okay. And you, indeed, in this cohort of               7   exposure data has not been especially terrifically well
 8 workers at the mine in Libby, you would expect there to     8   collected, and so they're kind of -- they're guessing,
 9 be continued cases in that group; correct?                  9   and they admit that they are.
10    A Uh-huh; yes.                                          10      Q To be specific, the reference that you're
11    Q Okay. And if you wanted to analyze the rates          11   citing which I think is a paper by Dr. Amandus, is
12 of disease in light of the new cases, you would do         12   relating to data that was collected prior to 1968;
13 another follow-up study where you would analyze that       13   correct?
14 data; correct?                                             14      A Yeah, it was in the '60s.
15    A Ideally, yes.                                         15      Q You're not talking about the post-'68 data;
16    Q Okay. Because not only would the -- would you         16   correct?
17 not only include the new cases, you'd have to include      17      A I believe it was in the early '60s, yeah.
18 the new person years by the study and the general          18      Q Okay; early '60s and before that; correct?
19 population and mortality rates of the appropriate time     19      A Yeah.
20 period; correct?                                           20      Q And there was exposure data during that time
21    A Correct.                                              21   period but it wasn't as robust; correct?
22    Q Okay. So to the extent that Dr. Moolgavkar did        22      A That would be a good way of putting it.
23 not use the new data in his analysis of the Sullivan       23      Q Okay. And similar to any other
24 data, you would agree that that would be proper;           24   asbestos-exposed cohort during that time, to the extent
25 correct?                                                   25   that there were exposure measurements which there were


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 1 not that many all around the country, but to the extent       1   published -- aside from the limitations noted by
 2 that there were, like in Libby, they were in million          2   Dr. Amandus, are you aware that there's only one
 3 particles per cubic foot; correct?                            3   published criticism of that exposure data that appeared
 4    A Right.                                                   4   at the time of the Amandus and McDonald studies? Have
 5    Q And not in fibers per cc; correct?                       5   you looked at that?
 6    A Right.                                                   6      A I wasn't aware of that, no.
 7    Q Which is another limitation of using early data          7      Q Okay. Are you aware that the criticism of the
 8 in a more recent potency analysis; correct?                   8   data was that it underestimated the level of exposures
 9    A Right.                                                   9   of the workers?
10    Q Okay. The limitations of the data that is               10      A I was not aware of that, no.
11 available on the cohort of workers in Libby, was             11      Q Okay. If it were true that the exposure -- the
12 expressly set out in the studies by NIOSH and McDonald       12   worker exposure data collected by Grace and relied upon
13 that were published in the 1980s; correct?                   13   by Dr. Moolgavkar in his toxicity analysis were an
14    A I believe so, yes.                                      14   underestimate of the actual level of exposure
15    Q Despite that, are you aware that the                    15   experienced by the workers, then that would mean,
16 Environmental Protection Agency has repeatedly, in           16   necessarily, that the toxicity of the Libby asbestos, as
17 publications, in criminal prosecutions, and in other         17   reported by Dr. Moolgavkar, would be an overestimate;
18 contexts, has relied upon that data?                         18   correct?
19    A I didn't know that exactly, but I'm not                 19      A Right.
20 surprised.                                                   20      Q And, indeed, if the opposite were true, it
21    Q Okay. And are you aware that the authors                21   would be the other way; correct?
22 Hodgson and Darnton, which have performed what I             22      A Right.
23 understand to be the most comprehensive toxicity             23      Q Okay. Aside from the -- your concerns about
24 analysis of asbestos fibers comparing chrysotile and         24   the reliability of the data -- well, let me ask
25 amphibole and other fibers, also relied upon the data        25   you -- let me ask you this before I go there.

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 1   that was collected in the Amandus and McDonald study,       1       If you wanted to conduct a toxicity analysis of
 2   the exposure data collected?                                2 the fibers at Libby as compared to fibers somewhere
 3      A I'm not surprised.                                     3 else --
 4      Q And you're aware that Dr. Sullivan, who's              4    A Uh-huh --
 5   currently with NIOSH, relied upon that data for her         5           MR. FINCH: Some other type of fibers?
 6   published mortality follow-up, and that that study that     6    Q (By Ms. Harding) Some other type of fibers
 7   she published, indeed, was relied upon by testifying        7 somewhere else that had been responsible for the
 8   experts on behalf of the government of the United States    8 exposures in the past that have lead to disease in the
 9   in the criminal case against Grace? Are you aware of        9 future -- or in the present, what exposure data would
10   that?                                                      10 you rely you, would you look to?
11      A I was not aware of that.                              11           MR. HEBERLING: Objection; vague as to what
12      Q Okay. And obviously, you know that Dr. Amandus        12 kind of study we're doing. I don't understand the
13   and Dr. McDonald relied upon that data when they did       13 parameters of this.
14   their studies in the 1980s; right?                         14    Q (By Ms. Harding) Okay. Do you understand what
15      A Right.                                                15 I'm asking?
16      Q And you're aware that Dr. McDonald relied upon        16    A No, I didn't really.
17   that same data, again, in 2004 --                          17    Q All right; that's fair. It seemed so clear to
18      A Right.                                                18 me.
19      Q -- when he did his follow-up. Okay.                   19    A Right, right.
20         How many other cohorts of asbestos-exposed           20    Q If -- you understand the toxicity analysis
21   individuals in the United States have over 4,000           21 Dr. Moolgavkar did.
22   individual industrial hygiene samples? Are you aware of    22    A Uh-huh.
23   any others?                                                23    Q Okay. Do you -- have you published
24     A No.                                                    24 toxicity -- epidemiological -- analytical
25     Q Are you aware that there's only one                    25 epidemiological analysis of the toxicity of a carcinogen


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 1   in the past? Have you ever done that before? And maybe    1   kind of a relationship between the amount of exposure
 2   I should -- actually, I'll make it more clear.            2   you get and the advent of clinical disease; okay?
 3         Have you, as an epidemiologist, ever published      3   If -- you always want to stratify out your exposure, if
 4   or conducted a quantitative analytical epidemiological    4   you can, and say, Okay, is it less than five cigarettes
 5   analysis of the toxicity of a carcinogen?                 5   a day will cause a stroke? you know, or How many pack
 6      A That's a hard question, because, you know, most      6   years do we need to look at to find an association when
 7   epidemiologists would say when you're looking at dose     7   we're controlling for a bunch of other variables in this
 8   response data that you are looking at the toxicity.       8   regression? Because you need to have some idea of the
 9      Q Uh-huh.                                              9   power of a disease agent, I guess, if you will; okay?
10      A And somewhere along the line, I'm sure I've         10   If there is something going on, there should be a
11   done a few of those. I think that to answer your         11   relationship between the dose and the response.
12   question, in general, if I was asked to do such a study, 12      Q And you should -- and if there something going
13   first thing I would do is I would go find the best       13   on, you typically look for a statistically-significant
14   toxicologist I could get to carry out the study with me 14    dose response relationship; correct?
15   for me; okay? And it's kind of how I tend to do          15      A Uh-huh; right, right.
16   business. I will often work with collaborators who have 16       Q Meaning that at lower levels of exposure, you
17   more expertise than I do; okay?                          17   have a level of response and at higher levels of
18      Q Uh-huh.                                             18   exposure, you have a higher response; correct?
19      A I can understand what they're doing, but I'm        19      A Right. And there are specific statistical
20   not going to try to do it myself, because my field is 20      tests that you use to assess that across the strata of
21   not toxicology, per se.                                  21   the dose.
22      Q Okay. But let me go back and ask two separate 22            Q Okay. So you don't disagree with the -- with
23   questions. What studies have you conducted that          23   the inquiry into the question of toxicity of asbestos;
24   examined the dose response relationship between a 24          correct?
25   carcinogen and a disease?                                25      A No, I don't disagree with that.

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 1      A We did some logistic regressions on tobacco use      1    Q Okay. And you don't -- you wouldn't say that
 2   in stroke back in the '80s which would be similar to the  2 the -- all of the studies that have been published that
 3   sorts of things that your expert witness is doing in      3 attempt to utilize the exposure data from the Libby
 4   terms of working with a regression technique.             4 working cohort, the studies by the EPA, Hodgson and
 5      Q And the types of studies that you're talking         5 Darnton, Sullivan, Amandus, and McDonald, that those are
 6   about, I haven't seen your study on that, but I believe 6 not good analytical epidemiological studies. You
 7   that the exposure that you would be studying, the dose    7 don't -- you don't -- you aren't saying that; correct?
 8   response relationship with --                             8    A No, I'm not.
 9      A Uh-huh, yes.                                         9            MR. HEBERLING: Objection; compound.
10      Q -- would be measured by the typically               10    Q (By Ms. Harding) I'm sorry; I don't think she
11   self-reported smoking status of the individual; correct? 11 got your answer though.
12      A Right, right.                                       12    A I'm not -- I'm not saying that.
13      Q Okay. And there are, in the literature, all         13    Q I think what you're saying is that the -- that
14   kinds of studies that discuss the benefits and           14 the reliability of the exposure data is a limitation on
15   limitations of using self-reported exposure data in dose 15 any analysis that's performed on that data; correct?
16   response relationships; correct?                         16    A That's correct.
17      A Correct.                                            17    Q Okay.
18      Q But the fact of the limitations                     18    A I mean, the thing is is that we are
19   doesn't -- doesn't stop the studies from being done and 19 taught -- you know, our training in the field is
20   funded; correct?                                         20 essentially one of being hypercritical about data,
21      A We plow right ahead anyway.                         21 always. You're supposed to be hypercritical of it,
22      Q And why is it that a dose response is studied       22 because that puts you in a situation of being
23   in the field of analytical epidemiology? Why is it       23 hypercritical of your own data and, therefore, you're
24   important?                                               24 always -- when you're arguing about something as
25      A Basically, you are assuming that there is some 25 important as disease risk, you are doing it in a

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 1 conservative fashion. And it's a way of putting a brake       1     A Yes.
 2 on our own theoretical and methodological exercises.          2     Q Okay. So that the conclusion -- or the
 3           MS. HARDING: Is it time for lunch? Break            3   statement "The CARD Mortality Study could be used to
 4 for lunch?                                                    4   draw conclusions about asbestos-related mortality in the
 5           VIDEO TECHNICIAN: Off the record, the time          5   entire cohort of Libby, by simply assuming that the
 6 is 12:25.                                                     6   entire cohort of Libby there was no additional ARD
 7        (Deposition in recess from 12:25 p.m. to               7   deaths which were not CARD Mortality Study deaths. This
 8 1:12 p.m.)                                                    8   is a very conservative assumption of zero deaths in the
 9           VIDEO TECHNICIAN: We're back on the                 9   rest of the cohort. The conclusion at Dr. Whitehouse's
10 record. The time is 1:12.                                    10   report that 'Libby's mesothelioma rate is certainly the
11    Q (By Ms. Harding) Dr. Molgaard, I'm sorry, a             11   highest in the United States' is a proper conclusion.
12 couple more questions about the CARD Mortality Study         12   It is a proper epidemiological conclusion because it
13 and, really, actually, Dr. Whitehouse's use of it.           13   rests on comparison with other available mesothelioma
14    A Uh-huh.                                                 14   rates in the United States. This is how epidemiologists
15    Q And I just want to make the record clear,               15   make judgments about excess occurrence of disease and
16 because I think -- I think it is, but I just want to         16   excess occurrence of risk. It is standard of practice
17 make sure.                                                   17   in epidemiology and public health." And by that I
18        On page -- I've written over it, and I think it       18   understand that you mean that it is appropriate to make
19 must be 19 of Dr. Whitehouse's study.                        19   that comparison and to talk about this possibility as
20           MR. FINCH: Report.                                 20   generating a hypothesis that should now be tested with
21           MS. HARDING: Report, I'm sorry; thank you.         21   analytical epidemiology; correct?
22    Q (By Ms. Harding) Exhibit -- it's the May                22       A Right.
23 report, Exhibit 5. Oh, I'm sorry, this is your report;       23       Q The -- we marked earlier Exhibit 1, I think, is
24 I apologize. This is your report. You have some -- so        24   the new data from -- or I'm not sure how new it
25 this is Exhibit 2.                                           25   is -- but data that you just provided from NIOSH, CDC

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 1         So on page 19 of your report, you talk about        1 National Institute Occupational Safety and Health,
 2   some comparisons and line of reasoning and kinds of       2 Work-Related Lung Diseases (WoRLD) Surveillance System
 3   conclusions -- well, let me start with comparisons.       3 Asbestosis: Mortality; is that right?
 4         I think you've already testified, I just want       4    A That's right.
 5   to make sure that it's true with respect to the kinds of  5    Q And it looks like the -- underneath
 6   things that you say on page 19, that any comparisons      6 Work-Related Lung Disease (WoRLD) Surveillance System,
 7   that you make, based upon the data or the analysis of     7 it says -- it looks like -- did it come from a website;
 8   Dr. Whitehouse in his CARD Mortality Study, are intended  8 do you know?
 9   to be hypothesis generating comparisons; correct?         9    A Actually, Jon found it and I did not find it,
10      A Right.                                              10 so I'm not sure where it was from.
11             MR. HEBERLING: Objection; confusing and 11           Q Okay. It looks like it says "Asbestosis and
12   overbroad as to all the comparisons on page 19.          12 Related Exposures 2007 TO 1-10." Do you see that in
13      Q (By Ms. Harding) Okay. Well, to start with, 13 kind of a --
14   with respect to the comparison of the CARD Mortality 14        A I actually don't have it.
15   Study to the Markowitz and the Selikoff and Seidman 15         Q I think it's in the very bottom.
16   study, I think you already testified that comparisons 16       A Is it?
17   between CARD Mortality Study and those studies are for 17      Q Or maybe not. Maybe -- did we ever give you
18   the purpose of generating hypothesis --                  18 one?
19      A Yes.                                                19    A I don't think I got one.
20      Q -- to be later tested by analytical                 20           MS. HARDING: You might have the original,
21   epidemiological studies; correct?                        21 Jon. Do you need a copy back?
22      A Yes.                                                22           MR. HEBERLING: No.
23      Q Okay. And the same could be said with respect 23          Q (By Ms. Harding) Do you know if this data was
24   to the middle paragraph, here, when you talk about 24 generated in 2007 and reported -- first reported in
25   conclusions about the entire cohort of Libby; correct? 25 2007?


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 1    A I don't know.                                          1 asbestosis; is that right?
 2    Q Don't know; okay. But if you just turn to the          2     A Yeah, that's right.
 3 page of the data, it's got six columns; is that right?      3     Q And the fourth is Mobile County, Alabama with
 4    A I have -- yes, there are six.                          4 137 cases of asbestosis. And then, looks like the
 5    Q County is the first column, State is the second        5 fifth, I think, is Kitsap County, Washington with 107
 6 column.                                                     6 cases. Do you see that?
 7    A Right.                                                 7     A Uh-huh; yes.
 8    Q Okay; Age-Adjusted Rate, Crude Rate, Number of         8     Q Now, in this case in which you've been asked to
 9 Deaths, and Percent Female; is that right?                  9 testify on behalf of the Libby Claimants, you are
10    A Right.                                                10 not -- or haven't been asked, I don't think -- you can
11    Q Okay. What I wanted to ask you is, there is a         11 correct me if I'm wrong -- to testify about the number
12 difference between the rate of disease in a population     12 of claims that will be presented to a hypothetical trust
13 and the number of cases of disease in a population;        13 if Grace emerges from bankruptcy; is that correct?
14 correct?                                                   14     A I have not had that discussion with anybody.
15    A Right.                                                15     Q Okay. And the fact that Lincoln County has the
16    Q And just -- it's also true that a particular          16 highest rate of asbestosis does not necessarily mean
17 geographical location may have the highest rate of         17 that Lincoln County will present to the trust, after
18 disease, but that same geographic location may not have    18 it's formed if it's formed, the highest number of cases;
19 the highest number of cases of disease; correct?           19 correct? You don't know the answer to that; correct?
20    A That's correct.                                       20     A I don't, no.
21    Q Okay. And, indeed, that's the case on this            21     Q Okay. And it's -- well, that's fine. And you
22 chart here; right? It lists Lincoln County as having       22 aren't going to be presenting any testimony on that
23 the highest rate of disease --                             23 issue; correct?
24    A Right.                                                24            MR. HEBERLING: Objection; unclear as to
25    Q -- for asbestosis; is that right?                     25 what issue?


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 1    A That's right.                                          1     Q (By Ms. Harding) Okay; on the issue of how
 2    Q Okay. And -- but in terms of the numbers of            2   many cases from any particular jurisdiction and eventual
 3 cases of asbestosis in a given county, it's not the         3   trust will be presented with from any particular county.
 4 highest; correct?                                           4      A Yeah, I wouldn't be addressing that.
 5    A That's correct.                                        5      Q Okay.
 6    Q Indeed, it's -- I can't tell exactly where. It         6         The next thing I wanted to ask about is there
 7 may be somewhere in the middle?                             7   are a number of -- there's a place in Dr. Whitehouse's
 8    A Yeah, that sounds fair.                                8   report where he calculates a rate of mesothelioma in
 9    Q Okay. It's got 44 cases of asbestosis listed           9   Libby. Do you recall that?
10 in number of deaths; is that correct?                      10      A Uh-huh.
11    A That's right.                                         11      Q And there's also a place where he calculates a
12    Q And the highest number of cases of disease in         12   rate of asbestosis in Libby.
13 any county is Camden County, New Jersey; correct?          13      A Right.
14    A That's right.                                         14      Q Okay. Now, if you're going to calculate a rate
15    Q And that's 152 cases.                                 15   of disease in a given geographic location, it is
16    A That's right.                                         16   Epidemiology 101 that your denominator must be the
17    Q And then the second highest, looks like it's          17   population that gives rise to your numerator of cases;
18 Mobile County, Alabama with -- oh, no, that's not right;   18   is that right?
19 I'm sorry. The second highest would be Jefferson           19      A It can be done that way. I mean, it's usually
20 County, Texas.                                             20   done that way, but you can also crank rates the same way
21    A Texas, yeah.                                          21   that Whitehouse did which is basically it's a rate
22    Q With 151 cases.                                       22   within his own case series. There's nothing wrong with
23    A Right.                                                23   doing that. But it's not -- normally, you're going to
24    Q Okay; of asbestosis. The third highest is             24   work the way you suggested.
25 Somerset County, New Jersey with 143 cases of              25     Q Okay. But just to be clear, the rates that he

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 1 did within his population relate to the rates within his    1     A I believe so.
 2 population.                                                 2            MS. HARDING: Okay. I'm just going to show
 3    A Right.                                                 3 you -- let's mark this. What's next?
 4    Q Meaning his patients.                                  4        (Deposition Exhibit No. 15 marked for
 5    A His patients. It's within his case series,             5 identification.)
 6 yeah.                                                       6     Q (By Ms. Harding) I'm showing you what's been
 7    Q And it's not a rate of disease in a given              7 marked as Exhibit 15 which is a complaint involving
 8 geographic location; correct?                               8 Pederson. Have you seen a copy of that before?
 9    A Correct.                                               9     A No, I have not.
10          MS. HARDING: Okay. And there's -- could           10     Q Okay. I'm not going to spend a lot of time on
11 we mark this list as Exhibit 14.                           11 it, but you'll see in the caption it says "Andrine Mary
12       (Deposition Exhibit No. 14 marked for                12 Jane Pederson, Individually and as Personal
13 identification.)                                           13 Representative of the Estate of Arnold M. Pederson."
14    Q (By Ms. Harding) What's been marked as                14 And could you look on Exhibit 14. I think it's the
15 Exhibit Number 14 is a list of -- well, the title is       15 number 24th person on the list.
16 Mesothelioma Cases With Exposure to Libby Asbestos as a    16     A Twenty-three.
17 Significant Factor. And this is a list of cases that       17     Q Twenty-three, as Arnold M. Pederson.
18 was attached to Dr. Whitehouse's expert report, both in    18     A Arnold, yeah.
19 December and in May; correct?                              19     Q And I know that you don't have any way of
20    A Uh-huh.                                               20 knowing whether those two people are the same or not;
21    Q Okay. And Exhibit 14, when it says                    21 correct?
22 mesothelioma -- the title, "Mesothelioma Cases With        22     A You're right, I don't.
23 Exposure to Libby Asbestos as a Significant Factor,"       23     Q Would you see in -- do you see in this caption
24 what was the test that Dr. Whitehouse used for             24 a list of companies that have historically been
25 determining whether Libby asbestos was a significant       25 Defendants in some asbestos litigation; Saberhagen


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 1   factor? What does that mean to you? Have you talked to    1   Holdings, Inc., as successor to Tacoma Asbestos Company,
 2   Dr. Whitehouse about that?                                2   The Brower Company, Bartels Asbestos Settlement Trust,
 3     A No, I haven't.                                        3   General Refractories Company, Georgia-Pacific
 4     Q What did you take it to mean?                         4   Corporation. It goes on and on and on --
 5     A What I took it to mean was that he had -- these       5      A Right.
 6   were cases that he had worked up clinically and had       6      Q -- as reflected in the caption.
 7   excluded other causes of meso and had decided that these 7       A Right.
 8   were caused by exposure to Libby asbestos, in his         8      Q Were you aware that there were people on this
 9   clinical opinion.                                         9   mesothelioma list who had, at least in their own right,
10      Q Okay. And were you provided with any                10   alleged significant exposure to other asbestos in the
11   information by the Libby Claimants or Dr. Whitehouse 11       development of their mesothelioma?
12   that would tend to suggest that -- that at least some of 12      A No, I was not aware of that.
13   the cases on this list that the -- Libby asbestos was    13      Q If that were the case, would that change your
14   not a significant factor in the development of the       14   opinion that the list of mesotheliomas in Exhibit 14
15   mesothelioma?                                            15   only included people where other significant asbestos
16      A There was -- I mean, there were a few times         16   exposures had been excluded from the possible etiology
17   when he went back into this list and decided that        17   of their disease?
18   somebody had been misclassified. I saw a little bit of 18               MR. HEBERLING: Objection; misstates the
19   written material about that, where he excluded -- took 19     exhibit.
20   somebody off a list; No, this is a mistake or something 20       Q (By Ms. Harding) You can answer if you
21   like that. A couple of those happened.                   21   understand.
22      Q In a -- in former versions of the list; right?      22      A It would probably change my opinion that it's a
23      A Yeah, right.                                        23   clean list.
24      Q But the current version of the list is the one      24      Q Now, I know that there are -- Dr. Whitehouse
25   that he's relying on in the case; correct?               25   attempts to make some statements about rates of

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 1 mesothelioma in using this Exhibit 14, this list of           1      A I think I said earlier that I believe that some
 2 mesotheliomas; is that correct?                               2   of them were not his patients. It would not change my
 3    A Yes, that is true.                                       3   opinion of the overall thrust of this.
 4    Q Okay. If you're going to even attempt to make            4      Q Okay. Because they're not -- some of the
 5 such a calculation, in the numerator is going to be this      5   people on this list, I believe Dr. Whitehouse has
 6 list of cases.                                                6   admitted in several different places, are not
 7    A Uh-huh.                                                  7   individuals that he's seen in his practice and diagnosed
 8    Q Okay. What should the -- well, let me ask you            8   in his practice, and they aren't part of his population.
 9 this. Do you understand that this list of cases in            9      A Right.
10 Exhibit 14 are all cases that were -- I think you            10      Q Okay. So as I understand what Dr. Whitehouse
11 already testified that he -- that he -- did they all         11   did, with the assistance of Dr. Black and Mr. Heberling
12 develop in Libby?                                            12   and his colleagues, was that they attempted to gather as
13    A I believe there were some that developed                13   many cases as they could from around the country of
14 elsewhere. But the common thread, supposedly, is that        14   people who had some connection -- who had mesothelioma
15 they had some kind of significant interaction with the       15   and had some connection to Libby. Is that -- do
16 Libby environment at some time during their lives.           16   you -- is that -- do you agree with that description?
17    Q Okay. So that, for instance, on the list                17     A I wasn't really involved with what was
18 includes somebody that vacationed in Libby in the            18   happening, and so I don't really know where they all
19 summers; correct?                                            19   came from or how they were attempting to identify them.
20    A Right; Arnold Pederson, correct.                        20   But they do have folks who are living -- who lived
21    Q But they lived in other places.                         21   elsewhere, you know. So I imagine they tried to be as
22    A Right.                                                  22   thorough as they could.
23    Q And worked in other places.                             23      Q Right; and I'm not suggesting that they didn't.
24    A Right, yeah.                                            24   I think what I'm trying to get an understanding
25    Q And there are people who didn't ever live in            25   of -- and I'm not really even -- I'm not really trying

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 1   Libby. They lived outside of Libby, but they had some       1   to talk about what the actual rate of mesothelioma and
 2   connection to Libby; correct?                               2   Libby might be. It seems to me that that's something
 3      A Right; correct.                                        3   that's ascertainable. You get the ICD-9 codes for
 4      Q And there are people that lived in Libby for           4   mesothelioma in Libby, and you get the population of
 5   short periods of time and then lived in other places for    5   Libby, and you obtain a rate. That's very standard
 6   most of their lives; correct?                               6   descriptive epidemiological practice; correct?
 7      A Correct.                                               7      A Right.
 8      Q Okay. And if the numerator includes this list          8      Q That's not what they're doing here; correct?
 9   of 34 people, then the denominator has to include the       9      A It's not. Because what they're trying to do
10   population of people from which the numerator came;        10   here, really, is to do a very complete case finding or
11   correct?                                                   11   case ascertainment; okay? When you do that, you can
12      A Ideally. But really, remember, what he's              12   introduce sources of bias into the project.
13   really kind of doing is a proportionate mortality ratio    13   Epidemiologists often talk about a misclassification
14   out of his case series, you know. That's what he's         14   bias where you are -- where you have misclassified
15   coming up with. As he's -- he doesn't have the             15   someone as a case or a control and it has impact on what
16   classical numerator/denominator for what he's doing;       16   your bottom line rates are. And that can happen.
17   okay?                                                      17      Q Okay. It would be -- let's just start -- let's
18      Q Okay.                                                 18   just maybe make it easier.
19      A He -- his denominator is basically everybody          19          It would be improper to use this list of 34
20   who came in, and then he has a numerator of the folks      20   cases of mesothelioma as a numerator and as the
21   who are dead.                                              21   denominator only use the population of Lincoln County;
22      Q Okay. Do you -- would it change your opinion          22   correct? That would be improper.
23   on that, if you were to understand that at least           23      A That would be.
24   several, and possibly many, individuals on this list       24      Q Okay. And so that the -- what you would need
25   were not patients of Dr. Whitehouse?                       25   to do to be more rigorous, from a scientific perspective


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 1   in doing this descriptive and most descriptive           1 study they'll calculate associations, like you said, for
 2   epidemiological exercise, would be to attempt, at least, 2 the purpose of generating hypotheses.
 3   to include in a denominator the populations from which   3    A Sometimes they'll do -- yeah, they'll do an
 4   these other cases came in some way or another; correct?  4 observed expected ratio; sure. But in this case, they
 5      A Um--                                                5 did not.
 6      Q Or the number of years that the person lived in     6    Q And also in this case series, again, the
 7   the other populations?                                   7 mesotheliomas are not all from -- purely from Libby
 8      A What's fair. Yeah, I mean, ideally you could        8 residents or Lincoln County residents; correct? If you
 9   think of it that way. I think, though, that the idea of  9 look at chart number -- actually, I think you have to
10   including, you know, a denominator from Omaha, Nebraska 10 look at the description of the cases to see that on page
11   into the -- adding that into the denominator from Libby 11 three.
12   for somebody who had moved out of Libby and lived in 12       A Oh, where they do case one, case two?
13   Omaha, I'm not sure if that would be the                13    Q Right.
14   appropriate -- the appropriate resolution.              14    A Yeah, yes.
15      Q I don't think I'm -- I'm not suggesting that       15    Q Again, there are people that had a connection
16   you would include the entire population of Omaha in 16 to Libby at sometime.
17   doing that.                                             17    A Somebody lived in eastern Washington but
18      A Yeah.                                              18 vacationed in Libby nearly every summer in the '60s,
19      Q I'm just saying that you have to account for       19 yeah.
20   the fact that in the numerator, he's including people 20      Q Right.
21   that have lived and worked in many other locations. 21        A Those kind of cases, that's what you're
22             MR. HEBERLING: Objection; misstates the 22 referring to.
23   record and the report.                                  23    Q Right. And was it your understanding, with
24             MS. HARDING: I don't think it does, but 24 respect to the mesothelioma study on Exhibit 6, that
25   you can answer that.                                    25 Dr. Whitehouse had excluded other potential significant


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 1           MR. HEBERLING: Well, where did he use 31            1   causes of mesothelioma in listing those cases?
 2 as the numerator?                                             2      A I assume he had.
 3           MS. HARDING: You're saying that he hasn't           3      Q If Mr. Pederson that had the complaint alleging
 4 used this number to attempt to calculate the                  4   all the other occupational exposure to asbestos were
 5 mesothelioma rates?                                           5   included in the Libby mesothelioma study in Exhibit 6,
 6           MR. HEBERLING: That's right. He used                6   that would suggest, again, that Dr. Whitehouse had not
 7 portions of it based upon residents at death and so           7   excluded other potential significant causes of asbestos;
 8 forth, but he didn't use the whole 34 or 31 on the list.      8   correct?
 9    Q (By Ms. Harding) Okay. Well in any event,                9      A It's possible, yeah.
10 regardless of -- I'm talking, generally speaking, it is      10      Q And the same discussion we just had about
11 improper to calculate a rate where the denominator is        11   the -- how it's the appropriate way to calculate a rate
12 not the population that gave rise to the numerator.          12   of disease in a geographic location would be equally
13    A In general, yeah.                                       13   applicable to the Whitehouse mesothelioma study too;
14    Q Very briefly, I think we spoke about it in the          14   correct?
15 very beginning, the environmental exposure to Libby          15      A Right.
16 asbestos and mesotheliomas, Dr. Whitehouse's -- what         16      Q Such that if you were going to attempt to
17 exhibit is that -- Exhibit Number 6. You said earlier        17   calculate a rate of mesothelioma in Lincoln County using
18 that was a descriptive study not capable of testing          18   his eleven cases in his Exhibit 6, you would somehow
19 causal hypotheses; correct?                                  19   have to account for the amount of time that the
20    A That's how I would categorize it, yes.                  20   individuals in the numerator had spent outside of Libby,
21    Q Okay. Indeed, in that study in Exhibit 6,               21   correct, to the extent that it was significant.
22 there aren't even associations calculated; correct?          22      A Yeah, I mean, to the extent that it's
23    A I think it was so totally descriptive, yeah;            23   significant. I mean, you're -- it's very hard when
24 right.                                                       24   you're doing these kinds of studies, because people move
25    Q Right. I mean, sometimes in a descriptive               25   around and then you have to decide how to count them.


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 1   And some epidemiology organizations have very            1 Mortality Study?
 2   sophisticated approaches to dealing with migration, and  2    A Uh-huh.
 3   others don't have the ability to do it. And so you end   3           MS. HARDING: Could we take a look at that
 4   up with papers like that where there isn't a systematic  4 scientific method chart that we talked about earlier? I
 5   approach to dealing with in-and-out migration.           5 think it was Exhibit --
 6       Q Okay. But it's fair to say that, just looking      6           MR. BLOOM: The one we marked?
 7   at the descriptions themselves of the cases, that for    7           MS. HARDING: The one we marked; right.
 8   several of the cases it's more than just kind of a       8           MS. BLOOM: Exhibit 10.
 9   little bit of migration in and out. I mean, we've got    9           MS. HARDING: Exhibit 10.
10   somebody that just vacationed there and lived for most 10     Q (By Ms. Harding) As I understand the ATSDR
11   of their life somewhere else.                           11 Mortality Study, it's intended to be an analytic
12       A Uh-huh.                                           12 epidemiologic study designed to test causal hypotheses;
13       Q We have -- I highlighted it somewhere else,       13 is that correct?
14   sorry -- folks that lived a hundred miles from Libby; a 14    A I would need to look at that, if I could.
15   patient that lived in eastern Washington. Well, that's 15        (Deposition Exhibit No. 16 marked for
16   that man. We have somebody who lived in Libby for ten 16 identification.)
17   years who was eighty-two, so clearly had lived for      17    Q (By Ms. Harding) Let me switch with you
18   seventy-two years somewhere else.                       18 because that way you've got the one that has the exhibit
19       A Right.                                            19 number on it.
20       Q So it's not just a matter of migrating in and     20    A Okay. Yeah, okay. And your question was
21   out. It's a fairly significant issue for these eleven   21 whether or not I considered it an analytic -- yeah, I
22   cases, that you would have to somehow figure out how to 22 would consider this analytical, I guess.
23   account for that, correct, if you were trying to        23    Q Okay. I think my question was it was analytic
24   calculate a rate?                                       24 epidemiological study intended to test causal
25       A Well, if I was doing it, I would probably         25 hypotheses.


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 1   calculate the rate both ways. You know, there are eight      1      A I would say it is. It starts out as a fairly
 2   of these that appear to be solid. And I would do my          2   descriptive mortality study, but then they do a whole
 3   rates with the eight, and then do it with the eleven,        3   lot of -- of standard mortality ratios on a lot of
 4   and then write up the reasoning for two different types      4   different dimensions, so that you're kind of moving into
 5   of rates.                                                    5   a situation where initially the study is descriptive,
 6      Q Okay. Do you have any knowledge of how the              6   but there's so much inferential work done here that you
 7   exposure information was gathered for the cases that         7   could think of it as an analytic effort.
 8   appear in Dr. Whitehouse's mesothelioma study in Exhibit     8      Q And the principal reason -- well, I may be
 9   6?                                                           9   overstating that, but at least one of the reasons why
10        A I assume that -- I have assumed that he              10   that's true is because they use controls to calculate
11   collected information on occupational history as part of    11   and identify SMRs, correct, the Standard Mortality
12   the clinical workup.                                        12   Ratios?
13      Q Do you have any knowledge of the number of             13      A I'm not sure if -- it's not controlled so much
14   cases in the Whitehouse mesothelioma study for whom the     14   as they did the -- they observed to expected comparison.
15   exposure information was gathered by and provided to        15   The question is where their expected rates come from.
16   Dr. Whitehouse by Mr. Heberling or his colleagues at his    16      Q I think if you look on page -- I've seen that
17   law firm?                                                   17   before -- page four, I think, at least for some.
18      A No.                                                    18   Disease-Specific SMRs. Is that --
19      Q Have you ever been involved in any                     19      A Yeah, that's where I'm looking. Yeah, compared
20   epidemiological studies that were published in peer         20   to state and national rates. So it appears that what
21   reviewed literature where the exposure information that     21   they did is they got state and national rates for the
22   you relied upon in the study was gathered by attorneys      22   disease and then made their comparisons. And that was
23   that were claimants for individuals in the case?            23   their comparison population was the state or the nation.
24      A Not that I can think of.                               24   And that allowed them to calculate these SMRs.
25      Q Dr. Molgaard, you mentioned earlier the ATSDR          25     Q Okay. And by doing that -- and that is what

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 1   makes it into an analytic epidemiological -- designed,      1 for these diseases in the published literature?
 2   at least, to attempt to --                                  2    A For Libby or just in general?
 3      A They're attempting to bridge it into -- from           3    Q I'm sorry; for Libby, for Lincoln County.
 4   descriptive to an analytical effort, yeah.                  4    A No, I think this is, by and large, the one that
 5      Q You had mentioned earlier that you would -- I          5 has it like this.
 6   think I asked you if you were trying to understand the      6    Q Okay. And so is it fair to say that this is
 7   rate of disease in the Libby population, this would be      7 the best analytic epidemiological evidence on the rates
 8   one of the studies you would look at; correct?              8 of disease in Lincoln County for the period 1979 to
 9      A Uh-huh, yeah.                                          9 1988 -- 1998?
10      Q Along with the work by Dr. Amandus and NIOSH          10    A I would say it's certainly one of the stronger
11   and their studies in the '80s, Dr. Sullivan's follow-up    11 ones; okay? I don't know if it's the best, but it's
12   of that work, and the McDonald studies, both in the '80s   12 certainly one of the better ones.
13   and the follow-up in 2004; right?                          13    Q Okay. What -- if there are -- there aren't
14      A Right.                                                14 any -- would you agree with me that there
15      Q Okay. The -- if you turn to page 25 of the            15 aren't -- well, there certainly are rates of disease in
16   document, table 7 -- you know, actually, before --         16 the workers that are published in other places --
17              MR. HEBERLING: Got an extra over there?         17    A Right.
18   That's all right; I've got one.                            18    Q -- that are analytic epidemiology.
19      Q (By Ms. Harding) You had a criticism of               19    A Right.
20   Dr. Moolgavkar. I think Dr. Moolgavkar had a criticism     20    Q Okay. Are there any other published analytic
21   of the study, and you had a criticism of his criticism.    21 epidemiologic studies designed to be able to test causal
22   And it related to whether the additional lung cancers      22 hypotheses about disease rates in Lincoln County that
23   that they added to the observed cases in this study was    23 you're aware of?
24   appropriate or not; correct?                               24    A Um --
25      A Uh-huh.                                               25    Q Not just of workers.

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 1       Q Okay. And Dr. Moolgavkar thought that it was          1      A But in general, in the general population?
 2   not appropriate, and you thought that it was okay to do     2      Q In the general population in Lincoln County.
 3   it; correct?                                                3             MR. HEBERLING: Objection; unclear as to
 4       A Yeah.                                                 4   time.
 5       Q Leaving that aside, just looking at table 7,          5             MS. HARDING: I think I said from 1979 to
 6   for Combined Respiratory Mortality in Lincoln County --     6   1998.
 7       A Right.                                                7             THE WITNESS: I think -- this is the one I
 8       Q -- Using the Montana and US Population                8   guess I know of.
 9   References, 1979 to 1998 --                                 9      Q (By Ms. Harding) Okay. Are there any others
10       A Uh-huh.                                              10   that I should look to or be aware of? I'm just not
11       Q -- would you agree that this provides the rate       11   aware of any others. I just want to make sure we're not
12   of disease in Lincoln County during -- for these           12   missing something.
13   diseases, during the period of time described, 1979 to     13     A I think not.
14   1998?                                                      14     Q Would you agree that in table 8, when the ATSDR
15       A Yeah, I would assume that's true.                    15   authors exclude the workers from the Libby mine from the
16       Q Okay. And as far as you know -- well, let me         16   analysis, that the statistical -- that the statistical
17   ask the next question. In table 8, would you agree that    17   significance of the relationships reported disappears in
18   it is the rate of disease for the diseases listed in       18   all categories in table 8?
19   table 8 in Lincoln County, from 1979 to 1998, excluding    19      A Disappears, but it's very close in a couple of
20   cases that had worked formerly for W.R. Grace at the       20   places. But it is not apparent in table 8.
21   mine?                                                      21      Q Okay.
22       A That appears to be what it is, yeah.                 22         Dr. Molgaard, I was going to ask you a bunch of
23       Q Okay. And to your -- in your opinion, are you        23   questions about Dr. Whitehouse's impression study, but
24   aware of any other analytic epidemiological study that's   24   because my colleague here needs to go ask questions
25   been published that provides this kind of information      25   next, I do just want to confirm that the Whitehouse

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 1   progression study, which we marked as Exhibit 7, is a       1    A Yeah, it's fair.
 2   descriptive study that's not designed to test               2           MS. HARDING: Nate, I'm sorry for taking so
 3   hypotheses; right? We already talked about that.            3 long.
 4      A Right.                                                 4           MR. FINCH: Why don't we take a five-minute
 5      Q Okay. And you and the experts that prepared            5 break.
 6   reports for Grace had some disagreements about some of      6           VIDEO TECHNICIAN: Off the record, the time
 7   the techniques that were used by Dr. Whitehouse in that     7 is 2:01.
 8   paper; correct?                                             8       (Deposition in recess from 2:01 p.m. to
 9      A Yeah.                                                  9 2:05 p.m.)
10      Q Okay. But the -- the -- you don't disagree            10           VIDEO TECHNICIAN: We're on the record.
11   with the Grace -- any of the Grace experts that have       11 The time is 2:05.
12   reviewed the study that it is not an analytic study        12                 EXAMINATION
13   intended to test causal hypotheses. It's not designed      13 BY MR. FINCH:
14   to do that; correct?                                       14    Q Dr. Molgaard, my name is Nathan Finch. I
15      A It's a descriptive study, yes, with                   15 represent the Official Committee of Asbestos Personal
16   what -- descriptive epidemiology as defined by Last in     16 Injury Claimants in the Grace bankruptcy.
17   spite of me.                                               17       Would you agree with me that a descriptive
18      Q The only other -- you had mentioned                   18 epidemiological study does not test any kind of a
19   that -- actually, it doesn't matter.                       19 hypothesis, not just causal hypotheses?
20          And then the same -- I just have the same           20    A No, I don't think I would agree with that.
21   question with respect to the Peipins study which is        21    Q Well, what do you mean by "causal hypotheses"?
22   Exhibit 8. Again, there was some disagreement amongst      22    A I mean, if you have a specific agent that you
23   you and some of the Grace experts about -- I can't         23 think is causing a specific disease, okay, but you can
24   remember, but some points about Peipins. But you agree     24 use descriptive studies to test other things, like are
25   that it is a descriptive study not designed to test        25 the rates for breast cancer in Iowa higher than they are


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 1   causal hypotheses; correct?                                 1   elsewhere in the United States? It's a research
 2     A To me, it's a classic example of a                      2   question. It is a hypothesis, but it's not an
 3   population-based descriptive epidemiology study.            3   etiological hypothesis, per se.
 4     Q Okay. And the associations that are                     4      Q It's not -- it's not an analytical
 5   reported -- well, it's kind of interesting. The             5   epidemiological study that would allow you to say that
 6   associations that are reported in the study are exactly     6   exposure to a particular type of asbestos is more likely
 7   what you were talking about at the beginning of the day.    7   to cause an asbestos-related disease than exposure to a
 8   They are designed to, if you find an association there,     8   different type of asbestos; right?
 9   to say Okay, let's go -- let's go find out what's really    9      A Right. And part of the distinction is that
10   going on and do a proper epidemiological study and test    10   when you get into the analytical types of studies,
11   whether the association is causal; correct?                11   usually there will be some explication of biological
12       A Not so much a proper epidemiological study as        12   process or plausibility; okay? So exposure to this kind
13   one that's more sophisticated.                             13   of an agent causes these sorts of things to happen
14       Q Yes; an analytic study designed to test the          14   biologically and results in this kind of a disease.
15   hypothesis that the association is actually causal as      15   Descriptive studies don't usually do that.
16   opposed to just there by chance.                           16      Q You are not a medical doctor; correct?
17       A Right.                                               17      A Correct.
18       Q Okay. In epidemiological studies where               18      Q You're not an expert on pulmonology?
19   the -- in descriptive studies, like the ones we've been    19      A No.
20   talking about today where they look for associations,      20      Q You're not board certified in either internal
21   where they don't find associations in the study, I guess   21   or occupational medicine?
22   that is something that if you don't find an association,   22      A Correct.
23   you typically don't follow up and try to test whether      23      Q You have, I counted, 150-some-odd publications
24   it's causal or not because it's not there. Is              24   listed on your CV.
25   that -- I'm just trying to -- is that fair?                25      A Correct.

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 1      Q Is that correct?                                     1   there was differences in potency between different types
 2      A Yeah.                                                2   of asbestos?
 3      Q Not a single one of them relates to                  3      A I don't remember that discussion. But if you
 4   asbestos-related disease?                                 4   say it was in there, it's in there, I'm sure.
 5      A Actually, there are -- there is one that             5      Q You certainly haven't reviewed all of the
 6   relates to asbestos-related disease, but it may not be    6   analytical epidemiology literature that exists out there
 7   on that copy of the CV that you've got.                   7   in the world about asbestos disease; correct?
 8      Q Okay. Have you ever published an article on          8      A Right.
 9   the epidemiology of asbestos-related disease in a peer    9      Q As part of your work in this case, you have not
10   review refereed journal?                                 10   attempted to analyze whether amphibole asbestos is more
11      A Yes.                                                11   likely to cause mesothelioma than chrysotile asbestos;
12      Q What was the title of the article and what was      12   correct?
13   it about?                                                13      A Correct.
14      A After 150, it gets hard to remember titles          14      Q The -- would you agree with me that nothing
15   exactly. But it's like it was a comparison of the        15   that Dr. Whitehouse has done can stand up, as a matter
16   experience in Minamata Bay, Japan where they had a very 16    of analytic epidemiology, or support the hypothesis that
17   bad outbreak of mercury poisoning with the experience in 17   Libby asbestos is more likely to cause mesothelioma than
18   Libby, Montana, in terms of the asbestos problems; okay? 18   chrysotile asbestos?
19   And basically what I was doing -- it was a journal       19            MR. HEBERLING: Objection; compound.
20   that -- it was a sustainability journal. It's an         20            THE WITNESS: In the sense that his studies
21   environmental health kind of journal. And basically 21        are descriptive, they are not making -- they're not
22   what I was doing there was just trying to say Here you 22     supporting one or another etiological position.
23   have this pattern in this population. How did the        23      Q (By Mr. Finch) In order to know whether Libby
24   community respond to it in Japan? How did the community 24    amphibole asbestos is more likely to cause mesothelioma
25   respond to it in Libby? Are there any parallels? And 25       than chrysotile asbestos on a fiber-for-fiber basis,

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 1 that was the thrust of the paper.                           1   you'd have to have accurate exposure data for the
 2    Q Okay; but it wasn't an analytic study where            2   cohorts; correct?
 3 you're trying to assess causation of asbestos-related       3      A You could -- there are a couple of ways you
 4 disease; correct?                                           4   could do it. One would be that way. The other way
 5    A No, no.                                                5   would be to look at -- to do basically what NIOSH did
 6    Q You weren't trying to compare the rate of              6   recently where they were looking at that document 1 I
 7 asbestos disease seen in a Libby cohort compared to the     7   think we looked at, where they were really
 8 rate of asbestos disease existing anywhere else;            8   making -- setting up a situation where you could do
 9 correct?                                                    9   ecological comparisons between different counties in the
10    A No. I was really looking at a community               10   United States. And the assumption there is that the
11 response to environmental perturbations.                   11   counties that have high rates, not numbers but rates,
12    Q Okay.                                                 12   are the ones that have some issues around asbestos,
13       Are you familiar with the Environmental              13   et cetera.
14 Protection Agency Science Advisory Board process?          14      Q But this Exhibit 1, this CDC NIOSH data, is
15    A Just in general.                                      15   descriptive epidemiology. It doesn't analyze whether or
16    Q What is your general understanding of that?           16   not -- it doesn't say anything at all about fiber type;
17    A That it exists and there is a process. That's         17   correct?
18 about it.                                                  18      A Correct.
19    Q I believe you testified that you read                 19      Q And it doesn't analyze whether or not exposure
20 Dr. Frank's deposition in preparation for your             20   to amphibole asbestos is more likely to cause
21 deposition today.                                          21   mesothelioma than exposure to chrysotile asbestos;
22    A Yeah.                                                 22   correct?
23    Q Did you recall the discussion with him about          23      A Correct.
24 the EPA Science Advisory Board process last summer where   24      Q There's no data at all in here about whether
25 the question that they were asked to analyze was whether   25   people in Camden County or Sagadahoc County, Maine are


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 1   exposed to chrysotile asbestos, amphibole asbestos or     1 have an Exhibit 15 in this stack.
 2   Libby asbestos; right?                                    2          MS. HARDING: Did I take it back? I'll
 3     A Yeah. And the assumption would be that you            3 find it.
 4   would have some extra information that you would know     4          THE WITNESS: Okay.
 5   that, for example, in Libby that there is this kind of a 5           MR. HEBERLING: What's the number on the
 6   fiber and elsewhere there's some other kind of a fiber.   6 new one?
 7   And then you could say Well, in general, ecologically,    7          MR. FINCH: 17 and 18.
 8   we can make this comparison. Ecological studies are not   8          THE WITNESS: 17 and 18.
 9   considered a tremendously strong research design, but     9          MR. HEBERLING: I have one exhibit here. I
10   you could make a comparison like that.                   10 have the EPA November 14th.
11          It would be difficult -- I would not argue that 11            MR. FINCH: Yep, here it is; 17.
12   it was especially analytic to do that, but you could     12    Q (By Mr. Finch) Exhibit 18 is the report from
13   look at a table like that and make some hypotheses. 13 the Science Advisory Board to the EPA. Do you see that,
14      Q You could make some hypotheses, but you             14 sir?
15   certainly couldn't prove that hypothesis to a table like 15    A Yes, sir.
16   what's in Exhibit 1; correct?                            16    Q And if you look to the third page of the
17      A Correct.                                            17 document that begins Enclosure 1, that lists the members
18      Q You would not testify, to a reasonable degree 18 of the Science Advisory Board Asbestos Committee.
19   of certainty as an epidemiologist, that exposure to      19    A Okay.
20   Libby asbestos is more likely to cause mesothelioma than 20    Q Do you see that?
21   exposure to chrysotile asbestos.                         21    A Yep.
22      A Probably would not.                                 22    Q And you see that you have toxicologists -- a
23      Q You haven't done the work to make that              23 toxicologist on that list?
24   assessment; correct?                                     24    A Uh-huh.
25      A That's correct.                                     25    Q You have a couple of epidemiologists on that

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 1      Q And to the extent that the EPA Science Advisory      1   list?
 2   Board, last summer, looked at every piece of analytic     2      A Uh-huh.
 3   epidemiology that existed in the world on exposure to     3      Q When say "uh-huh" you mean yes?
 4   different asbestos fiber types and concluded that it was  4      A I'm sorry; yes, I mean yes.
 5   impossible to quantify the difference between amphibole   5      Q You have medical doctors on that list?
 6   asbestos and chrysotile asbestos in causing mesothelioma 6       A Yes, you do.
 7   or lung cancer, you would not be in a position to say     7      Q You have statistics professors on that list?
 8   that they were wrong.                                     8      A Yes.
 9      A No, I would not.                                     9      Q You have industrial hygienists on that list?
10      Q Have you ever heard of Les Stayner?                 10      A Yes.
11      A No.                                                 11      Q You have someone who is a professor of soils
12      Q Ever heard of Julian Peto?                          12   who is an expert in mineralogy on that list?
13      A Yeah.                                               13      A Right.
14      Q I take it you weren't involved in the Science       14      Q In short, you have a group of people that, if
15   Advisory Board project at all.                           15   you wanted to test the hypothesis of whether or not
16      A No.                                                 16   amphibole asbestos is more likely to cause mesothelioma
17             MR. FINCH: Okay. Why don't we mark these 17         or lung cancer than is -- or other type of asbestos
18   as the next two exhibits.                                18   fibers, would have the background to make that
19         (Deposition Exhibit Nos. 17 and 18 marked for 19        assessment; correct?
20   identification.)                                         20      A They have the background to make an assessment.
21      Q (By Mr. Finch) Handing you what's been marked 21            Q Yes. And neither you nor Dr. Whitehouse has
22   as Exhibit 17 and Exhibit 18, and ask you some           22   done the type of analytical work that would be necessary
23   questions, first, about Number 18 and then we'll move 23      to make the epidemiological determination that exposure
24   back to Number 17.                                       24   to Libby asbestos is more likely to cause mesothelioma
25      A Just in terms of housekeeping, I don't seem to 25        than exposure to chrysotile asbestos.

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 1    A I could make an assessment that was                    1    Q Is the -- Dr. Whitehouse's paper on
 2 epidemiologic in nature.                                    2 mesothelioma in Libby, the 2008 paper, that's also a
 3    Q But you haven't done it; correct?                      3 case series?
 4    A I have not done it.                                    4    A Yes.
 5    Q Neither has Dr. Whitehouse; correct?                   5    Q The 2004 paper on progression of asbestos
 6    A Not to my knowledge.                                   6 disease, that's also a case series?
 7    Q Okay. And you have not made an assessment as           7    A Yes.
 8 to whether or not exposure to Libby asbestos is more        8    Q None of them are -- well, let me back up.
 9 likely to cause lung cancer than exposure to chrysotile     9       On page three of this expert report that you
10 or any other type of asbestos.                             10 signed in 2003 --
11    A Correct.                                              11    A Uh-huh.
12    Q And you can't say, as a matter of expert              12    Q -- paragraph 15, you refer to something called
13 epidemiological opinion, that exposure to Libby asbestos   13 a controlled epidemiological study.
14 is more likely to cause any asbestos-related disease       14    A Uh-huh.
15 than exposure to chrysotile asbestos; correct?             15    Q Do you see that?
16    A I have not said that.                                 16    A Yes.
17    Q You have not said that, and Dr. Whitehouse has        17    Q What is a controlled epidemiological study?
18 not said that.                                             18    A That would be one where you either have a
19    A Correct.                                              19 formal control group or you have a comparison population
20    Q And based on the work you have seen thus far in       20 of some kind where you are trying to look at the
21 the case, no one has done the analysis to be able to       21 background rate of occurrence and compare it to the rate
22 say, as a matter of epidemiology, that exposure to Libby   22 of disease in the population. So you have a bunch of
23 asbestos is more likely to produce asbestos-related        23 people who have used ephedra, for example. What's the
24 disease in humans than exposure to other types of          24 rate of disease in that group compared to the normal
25 asbestos.                                                  25 naturally-occurring rate of occurrence of the disease.


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 1      A I don't believe that exists.                         1   And then you can do the -- observe the expected thing if
 2      Q You mean you don't believe that -- nobody has        2   you're just doing comparison of populations or you can
 3   done the work to say that; correct?                       3   have a formal -- formal controlled group.
 4      A Right; yeah.                                         4      Q Okay. Would you agree with me that the work
 5      Q Now, Exhibit 17 is -- this is a document that        5   that Dr. Whitehouse has done in connection with this
 6   you signed; correct?                                      6   case, none of it is a controlled epidemiological study?
 7      A Yes.                                                 7      A Correct.
 8      Q This is an expert report that you prepared in        8      Q Okay. In paragraph 16, second sentence, you
 9   connection with evaluating whether consumption of         9   write "A proper study design must precisely define the
10   products containing ephedra is a cause of stroke?        10   hypothesis to be tested and the background rate of
11      A Yes.                                                11   disease at issue." Do you see that?
12      Q What's ephedra?                                     12      A Yep.
13      A It's a dietary supplement.                          13      Q Do you agree with that?
14      Q Okay.                                               14      A Uh-huh.
15      A An ingredient in a dietary supplement.              15      Q Is that a "yes"?
16      Q Okay.                                               16      A That is a yes.
17         You -- in one of your responses to                 17      Q All right; on the next page, there is a table
18   Mrs. Harding's questions, you described the CARD         18   Levels of Evidence and Grading of Recommendations. Oh,
19   Mortality Study as a case series?                        19   sorry, Levels of Evidence and Grading of
20      A Yes.                                                20   Recommendations. Do you see that?
21      Q Is that correct?                                    21     A Yes.
22      A Yeah.                                               22     Q The lowest level of data is data from anecdotal
23      Q You believe the CARD Mortality Study is a case      23   case series.
24   series?                                                  24     A Right.
25      A I do believe that.                                  25     Q And would you agree with me that data from a

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 1 case series cannot be used to prove hypotheses about          1   significance to whatever happened; okay? Those I do not
 2 risk of disease in a population?                              2   have faith in.
 3    A That's what John Last says. And I've agreed              3         But a case series which is a bunch of them
 4 with that multiple times today. However, the American         4   strung together through somebody's clinic, there is
 5 Heart Association table here actually is a stronger           5   something you can learn from those, I believe, because
 6 statement about the use of case series than the Last          6   it's more than one simple case.
 7 thing. I mean, they actually include it as --                 7       Q It's more than one simple case, but it
 8    Q They include it as --                                    8   is -- again, a case series is something that you use to
 9    A -- at the very bottom of the barrel.                     9   create a hypothesis, but it doesn't test the hypothesis
10           THE COURT REPORTER: Whoa; I'm sorry.               10   or confirm the hypothesis; correct?
11           MR. FINCH: Sorry.                                  11       A Correct.
12           THE WITNESS: I think they include it as            12       Q So if the hypothesis is that exposure to Libby
13 the weakest kind of evidence which is actually stronger      13   asbestos is -- strike that.
14 than what Last says, which I've agreed to 14 times           14          If the hypothesis is that if you have
15 today. So --                                                 15   asbestos -- pleural disease caused by exposure to Libby
16    Q Right.                                                  16   asbestos --
17    A So --                                                   17      A Uh-huh.
18    Q So you basically followed the Last, L-a-s-t,            18      Q -- that you have a quantifiable risk of dying
19 this guy's book --                                           19   from that disease, a case series cannot be used to make
20    A Yeah.                                                   20   a -- to prove that hypothesis.
21    Q -- that you can't make statements about the             21      A Right; correct.
22 risk of disease in a population based on a case series;      22      Q Okay. So, for example, let's talk about the
23 correct?                                                     23   definition of hypotheses and whether or not
24    A That's -- that's right.                                 24   Dr. Whitehouse's work or your work has either tested a
25    Q That's your view as an expert in the field of           25   particular hypothesis or proven a particular hypothesis.

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 1   epidemiology.                                               1   Can we do that?
 2       A That's my view.                                       2     A Sure.
 3       Q Now, paragraph 27 of the same document. You           3     Q Okay. Would you agree with me that a
 4   there Dr. Molgaard?                                         4   hypothesis is an assertion or a thought that may or may
 5       A Uh-huh.                                               5   not turn out to be true?
 6       Q Is that a "yes"?                                      6     A Yeah, I can agree with that.
 7       A Yes.                                                  7     Q Okay.
 8       Q I don't mean to keep pestering you, but it            8         One hypothesis we talked about here today is
 9   makes it easier on the record.                              9   that Libby asbestos is more likely to cause mesothelioma
10       A That's all right; I understand.                      10   than chrysotile asbestos. That's a hypothesis.
11       Q You write "Similarly, while anecdotal"               11      A Right.
12   evidence -- "adverse events reports and/or case reports    12      Q And so far, neither you nor Dr. Whitehouse has
13   may give rise to a hypothesis that must be tested, they    13   done the work to establish whether or not that assertion
14   cannot be used to quantify any possible risk or to         14   is true.
15   determine who in a population may be at risk." I take      15      A Correct.
16   it you agree with that?                                    16      Q Okay.
17       A Yes.                                                 17          Another hypothesis that -- or assertion that
18       Q So a case series cannot be used to quantify the      18   one could have is that mesothelioma caused by exposure
19   risk of disease; is that correct?                          19   to Libby asbestos is more likely to lead to death than
20       A Well, I think what I was trying to talk about        20   mesothelioma caused by exposure to some other type of
21   here was a single case report, not a case series; okay?    21   asbestos.
22   A single case report, often you'll see in the medical      22     A Yes.
23   literature someone will have a case they found that has    23     Q That's a hypothesis.
24   some obscure happening in it, and they'll write it up as   24     A Yes.
25   a case study and claim that there's probably etiological   25     Q And I don't think anybody has even asserted

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 1 that. But whether they've asserted it or not, neither       1   pleural disease than is exposure to chrysotile asbestos.
 2 you nor Dr. Whitehouse has done the work to prove the       2      A Correct.
 3 truth of that hypothesis; correct?                          3      Q And neither you nor Dr. Whitehouse, nor anybody
 4    A Correct.                                               4   else, has done the analytic epidemiological work to
 5    Q Okay.                                                  5   prove the validity of that hypothesis; correct?
 6        Another hypothesis you could have is that lung       6      A Correct.
 7 cancer caused by exposure to Libby asbestos is more         7      Q Another hypothesis that one could have -- first
 8 likely to lead to death than lung cancer caused by          8   of all, would you agree with me that if you're going to
 9 exposure to some other type of asbestos; correct?           9   talk about risk of death from a disease or severity of a
10    A Correct.                                              10   disease, it's important to distinguish between different
11    Q And neither you nor Dr. Whitehouse has done the       11   types of diseases?
12 work to prove the hypothesis that lung cancer caused by    12      A Yeah, given the state of the art at the time
13 exposure to Libby asbestos is more likely to lead to       13   that you're making the distinction.
14 death than lung cancer caused by other forms of            14      Q Okay. Let's just talk about smoking, for
15 asbestos.                                                  15   example.
16    A Correct.                                              16      A Uh-huh.
17    Q Okay.                                                 17      Q Smoking is associated with and probably causes
18        Another hypothesis you could have is that           18   a variety of different diseases; correct?
19 asbestosis caused by exposure to Libby asbestos            19      A Yes.
20 is -- strike that; let me back up.                         20      Q One of the things that smoking is well
21        Another hypothesis that one could have is that      21   established that it causes lung cancer; correct?
22 Libby asbestos is more likely to cause asbestosis than     22      A Yes.
23 exposure to a similar amount of chrysotile asbestos.       23      Q Another thing that smoking causes is emphysema;
24 That's a hypothesis one could have; correct?               24   correct?
25    A Correct.                                              25      A Yes.

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 1    Q And neither you nor Dr. Whitehouse, or any             1    Q Another thing that smoking causes is chronic
 2 other expert in this case, has done the work to prove       2 obstructive pulmonary disease; correct?
 3 that that hypothesis is true; correct?                      3    A Yes.
 4    A Correct.                                               4    Q Okay. And so if you're going to make
 5    Q Okay.                                                  5 epidemiological assertions about whether smoking is more
 6       Another -- another hypothesis that one could          6 likely to lead to death by a particular disease, would
 7 have is that asbestosis that is caused by exposure to       7 you agree with me that it's important to define and
 8 Libby asbestos is more likely to lead to death than         8 describe and differentiate between the different
 9 asbestosis caused by exposure to some other type of         9 diseases that you might be talking about; correct?
10 asbestos.                                                  10    A Yes.
11    A Correct.                                              11    Q So, for example, the risk of dying from lung
12    Q And neither you nor Dr. Whitehouse have done          12 cancer is different than the risk of dying from
13 the epidemiological or analytical work in order to prove   13 emphysema; correct?
14 that hypothesis; correct?                                  14    A Correct.
15    A Correct.                                              15    Q And the risk of dying from chronic -- COPD.
16    Q Nor has Dr. Frank; correct? Nobody in this            16 Can we just say COPD to mean chronic obstructive
17 case that you've seen has done that work.                  17 pulmonary disease?
18    A I don't believe so.                                   18    A Sure.
19    Q Okay. And that would be true of my questions          19    Q Is different than the risk of dying from either
20 about mesothelioma, my questions about lung cancer;        20 emphysema or lung cancer; correct?
21 correct?                                                   21    A Correct.
22    A Correct; yeah.                                        22    Q So it's important to distinguish between the
23    Q Okay.                                                 23 diseases that you're talking about if you're trying to
24       Another hypothesis that one could have is that       24 test or prove hypothesis about probability of death or
25 exposure to Libby asbestos is more likely to cause         25 severity of disease. Would you agree with that?


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 1     A Yes.                                                  1    Q Okay. And the -- on page 697, the ATS talks
 2     Q Okay.                                                 2 about different nonmalignant disease outcomes. Do you
 3        Would you agree with me that asbestosis, at          3 see that?
 4 least as defined by the American Thoracic Society, is a     4    A Yes.
 5 different disease than is pleural disease?                  5    Q Okay. And would you agree with me that
 6     A I don't know. I don't know if I would agree           6 asbestosis is defined as interstitial pneumonitis and
 7 with that, actually.                                        7 fibrosis caused by inhalation of asbestos fibers.
 8            MR. FINCH: Okay; why don't we get the 2004       8    A That's what it says there; right.
 9 ATS statement and go through it.                            9    Q Okay. And that's treated as one distinct
10        Can we mark this as the next exhibit? I think       10 diagnostic entity by the American Thoracic Society;
11 it's already been marked as Exhibit 19.                    11 correct?
12        (Deposition Exhibit No. 19 marked for               12    A I'm not sure. Because on page -- the first
13 identification.)                                           13 page they say "Nonmalignant asbestos related disease
14     Q (By Mr. Finch) Before we turn to the 2004 ATS        14 refers to the following conditions: asbestosis, pleural
15 statement, you had mentioned very early today something    15 thickening, or asbestos-related pleural fibrosis,
16 called a Frye hearing?                                     16 (plaques or diffuse fibrosis), 'benign' (nonmalignant)
17     A Yes.                                                 17 pleural effusion, and airflow obstruction."
18     Q My understanding is -- of a Frye hearing is a        18    Q And you don't understand that as describing
19 hearing designed to test whether or not an expert's        19 different diseases?
20 opinion about a subject matter is supported by sound       20    A Well, it's singular. It says "This statement
21 scientific principles; is that correct?                    21 presents guidance for the diagnosis of nonmalignant
22     A Yeah. My understanding is it's an evaluation         22 asbestos-related disease. Nonmalignant asbestos-related
23 of the scientific issues in a legal matter. I think        23 disease," singular, "refers to the following
24 it's the same thing.                                       24 conditions:" so --
25     Q And so, for example, if someone is going to          25    Q You have not spent your career studying

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 1 testify to -- would you agree with me that the              1 asbestos-related disease; correct?
 2 hypothesis that exposure to Libby asbestos is more          2    A Correct.
 3 likely to cause mesothelioma than exposure to chrysotile    3    Q And you are not going to be able to testify as
 4 asbestos is a -- is a proposition that, in order to         4 an expert on asbestos medicine that asbestosis is the
 5 evaluate it, you have to apply the scientific principles    5 same disease as pleural disease; correct?
 6 of epidemiology? At least you should.                       6    A Not unless I -- not unless I quote this thing
 7     A It would be useful to, yeah.                          7 here which seems to be saying it's the same thing; a
 8     Q Okay. And so if someone were to testify that          8 series of conditions that are --
 9 Libby -- exposure to Libby asbestos is more likely to       9    Q You're just reading the language. You haven't
10 cause mesothelioma than exposure to some other type of     10 spent your career treating people with asbestos-related
11 asbestos, and they hadn't done the analytical              11 disease; correct?
12 epidemiological work to prove that, it would be your       12    A No, no.
13 view, as an expert epidemiologist, that that was not a     13    Q You don't know the difference -- you haven't
14 supportable statement; correct?                            14 reviewed -- you certainly haven't -- would you agree
15     A Yeah.                                                15 with me there are literally thousands of articles in the
16     Q Okay.                                                16 medical literature about asbestos-related disease?
17        Now, I put before you the 2004 ATS statement.       17    A Yes.
18     A Yes.                                                 18    Q And you certainly haven't gone out and done a
19     Q Do you see that it says -- first of all, the         19 review of all the literature out there that exists about
20 title of it is Diagnosis and Initial Management of         20 asbestos-related anomaly disease?
21 Nonmalignant Diseases Related to Asbestos.                 21    A Absolutely not.
22     A Yes.                                                 22    Q Would you agree with me that there are
23     Q And "Diseases" is plural. It's more than one         23 different -- that mesothelioma, for example, and lung
24 disease; correct?                                          24 cancer are different cancers that are caused by
25     A Yes.                                                 25 asbestos?


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 1    A Yes.                                                     1 the 2004 ATS statement, is different than the definition
 2    Q And do you have a view, based on a career                2 of pleural disease, what I just read to you.
 3 in -- in -- do you have a view, based on anything other       3           MR. HEBERLING: Objection; misstatement of
 4 than just reading this document, as to whether or not         4 the document. It's not an answerable question. That
 5 asbestosis is a different disease than pleural plaques,       5 isn't the definition of pleural disease.
 6 for example?                                                  6           THE WITNESS: Yeah, I can't really answer
 7    A My view, from what I have read, and I am not an          7 that. Could you rephase that?
 8 expert -- not an expert in this field. But from what I        8    Q (By Mr. Finch) Sure. Would you agree with me
 9 have read, pleural plaques are a type of asbestosis.          9 that there is a definition of asbestosis in the document
10    Q That's your view.                                       10 that does not include pleural thickening or pleural
11    A Yeah.                                                   11 plaque?
12    Q What about diffuse pleural thickening? Is that          12    A There is such a definition, to my way of
13 a type of asbestosis?                                        13 thinking, in the first item that you pointed out on --
14    A Of nonmalignant asbestos -- yeah, it says it            14    Q On 697?
15 right here. It's pleural thickening. It says it right        15    A Yeah.
16 here in this expert report.                                  16    Q That defines asbestosis as a particular
17    Q So it's your view that diffuse pleural                  17 diagnostic entity; correct?
18 thickening is the same disease as asbestosis.                18    A Yeah, I guess.
19    A I can agree with what's stated here, okay, that         19    Q And that is talking about interstitial fibrosis
20 "Nonmalignant asbestos-related disease refers to the         20 in the parenchyma of the lung; correct?
21 following conditions: asbestosis, pleural thickening,        21    A Right.
22 asbestos-related pleural fibrosis." That, to me, makes       22    Q You understand that the parenchyma of the lung
23 some sense. But I totally give to you I am not an            23 is the inside of the lung and the pleura is the outside
24 expert in this field.                                        24 of the lung.
25    Q Okay; will you at least agree with me that on           25    A Right.

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 1   page 697 there is a definition of asbestosis that says      1      Q And so that the definition of asbestosis
 2   "Asbestosis is the interstitial pneumonitis and fibrosis    2   doesn't include disease that occurs on the outside of
 3   caused by inhalation of asbestosis fibers"?                 3   the lung.
 4     A There is a definition that says that; yeah.             4      A Well, I think what I'm beginning to understand
 5     Q Then on page 702 there is a definition of               5   is that this document has internal contradictions in it.
 6   nonmalignant pleural or abnormalities associated with       6   Because what it said on the second paragraph does not
 7   asbestos.                                                   7   appear to agree with what is said on page 697. I could
 8     A Okay.                                                   8   be misunderstanding it, but it does not seem to be
 9     Q Do you see that?                                        9   consistent.
10     A Yep.                                                   10      Q If you were to assume that pleural disease is a
11     Q And it says "Pleural abnormalities associated          11   different -- that asbestos-related pleural disease is a
12   with asbestos exposure are the result of collagen          12   different disease than asbestosis -- I want you to
13   deposition resulting in subpleural thickening, which may   13   assume that those are two different diagnostic entities
14   subsequently calcify, and which in the visceral pleura     14   for the purpose of my questions.
15   may be associated with parenchymal fibrosis in adjacent    15      A Yes.
16   subpleural alveoli."                                       16      Q Would you agree with me that if you were going
17     A Uh-huh.                                                17   to test the hypothesis of whether or not pleural disease
18     Q "Pleural thickening, as a marker of asbestos           18   caused by exposure to Libby asbestos is more severe than
19   exposure, has continued to be a prominent feature of       19   pleural disease caused by exposure to other types of
20   exposure to asbestos while other outcomes, such as         20   asbestos, it's important to define and distinguish
21   asbestosis, have become less frequent due to declining     21   between pleural disease as compared to asbestosis?
22   exposure levels." Do you see that?                         22      A If that distinction is -- is the one that the
23     A Yep.                                                   23   American Thoracic Society is operating with. Though
24     Q You would agree with me that at least for              24   from this document, it's very hard to tell that, though
25   purposes of definition, the definition of asbestosis in    25   I have not read the entire thing.

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 1    Q All right.                                             1      Q And neither he nor you have done the analytical
 2       One hypothesis that one could test is whether         2   epidemiological work to determine whether that
 3 or not pleural disease caused by exposure to Libby          3   hypothesis is true.
 4 asbestos is more likely to lead to death than pleural       4      A Correct.
 5 disease caused by exposure to other types of asbestos;      5      Q The -- you certainly haven't -- you certainly
 6 correct?                                                    6   are not prepared to give an opinion, to a reasonable
 7    A Correct.                                               7   degree of certainty as a epidemiology -- as an
 8    Q And neither you nor Dr. Whitehouse nor anybody         8   epidemiologist, that the pleural disease caused by
 9 else have done the analytical epidemiological work to       9   exposure to Libby asbestos is more severe, in terms of
10 prove whether or not that hypothesis is true; correct?     10   loss of lung function, than pleural disease caused by
11    A Correct.                                              11   other forms of asbestos outside of Libby.
12    Q So you couldn't say, for example, that someone        12      A Correct.
13 who has pleural disease caused by exposure to Libby        13      Q And in your view as an expert epidemiologist,
14 asbestos is more likely to die than someone who has        14   none of the work done by Dr. Whitehouse or Dr. Frank, or
15 pleural disease caused by some other asbestos; right?      15   any other expert in this case, would allow you to prove
16 You couldn't say that, as a matter of epidemiological      16   that hypothesis.
17 science.                                                   17      A Not that I'm aware of.
18    A I could not.                                          18      Q In your expert report, I believe it's Exhibit 2
19    Q And Dr. Whitehouse's work doesn't support that        19   to your deposition, do you have that, Dr. Molgaard?
20 hypothesis either. You wouldn't agree that, as a matter    20      A Not yet.
21 of analytical epidemiology --                              21      Q If you go to page nine of that report --
22    A Yeah.                                                 22      A Uh-huh.
23    Q -- that -- that his work would support that           23      Q -- you're responding to one of -- is it Mr. or
24 hypothesis.                                                24   Dr. -- Dr. Moolgavkar's comments on Whitehouse's 2004
25    A Yes, I agree.                                         25   paper about progressive loss of lung function. Do you

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 1    Q Okay.                                                  1   see that?
 2       And in his CARD Mortality Study, did you              2      A Yeah.
 3 understand that of the 76 nonmalignant deaths,              3             MR. HEBERLING: What page is that?
 4 Dr. Whitehouse included people who both had pleural         4             MR. FINCH: Page nine of Molgaard's report.
 5 disease as well as people who had asbestosis?               5      Q (By Mr. Finch) You write "First, the study is
 6    A My understanding was that he was looking at            6   on 123 subjects who are representative of the asbestos
 7 asbestosis-related disease, however that is defined.        7   disease population." Do you see that?
 8    Q However he defined it, it included both                8      A Yeah.
 9 parenchymal disease and pleural disease in his 76           9      Q You didn't make any independent assessment of
10 deaths.                                                    10   whether the 123 patients in the progression study were
11    A I believe he did.                                     11   representative of the -- all the people in Libby,
12    Q Okay.                                                 12   Montana who have asbestos-related disease, did you?
13       Would you agree with me that in order to draw a      13      A No.
14 conclusion from a smaller population and apply it to a     14      Q So if, for example, the 123 subjects in the
15 larger population, the smaller population has to be        15   2004 paper were, on average, exposed to far more
16 representative of the larger population?                   16   asbestos than the average level of exposure for all
17    A I'm not sure if I understand your question.           17   1,800 people in the Libby patient population, then they
18    Q Let me strike that question and re-ask it.            18   wouldn't be representative -- the 123 wouldn't be
19       One hypothesis that Dr. Whitehouse has raised        19   representative of the disease population of the whole;
20 is that pleural disease caused by exposure to Libby        20   correct?
21 asbestos is different, in terms of severity of lung        21      A Yes, if you're saying the selection bias code
22 function loss, than pleural disease caused by other        22   still exists.
23 forms of asbestos. That's a hypothesis that he has;        23      Q Okay. You just used a term "selection bias."
24 correct?                                                   24      A Yeah.
25    A Correct.                                              25      Q Explain to me what is selection bias.

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 1     A That is the people who get into, say in this            1   no -- which there is no safe exposure.
 2   situation, perhaps these people who come to the doctor's    2      A Right; there are some exceptions, yes.
 3   attention and get into his clinical series, select          3      Q So the math gets squirrelly when you start
 4   themselves somehow or other. That is, there is -- they      4   putting infinity -- one over zero you get to infinity.
 5   show up because they feel worse. They show up because       5      A It does, yeah.
 6   they're closer to the doctor's office. They show up         6      Q So leaving mesothelioma aside, the other -- the
 7   because they've known the doctor who's treated other        7   other asbestos-related diseases are dose response in
 8   people who have had the disease. Anything that produces     8   that the more asbestos you're exposed to, the more
 9   a pressure or bias on people who get to a place, enter a    9   likely you are to get an asbestos-related disease;
10   study or enter an analysis, for reasons that you would     10   correct?
11   not normally expect. And bias is defined as any            11      A It appears to be that way.
12   systematic deviation from the truth. So if it's a          12      Q And would you also agree with the proposition
13   systematic selection pressure that gets people to his      13   that, generally speaking, the more heavily you are
14   clinical series, you know, then it could be -- it could    14   exposed, the more severe your nonmalignant disease tend
15   be that there is such a bias.                              15   to be. People look at, for example, the insulator as
16      Q Okay; in addition to a selection bias, there          16   compared to lower exposed coworkers.
17   can also be things that make the 123 people                17      A I guess I would say to that that there
18   unrepresentative of the bigger patient population;         18   are -- the whole arena of exposure in environmental
19   correct?                                                   19   health has been really worked a lot in the last few
20      A And the selection bias is what would drive that       20   years. It appears that, you know, a lot of what happens
21   lack, if it was there. The selection bias would be one     21   with different kinds of diseases is maybe not the size
22   of the things that could drive a lack of                   22   of the dose, but maybe it's when you are dosed, when in
23   generalizability.                                          23   your life span are you dosed. Are you dosed, you know,
24      Q Okay. But I mean, as I understood when you            24   as an adolescent?
25   were saying "selection bias," the example you used was     25      Q You mean, earlier exposures might be more

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 1 people felt worse or they were closer to Whitehouse's         1   dangerous than later exposures.
 2 office. That's one example of a selection bias;               2     A Yeah, exactly. So it may not be just the
 3 correct?                                                      3   cumulative exposure, it may be when. A fair amount of
 4    A Sure.                                                    4   study coming out of the National Study of Environmental
 5    Q Another example of selection bias could be if,           5   Health is showing fairly persuasively that a lot of
 6 for example, the 123 patients in the study were far           6   chronic diseases appear to be related to in utero
 7 heavier smokers at some point in their life than the          7   exposures. So it's like, you know, are you exposed in
 8 1,800 patients that you might want to extrapolate it to,      8   utero, and that could be something that drives the
 9 then the 123 wouldn't necessarily be representative at        9   disease pattern of diabetes in your thirties.
10 all to what you might expect in the 1,800; correct?          10      Q Um --
11    A It could be.                                            11      A So that's a long answer. Because really what
12    Q And if, for example, the 123 patients in the            12   I'm just trying to say is it's more than just dose.
13 progression study were, on average, exposed to -- would      13   Dose itself is very important. But it could be when you
14 you agree with me that asbestos diseases are dose            14   are dosed.
15 responsive?                                                  15      Q Okay. But if, for example, the 123 patients in
16    A By and large, they appear to be.                        16   the progression study, if the vast majority of them were
17    Q Meaning that the more asbestos you're exposed           17   miners who were exposed to a lot more asbestos on
18 to, the more likely you are to contract an                   18   average than the rest of the 1,800 patient population,
19 asbestos-related disease; correct?                           19   it may well be that the progression of lung function
20    A Correct.                                                20   decline you saw in the 123 would not be predictive of
21    Q And that's true for both nonmalignant diseases          21   what you would see in the bigger population.
22 and asbestos-related cancers.                                22            MR. HEBERLING: Objection; outside his area
23    A I believe that is true.                                 23   of expertise.
24    Q Although, for mesothelioma, there is -- they            24            THE WITNESS: I didn't really understand
25 haven't really defined a threshold below which there is      25   the question anyway, so....

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 1     Q (By Mr. Finch) Okay. In order for the -- in           1     going to come up 70 percent heads and 30 percent tails;
 2   order for you to make any extrapolation from the 123 to   2     correct?
 3   the bigger patient population, you would have to -- the   3        A Yeah.
 4   123 would have to be representative of the bigger         4        Q And so with a study that has much less
 5   patient population on every variable that matters for 5         statistical power, you might draw invalid conclusions
 6   lung function decline; correct?                           6     just because the study doesn't have enough power to weed
 7      A Ideally, yes.                                        7     out random events; correct?
 8      Q Okay. And you haven't done anything to assess 8               A Yeah.
 9   whether there are variables about those 123 subjects 9             Q Okay.
10   that are different as it relates to the things that      10           Dr. Whitehouse's progression study was looking
11   might cause lung function decline. You haven't done 11          at a subset of his total patient population. His total
12   that.                                                    12     patient population is 1,800 people; right?
13      A No, I have not.                                     13        A Right.
14      Q Okay.                                               14        Q And of those 1,800, we've got the medical
15          Last defines the power of a study as the          15     records of about a thousand of them that were produced;
16   ability of a study to demonstrate an association, if one 16     correct?
17   exists.                                                  17              MR. HEBERLING: Objection; misstatement of
18      A Right.                                              18     the record.
19      Q Could you put that into layman's terms? What 19                     MR. FINCH: Have you produced the medical
20   does that mean?                                          20     records for all 1,800 people?
21      A It's the amount of surety you have that you         21              MR. HEBERLING: You're talking about the
22   have actually found something and that there really is 22       Whitehouse progression study.
23   something going on in your study and it's not just       23              MR. FINCH: Yes.
24   something could happen by chance; okay? It's -- it has 24                MR. HEBERLING: The client number at that
25   to do with type one, type two errors when you're doing 25       time was 491.

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 1   inferential testing. And power is one minus beta or one     1            MR. FINCH: I understand that.
 2   minus type two error. And it's rather complicated and       2      Q (By Mr. Finch) But of the -- there are 1,800
 3   boring. But basically what it amounts to is that there      3   people who live in and around Libby who have been
 4   is -- it gives you a probability that what you are          4   diagnosed with asbestos-related disease, correct,
 5   finding is really there.                                    5   Dr. Molgaard? That's your understanding?
 6           Most studies of analytic type will look             6      A Yeah.
 7   at -- will want a power of one minus beta probability of    7      Q The 123 patients are -- obviously, it's a much
 8   80 to 90 percent. And so you then generate a sample         8   smaller number of people than either 900 or 1,800;
 9   that gives you that much power.                             9   correct?
10      Q I've sort of always thought it was power as a         10      A Right.
11   statistical concept in the sense that if you have an       11      Q So would you agree with me that if you -- and
12   observation of ten events, that's a much less powerful     12   would you agree with me that what Whitehouse did in the
13   study than if you have an observation of a thousand        13   2004 paper was what some -- he did an analysis of change
14   similar events; correct?                                   14   in lung function over time between point A and point B?
15      A Yeah.                                                 15     A Right.
16      Q So, for example, if you wanted to -- if you           16     Q And the time period was about three years, on
17   wanted to make conclusions about the probability of        17   average?
18   flipping a coin and how often it's going to be heads       18     A Right.
19   versus how often it's going to be tails, if you did a      19     Q Okay. Would you agree with me that, as a
20   study with only ten flips, that's far less powerful than   20   matter of statistics, a study that analyzes lung
21   a study that has a thousand flips; correct?                21   function decline in 123 people over a three-month (sic)
22      A That's a good way -- yeah, that's fine.               22   period of time is much less powerful than a study that
23      Q So, for example, if you flip a coin ten times,        23   would examine lung function decline in 900 people with
24   you might come up seven heads and three tails. Whereas     24   asbestos-related disease over a five-to-seven-year
25   if you did it a thousand times, the odds are you're not    25   period of time?

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 1      A I would not agree with you, because the issue        1    anywhere in your expert witness report any analysis or
 2   is where does the concept of statistical power apply.     2    discussion or criticism of the W.R. Grace bankruptcy
 3   And by and large, it does not apply to descriptive        3    trust distribution procedures.
 4   studies. It applies to analytical studies or clinical     4       A I know almost nothing about that.
 5   trials.                                                   5       Q Okay. You said you reviewed Dr. Whitehouse's
 6      Q Okay; I'm glad you mentioned that. A                 6    report and you commented on certain aspects of his
 7   descriptive -- you could not use the results of a         7    report --
 8   descriptive study to say -- to make predictions about     8       A Uh-huh.
 9   the outcomes of a disease in a larger population;         9       Q -- but am I correct that you have not been
10   correct?                                                 10    asked to analyze or review or have any opinions about
11      A Could not use it to do what?                        11    the medical or exposure criteria in the Grace TDP?
12      Q To make a prediction about the disease              12       A That's correct.
13   progression in a bigger population.                      13       Q So you're not vouching for Dr. Whitehouse's
14      A I would not think so, because I think that          14    views -- you're not vouching for or critiquing the
15   that's -- what you're really doing is you're             15    medical and exposure criteria in the TDP in any way.
16   using -- you are explaining what's going on within this  16       A That's correct.
17   case series.                                             17       Q Okay.
18      Q Right; you're explaining -- you're saying           18          And then Mr. Whitehouse -- excuse me. I've
19   you've got these 123 people, and 76 percent of them      19    been traveling a lot lately. I just slandered
20   showed a lung function decline over a three-year period 20     Dr. Whitehouse and Mr. Heberling as to which I'm both
21   of time; correct?                                        21    sorry.
22      A Right.                                              22          But Mr. Heberling --
23      Q You could not, as a matter of analytic              23              MR. HEBERLING: I don't -- well, anyway,
24   epidemiology, say that because I observed that in these 24     you said "Mr. Whitehouse." You didn't say anything
25   123 people, therefore, there is a 76-percent chance that 25    about Dr. Heberling which would be slander.

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 1 anybody who has an asbestos-related disease in Libby         1             MR. FINCH: I was thinking about you and
 2 will also suffer a lung function decline.                    2   I -- Whitehouse is a doctor, obviously. Mr. Heberling
 3     A That would be a hypothesis to be tested, I             3   is a very fine lawyer.
 4 believe.                                                     4      Q (By Mr. Finch) Mr. Heberling sent me an
 5     Q And nobody's done the work in this case to             5   e-mail, along with other people, on Saturday that talks
 6 prove the hypothesis that every -- or anybody with           6   about paragraphs 44, 45, and 48 of Dr. Whitehouse's May
 7 asbestos disease in Libby has a 76-percent chance to         7   2009 report. And I think that report was marked as one
 8 have a loss of lung function.                                8   of --
 9     A Not to my knowledge.                                   9      A That's 5, Exhibit 5.
10     Q Okay.                                                 10      Q -- Exhibit 5. And this is where he's
11        And nobody has done the epidemiological work to      11   describing the mesothelioma cases in Libby as compared
12 prove the hypothesis that anybody who has an                12   to the Libby's average population versus the
13 asbestos-related disease in Libby has a 59-percent          13   mesothelioma cases around the Manville plant.
14 chance of dying; correct?                                   14      A Uh-huh.
15     A Done the work in terms of analytic                    15      Q Again, this analysis in paragraphs 44 and 45 is
16 epidemiology, no, not to my knowledge.                      16   a matter of descriptive epidemiology; correct?
17            MR. FINCH: Okay; this would be a good time       17      A Correct.
18 to take a little break. I'm getting close to done.          18      Q So you cannot, from that, make any causal
19            VIDEO TECHNICIAN: Off the record, then,          19   connection as to whether exposure to amphiboles in Libby
20 it's 3:06.                                                  20   is more or more -- more or less likely the cause of
21        (Deposition in recess from 3:06 p.m. to              21   mesothelioma than exposure to asbestos around Manville,
22 3:10 p.m.)                                                  22   New Jersey; correct?
23            VIDEO TECHNICIAN: We're back on the              23     A Um --
24 record. The time is 3:10.                                   24     Q Let me withdraw that question and rephrase it.
25     Q (By Mr. Finch) Dr. Molgaard, I didn't see             25       You don't know what kind of asbestos

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                                                             1                     CERTIFICATE OF WITNESS
 1   exposures -- the paragraphs 44 and 45 do not allow one
                                                             2 PAGE        LINE              CORRECTION
 2   to test the hypothesis as to whether exposure to Libby
                                                             3
 3   asbestos is more or less likely to cause mesothelioma
                                                             4
 4   than exposure to other types of asbestos; correct?
                                                             5
 5      A Correct.
 6      Q And similarly, paragraph 48, this is describing 6
 7   the ATSDR study and mortality in Libby, Montana? 7
 8      A Yes.                                               8
 9      Q Do you see that?                                   9
10      A Uh-huh.                                           10
11      Q This paragraph doesn't attempt to make any        11
12   comparison between the ability of amphibole asbestos 12
13   from Libby to cause asbestosis as compared to other 13
14   types of asbestos fibers that cause asbestosis.        14
15      A Correct.                                          15           I, CRAIG MOLGAARD, Ph.D., have read the
                                                               foregoing transcript of my testimony and believe the
16             MR. FINCH: I believe I'm done; pass the 16 same to be true, except for the corrections noted above.
17   witness.                                               17          DATED this       day of             , 2009.
18             MR. HEBERLING: All yours, Dale.              18
19             MR. COCKRELL: No questions.                  19                                              __
                                                                                                   Deponent
20             MR. FINCH: Does anybody on the telephone 20
                                                                    SUBSCRIBED AND SWORN to before me this      day
21   have any questions?                                    21
                                                                of                    , 2009.
22             MR. HEBERLING: Is anyone on the telephone? 22
23   I think we woke somebody up. I heard something. 23
24             THE WITNESS: I heard a choking noise. 24                     Notary Public for the State of Montana
                                                                            Residing at                   , Montana
25             MR. HEBERLING: So I will reserve my 25                           My Commission expires:

                                                   Page 198                                                     Page 200
                                                               1                           REPORTER'S CERTIFICATE
 1   questions to the time of trial.
                                                               2          I, BAMBI A. GOODMAN, CSR, RPR, CRR and Notary
 2            MR. FINCH: Okay.
                                                               3 Public in and for the State of Montana, residing in
 3         You have the right to read and sign. I'm sure
                                                               4 Whitefish, Montana, do hereby certify:
 4   you know all about that. So this deposition is
                                                               5           That I did report the foregoing videotaped
 5   concluded.
 6            VIDEO TECHNICIAN: This ends the                  6 deposition after having duly sworn CRAIG MOLGAARD, Ph.D.
 7   deposition. The time is 3:15.                             7 to the truth; that the deposition was taken at the time
 8         (Deposition concluded at 3:15 p.m.; witness         8 and place stated on the caption hereto; that the
 9   excused, signature reserved.)                             9 testimony of the witness was taken in shorthand by me
10                                                            10 and subsequently reduced to writing under my direction;
11                                                            11 that the foregoing is a true and correct transcript of
12                                                            12 the testimony given by the witness;
13                                                            13            I further certify that I am not counsel,
14                                                            14 attorney nor relative or employee of any party, nor
15                                                            15 otherwise interested in the event of this suit.
16                                                            16          IN WITNESS WHEREOF, I have hereunto subscribed
17                                                            17 my name and affixed my seal of office this 29th day of
18                                                            18 June, 2009.
19                                                            19
20                                                            20
21                                                            21
22                                                            22
23                                                            23                    BAMBI A. GOODMAN, CSR, RPR, CRR and
                                                                                      Notary Public, State of Montana
24                                                            24                      Residing at Whitefish, Montana
25                                                                                     My Commission expires 3/21/10
                                                              25


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